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                                                  STATE OF MICHIGAN                                                                  Ex. 3
                                                  ENTERPRISE PROCUREMENT
                                                  Department of Technology, Management, and Budget
                                                  525 W. Allegan, Lansing MI 48913
                                                  P.O. Box 30026, Lansing, MI 48909

                                                   NOTICE OF CONTRACT
                                                  CONTRACT NO. 071B7700117 .
                                                                    between
                                                    THE STATE OF MICHIGAN
                                                                       and

              Dominion Voting Systems Inc.                                                       Sally Williams                           MDOS




                                                                                Manager
                                                                                Program
              1201 18th Street, Suite 210                                                        517-241-2747
CONTRACTOR




                                                                    STATE
              Denver, CO 80202                                                                   williams1@michigan.gov
              Gio Costantiello                                                                   Sue Cieciwa                              DTMB


                                                                                Administrator
                                                                                  Contract
              416-762-8683 ext. 241                                                              517-284-7007
              gio.costantiello@dominionvoting.com                                                cieciwas@michigan.gov
              5149

                                                          CONTRACT SUMMARY
DESCRIPTION:             Voting System Hardware, Firmware, Software and Service – Department of State
                                                                            INITIAL AVAILABLE                        EXPIRATION DATE BEFORE
             INITIAL EFFECTIVE DATE       INITIAL EXPIRATION DATE
                                                                                 OPTIONS                             CHANGE(S) NOTED BELOW
                March 1, 2017               February 28, 2027                                   None                    February 28, 2027
                             PAYMENT TERMS                                                                   DELIVERY TIMEFRAME
                                 Net 45 Days                                                           Refer to Section 2.1 Time Frames
ALTERNATE PAYMENT OPTIONS                                                                                             EXTENDED PURCHASING

             ☐ P-card                 ☐ Direct Voucher (DV)                 ☐ Other                                   ☒ Yes           ☐ No
MINIMUM DELIVERY REQUIREMENTS

There is no minimum order requirement.
MISCELLANEOUS INFORMATION




ESTIMATED CONTRACT VALUE AT TIME OF EXECUTION                                                                                                    $0.00




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CONTRACT NO. 071B7700117




      FOR THE CONTRACTOR:



      Company Name




      Authorized Agent Signature




      Authorized Agent (Print or Type)



      Date




      FOR THE STATE:



      Signature




      Name & Title




      Agency




      Date




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                                                                         CONTRACT #071B7700117




                        STATE OF MICHIGAN
                                  VOTING SYSTEM HARDWARE,
                                   SOFTWARE AND SERVICES
                                      CONTRACT TERMS
  This VOTING SYSTEM, HARDWARE, SOFTWARE AND SERVICES CONTRACT (“Contract”) is agreed
  to between the State of Michigan (the “State”) and Dominion Voting Systems Inc. (“Contractor”), a
  Delaware corporation. This Contract is effective on March 1, 2017 (“Effective Date”), and unless
  terminated, expires on February 28, 2027 (the “Term”).
  The parties agree as follows:

  1.   Definitions. For the purposes of this Contract, the following terms have the following meanings:

       “Acceptance” has the meaning set forth in Section 8.e.

       “Audit Period” has the meaning set forth in Section 30.

       “Authorized Users” means all Michigan counties, cities, or townships.

       “Business Day” means a day other than a Saturday, Sunday or other day on which the State is
       authorized or required by Law to be closed for business.

       “Change” has the meaning set forth in Section 4.

       “Change Notice” has the meaning set forth in Section 4.b.

       “Change Proposal” has the meaning set forth in Section 4.a.

       “Change Request” has the meaning set forth in Section 4.

       “Confidential Information” has the meaning set forth in Section 28.a.

       “Configuration” means State-specific changes made to the Software without Source Code or structural
       data model changes occurring.

       “Contract” has the meaning set forth in the preamble.

       “Contract Administrator” is the individual appointed by each party to (a) administer the terms of this
       Contract, and (b) approve any Change Notices under this Contract. Each party’s Contract Administrator
       will be identified in the Statement of Work.

       “Contractor” has the meaning set forth in the preamble.

       “Contractor Personnel” means all employees of Contractor and any Permitted Subcontractors
       involved in the performance of Services hereunder.

       “Deliverables” means the voting system tabulators and all related components, and the accessible
       voting system components, and all other materials that Contractor is required to or otherwise does
       provide to the State or Authorized Users under this Contract and otherwise in connection with any
       Services, including all items specifically identified as Deliverables in the Statement of Work.


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                                                                          CONTRACT #071B7700117


     Notwithstanding the foregoing, the term Deliverable shall not include the EMS Software or System
     Software.

     “Dispute Resolution Procedure” has the meaning set forth in Section 39.

     “Documentation” means all user manuals, operating manuals, technical manuals and any other
     instructions, specifications, documents or materials, in any form or media, that describe the
     functionality, installation, testing, operation, use, maintenance, support, technical or other components,
     features or requirements of any Deliverable.

     “Effective Date” has the meaning set forth in the preamble.

     “EMS Software” means the Election Management System (EMS) software provided by Contractor
     under the Statement of Work, and any Maintenance Releases or New Versions provided to the State
     and any Configurations or Modifications made by or for the State pursuant to this Contract, and all
     copies of the foregoing permitted under this Contract and the License Agreement.

     “Extended Service Period” has the meaning set forth in Section 1.6 of the Statement of Work.

     “Fees” means the prices for Services, EMS Software and Deliverables set forth in an attachment to the
     Statement of Work.

     “Harmful Code” means any: (a) virus, trojan horse, worm, backdoor or other software or hardware
     devices the effect of which is to permit unauthorized access to, or to disable, erase, or otherwise harm,
     any computer, systems or software; or (b) time bomb, drop dead device, or other software or hardware
     device designed to disable a computer program automatically with the passage of time or under the
     positive control of any Person, or otherwise prevent, restrict or impede the State's or any Authorized
     User's use of such software.

     “Initial Service Period” has the meaning set forth in Section 1.6 of the Statement of Work.

     “Intellectual Property Rights” means any and all intellectual property rights in any part of the world,
     whether registered or unregistered, and all applications for and renewals or extensions of such rights,
     including rights comprising or relating to: (a) patents, patent disclosures and inventions (whether
     patentable or not); (b) trademarks, service marks, trade dress, trade names, logos, corporate names
     and domain names, together with all of the goodwill associated therewith; (c) works of authorship,
     designs, copyrights and copyrightable works (including computer programs), mask works and rights in
     data and databases; (d) trade secrets, know-how and other confidential information; and (e) all similar
     or equivalent rights or forms of protection.

     “Key Personnel” means any Contractor Personnel identified as key personnel in the Statement of
     Work.

     “License Agreement” has the meaning set forth in Section 5.

     “Maintenance Release” means any update, upgrade, release or other adaptation or modification of the
     Software, including any updated Documentation, that Contractor may generally provide to its licensees
     from time to time during the Term, which may contain, among other things, error corrections,
     enhancements, improvements or other changes to the user interface, functionality, compatibility,
     capabilities, performance, efficiency or quality of the Software.

     “Modification” means State-specific changes made to the Source Code of the Software to enhance,
     improve or otherwise create derivative works of the Software.




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     “New Version” means any new version of the Software that the Contractor may from time to time
     introduce and market generally as a distinct licensed product, as may be indicated by Contractor's
     designation of a new version number.

     “Operating Environment” means, collectively, the platform, environment and conditions on, in or under
     which the EMS Software is intended to be installed and operate, as set forth in the Statement of Work,
     including such structural, functional and other features, conditions and components as hardware,
     operating software and system architecture and configuration.

     “Permitted Subcontractor” has the meaning set forth in Section 10.e.

     “Person” means an individual, corporation, partnership, joint venture, limited liability company,
     governmental authority, unincorporated organization, trust, association or other entity.

     “Program Manager” is the individual appointed by each party to (a) monitor and coordinate the day-
     to-day activities of this Contract, and (b) for the State, to co-sign off on its notice of Acceptance for
     Services, the EMS Software and Deliverables. Each party’s Program Manager will be identified in the
     Statement of Work.

     “Purchase Order” means an order for EMS Software, Services or Deliverables to be provided by
     Contractor and the corresponding fees to be paid by the State or Authorized User, issued by the State
     or Authorized User, and subject to these terms and conditions.

     “Representatives” means a party's employees, officers, directors, partners, shareholders, agents,
     attorneys, third-party advisors, successors and permitted assigns.

     “Services” means any of the services Contractor is required to or otherwise does provide under this
     Contract or the Statement of Work (including any exhibits or attachments), as more fully described in
     the body of this Contract and the Statement of Work.

     “Software” means both the EMS Software and the System Software.

     “Source Code” means the human readable source code of the Software to which it relates, in the
     programming language in which the Software was written, together with all related flow charts and
     technical documentation, including a description of the procedure for generating object code, all of a
     level sufficient to enable a programmer reasonably fluent in such programming language to understand,
     build, operate, support, maintain and develop modifications, upgrades, updates, adaptations,
     enhancements, new versions and other derivative works and improvements of, and to develop
     computer programs compatible with, the EMS Software.

     “Specifications” means, for the Software, the specifications collectively set forth in the Business
     Requirements Specification and Technical Specification, together with any other specifications set forth
     in the Statement of Work or Documentation.

     “State” means the State of Michigan.

     “State Data” has the meaning set forth in Section 27.

     “Statement of Work” means the statement of work attached as Schedule A to this Contract, including
     all attachments and exhibits thereto.

     “State Resources” means all materials and information, including documents, data, know-how, ideas,
     methodologies, specifications, software, content and technology, in any form or media, directly or
     indirectly provided or made available to Contractor by or on behalf of the State or Authorized Users in
     connection with this Contract.



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       “System Software” means the operating system code, including software, firmware and microcode,
       (object code version) for each Deliverable, including any subsequent revisions, as well as any
       applicable Documentation.

       “Term” has the meaning set forth in the preamble.

       “Third Party” means any Person other than the State, an Authorized User, or Contractor.

       “Third-Party Products” software or hardware that are not Contractor’s proprietary software or
       hardware, provided by Contractor’s distributors or other Third Parties to State.

       “Transition Period” has the meaning set forth in Section 22.

       “Transition Responsibilities” has the meaning set forth in Section 22.

       “Unauthorized Removal” has the meaning set forth in Section 10.d.ii.
       “Unauthorized Removal Credit” has the meaning set forth in Section 10.d.iii.

  2.   Statement of Work. Contractor shall provide the Deliverables, EMS Software and Services, pursuant
       to the executed License Agreement (defined below) and to the executed Statement of Work, which is
       attached as Schedule A to this Contract. The terms and conditions of this Contract will apply at all
       times to the Statement of Work.

  3.   Statement of Work Requirements. The Statement of Work will include the following:

           a. A detailed description of the Services to be provided by Contractor, including any service and
              maintenance obligations and training obligations of Contractor;
           b. A detailed description of the EMS Software to be provided by Contractor;
           c. A detailed description of the Deliverables to be provided by Contractor;
           d. Names and contact information for Contractor’s Contract Administrator, Program Manager and
              Customer Service Manager, and any other Key Personnel of Contractor;
           e. Names and contact information for the State’s Contract Administrator and Program Manager;
           f. An exhibit detailing the Fees payable under the Statement of Work, the manner in which such
              Fees will be calculated, any invoicing requirements, including any time frames on which any
              such Fees are conditioned, and such other information as the parties deem necessary; and
           g. A detailed description of all State Resources required to complete the Services and
              Deliverables set forth in the Statement of Work.

  4.   Change Control Process. The State may at any time request in writing (each, a “Change Request”)
       changes to the Statement of Work, including changes to the Services, EMS Software (subject to Section
       1.5D Statement of Work) and Deliverables (each, a “Change”). Upon the State’s submission of a
       Change Request, the parties will evaluate and implement all Changes in accordance with this Section
       4.

           a. As soon as reasonably practicable, and in any case within twenty (20) Business Days following
              receipt of a Change Request, Contractor will provide the State with a written proposal for
              implementing the requested Change (“Change Proposal”), setting forth:

                        i. a written description of the proposed Changes to any Services, EMS Software or
                           Deliverables;

                       ii. a schedule for commencing and completing any additional or modified Services,
                           EMS Software or Deliverables, and the effect of such Changes, if any, on
                           completing any other Services under the Statement of Work;



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                     iii. any additional State Resources Contractor deems necessary to carry out such
                          Changes; and

                     iv. any increase or decrease in Fees resulting from the proposed Changes, which
                         increase or decrease will reflect only the increase or decrease in time and
                         expenses Contractor requires to carry out the Change.

        b. Within thirty (30) Business Days following the State’s receipt of a Change Proposal, the State
           will by written notice to Contractor, approve, reject, or propose modifications to such Change
           Proposal. If the State proposes modifications, Contractor must modify and re-deliver the
           Change Proposal reflecting such modifications, or notify the State of any disagreement, in
           which event the parties will negotiate in good faith to resolve their disagreement. Upon the
           State’s approval of the Change Proposal or the parties’ agreement on all proposed
           modifications, as the case may be, the parties will execute a written agreement to the Change
           Proposal (“Change Notice”), which Change Notice will be signed by the State’s Chief
           Procurement Officer (or his or her designee), and will constitute an amendment to the
           Statement of Work.

        c.   If the parties fail to enter into a Change Notice within fifteen (15) Business Days following the
             State’s response to a Change Proposal, the State may, in its discretion:

                      i. require Contractor to perform the Services under the Statement of Work without
                         the Change;

                     ii. require Contractor to continue to negotiate a Change Notice;

                     iii. initiate a Dispute Resolution Procedure; or

                     iv. if the Change Request is initiated due to changes in the applicable federal or
                         state certification standards or laws, then, notwithstanding any provision to the
                         contrary in the Statement of Work, terminate this Contract for cause under
                         Section 20, or otherwise, terminate this Contract for convenience under Section
                         21.

        d. No Change will be effective until the parties have executed a Change Notice. Except as the
           State may request in its Change Request or otherwise in writing, Contractor must continue to
           perform its obligations in accordance with the Statement of Work pending negotiation and
           execution of a Change Notice. Contractor will use its best efforts to limit any delays or Fee
           increases from any Change to those necessary to perform the Change in accordance with the
           applicable Change Notice. Each party is responsible for its own costs and expenses of
           preparing, evaluating, negotiating, and otherwise processing any Change Request, Change
           Proposal, and Change Notice.

        e. The performance of any functions, activities, tasks, obligations, roles and responsibilities
           comprising the Services or Deliverables as described in this Contract are considered part of
           the Services and Deliverables and, thus, will not be considered a Change. This includes the
           delivery of all Deliverables in accordance with their respective specifications, and the diagnosis
           and correction of non-conformities discovered in Deliverables prior to their Acceptance by the
           State or, subsequent to their Acceptance by the State, as necessary for Contractor to fulfill its
           associated service and maintenance obligations under this Contract.

        f.   Contractor may, on its own initiative and at its own expense, prepare and submit its own
             Change Request to the State. However, the State will be under no obligation to approve or
             otherwise respond to a Change Request initiated by Contractor.




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  5.   EMS Software and System Software Licenses. Contractor hereby grants to the State and Authorized
       Users the right and license to use the EMS Software, System Software and related Documentation in
       accordance with the terms and conditions of this Contract and the License Agreement set forth in
       Schedule B (the “License Agreement”).

  6.   Scope of Use for Deliverables. The State and Authorized Users may use the Deliverables, and any
       software licensed in connection with such Deliverable, on a worldwide basis for the benefit of
       themselves. Contractor further authorizes use of the Deliverables by third parties who are under
       contract with the State or the Authorized User to provide outsourcing services for the benefit of the
       State or the Authorized User. There are no restrictions on subsequent resale or distribution of
       Deliverables that the State or Authorized User had paid for in full.

  7.   Support and Maintenance. Contractor shall provide support and maintenance for the EMS Software
       and all Deliverables in accordance with the applicable service level agreement set forth in the Statement
       of Work, Section 1.6, and the licensing restrictions set forth in the License Agreement and the terms
       and conditions of this Contract.

  8.   Purchase, Delivery, Installation and Acceptance.

           a. Purchase Orders. The State or Authorized User will order the EMS Software, Services or
              Deliverables pursuant to a signed Purchase Order issued by the State or an Authorized User.
              The State or Authorized User reserves the right to cancel any Purchase Order at any time prior
              to shipment of the Deliverables or delivery of the Services and shall not be subject to any
              charges or other fees whatsoever as a result of such cancellation. The State or Authorized
              User may by written communication cancel or make changes to any Purchase Order subject
              to an equitable adjustment in the price, delivery schedule, or both, where appropriate. THE
              TERMS AND CONDITIONS OF THIS CONTRACT WILL APPLY AT ALL TIMES TO ANY
              PURCHASE ORDERS ISSUED BY THE STATE OR ANY AUTHORIZED USER UNDER THIS
              CONTRACT.        ALL CONTRACTUAL OBLIGATIONS UNDER THIS CONTRACT IN
              CONNECTION WITH A PURCHASE ORDER PLACED BY AN AUTHORIZED USER ARE
              THE SOLE OBLIGATION OF THE AUTHORIZED USER PLACING THE ORDER AND NOT
              THE RESPONSIBILITY OF THE STATE.

           b. Delivery Procedure for Deliverables. Contractor shall deliver all Deliverables within the
              timeframe set forth in the applicable Purchase Order, FOB destination, with such destination
              being the "ship to" address as specified in the applicable Purchase Order. Contractor shall bear
              all risk of loss of or damage to the Deliverable until receipt of delivery at the “ship to” address,
              and shall arrange and pay for all transportation and insurance sufficient to fully protect the
              Deliverable while in transit. Each shipment shall include a packing slip indicating the
              Authorized User's order number, a description of the Deliverable shipped and the quantity
              shipped. If any loss to, or damage of, the Deliverable occurs prior to receipt of delivery at the
              “ship to” address by the Authorized User, Contractor shall immediately provide a replacement
              Deliverable. Title shall pass upon receipt of delivery. Contractor shall make available all
              appropriate or related user Documentation at the time of delivery of the first unit of each
              different Deliverable type. Deliverables delivered without the appropriate and required
              Documentation shall be considered "shipped short" until the applicable Documentation has
              been received.

           c.   EMS Software Installation.

                        i. Unless otherwise set forth in the Statement of Work or the applicable Purchase
                           Order, Contractor will deliver, install, and configure the EMS Software in
                           accordance with the criteria set forth in the Statement of Work.




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                      ii. Unless otherwise set forth in the Statement of Work or applicable Purchase
                          Order, Contractor is responsible for ensuring the relevant Operating Environment
                          is set up and in working order to allow Contractor to deliver and install the EMS
                          Software. Contractor will provide the Authorized User with such notice as is
                          specified in the Statement of Work, prior to delivery of the EMS Software to give
                          the Authorized User sufficient time to prepare for Contractor’s delivery, and if
                          applicable, installation of the EMS Software. If the Authorized User is
                          responsible for site preparation or installation, Contractor will provide such
                          assistance as Authorized User requests to complete such preparation and
                          installation on a timely basis.

                      iii. During the Term, Contractor shall provide the State with all Maintenance
                           Releases and New Versions in accordance with the Statement of Work (Section
                           1.5D, Modification Requirements), each of which will constitute EMS Software
                           and be subject to the terms and conditions of this Contract and the License
                           Agreement.

                      iv. The State has no obligation to install or use any Maintenance Release or New
                          Version. If the State wishes to install any Maintenance Release or New Version,
                          the State shall have the right to have such Maintenance Release or New Version
                          installed, in the State's discretion, by Contractor or other authorized party as set
                          forth in the Statement of Work.

          d. Deliverable Installation. Unless otherwise specified in the Statement of Work or applicable
             Purchase Order, Contractor shall provide the initial installation of all Deliverables at no
             additional charge. Installation shall include: unpacking, removal of all shipping and packing
             materials from the premises, positioning, connecting to internal utility services, and related
             necessary services to allow for Testing and Acceptance by the Authorized User. All Deliverable
             installations shall comply with building and facilities standards established by the State or
             Authorized User. If the Authorized User installs the Deliverable, Contractor shall provide all
             reasonably necessary telephone assistance at no additional cost during installation.

          e. Acceptance. Acceptance procedures for Services, EMS Software and Deliverables is set forth
             in the Statement of Work. Upon completion of testing set forth in the Statement of Work, the
             State or Authorized User will notify Contractor of its acceptance (“Acceptance”), provided such
             Acceptance occurs and is completed within fifteen (15) calendar days of delivery to the ship to
             address, after which it will be deemed accepted by the Authorized User or the State, as
             applicable.

  9.   Invoicing and Payment.

          a. Invoicing. Contractor will invoice the State or Authorized user for Fees in accordance with the
             requirements set forth in the Statement of Work. Contractor must submit each invoice in
             electronic format, via such delivery means and to such address as are specified by the State
             or Authorized User. Each separate invoice must:

                       i. clearly identify this Contract;

                      ii. list each Fee item separately;

                      iii. include sufficient detail for each line item to enable the State or Authorized User
                           to satisfy its accounting and charge-back requirements;




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                         iv. for Fees determined on a time and materials basis, report details regarding the
                             number of hours performed during the billing period, the skill or labor category for
                             such Contractor Personnel and the applicable hourly billing rates;

                         v. include such other information as may be required by the State or Authorized
                            User; and

                         vi. any other requirements set forth in the Statement of Work.

            b. Payment. Invoices are due and payable by the State, within forty-five (45) calendar days after
               Acceptance, provided the State determines that the invoice was properly rendered. The State
               will only disburse payments under this Contract through Electronic Funds Transfer (EFT).
               Contractor must register with the State at http://www.michigan.gov/cpexpress to receive
               electronic fund transfer payments. If Contractor does not register, the State is not liable for
               failure to provide payment. Invoices are due and payable by Authorized Users in accordance
               with the Authorized User’s standard payment procedures.

            c.   Payment Disputes. The State or Authorized User may withhold from payment any and all
                 payments and amounts it disputes in good faith, pending resolution of such dispute, provided
                 that the State or Authorized User:

                          i. timely renders all payments and amounts that are not in dispute;

                         ii. notifies Contractor of the dispute prior to the due date for payment, specifying in
                             such notice (A) the amount in dispute; and, (B) the reason for the dispute set out
                             in sufficient detail to facilitate investigation by Contractor and resolution by the
                             parties;

                         iii. works with Contractor in good faith to resolve the dispute promptly; and

                         iv. promptly pays any amount determined to be payable by resolution of the dispute.

            d. Not to Withhold Services. Contractor shall not withhold any Services or Deliverables or fail to
               perform any obligation hereunder by reason of the State's or Authorized User’s good faith
               withholding of any payment or amount or any dispute arising therefrom.

            e. Firm Pricing. Unless otherwise set forth in the Statement of Work, all Fees set forth in this
               Contract are firm and will not be increased during the Term, or any renewal thereof. For
               purpose of clarity, the parties may negotiate pricing for replacement hardware or components
               that reach end of life.

            f.   Taxes. The State is exempt from State sales tax for direct purchases and may be exempt from
                 federal excise tax, if Services or Deliverables purchased under this Contract are for the State’s
                 exclusive use or Authorized users. Notwithstanding the foregoing, all Fees are inclusive of
                 taxes, and Contractor is responsible for all sales, use and excise taxes, and any other similar
                 taxes, duties and charges of any kind imposed by any federal, state, or local governmental
                 entity on any amounts payable by the State under this Contract.

            g. Right of Setoff. Without prejudice to any other right or remedy it may have, the State and
               Authorized Users reserve the right to set off at any time any amount owing to it by Contractor
               against any amount payable by the State or Authorized User to Contractor under this Contract.

  10.   Performance of Services. Contractor will provide all Services and Deliverables in a timely,
        professional and workmanlike manner and in accordance with the terms, conditions, and specifications
        set forth in this Contract and the Statement of Work.



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        a. State Standards

                     i. To the extent that Contractor has access to the State’s computer system or will
                        be handling State Data, Contractor must adhere to all existing standards as
                        described within the comprehensive listing of the State’s existing technology
                        standards at http://www.michigan.gov/dmb/0,4568,7-150-56355-108233--
                        ,00.html

                     ii. To the extent that Contractor has access to the State’s computer system,
                         Contractor must comply with the State’s Acceptable Use Policy, see
                         http://michigan.gov/cybersecurity/0,1607,7-217-34395_34476---,00.html. All
                         Contractor personnel will be required, in writing, to agree to the State’s
                         Acceptable Use Policy before accessing the State’s system. The State reserves
                         the right to terminate Contractor’s access to the State’s system if a violation
                         occurs.

        b. Contractor Personnel

                     i. Contractor is solely responsible for all Contractor personnel and for the payment
                        of their compensation, including, if applicable, withholding of income taxes, and
                        the payment and withholding of social security and other payroll taxes,
                        unemployment insurance, workers’ compensation insurance payments and
                        disability benefits.

                     ii. Prior to any Contractor personnel performing any Services, Contractor will:

                            1. ensure that such Contractor personnel have the legal right to work in the
                               United States; and

                            2. require such Contractor personnel to execute written agreements, in
                               form and substance acceptable to the State or Authorized User, that bind
                               such Contractor personnel to confidentiality provisions that are at least
                               as protective of the State’s information (including all Confidential
                               Information) as those contained in this Contract.

                    iii. Contractor and all Contractor Personnel will comply with all rules, regulations,
                         and policies of the State or Authorized User that are communicated to Contractor
                         in writing, including security procedures concerning systems and data and
                         remote access, building security procedures, including the restriction of access
                         by the State or Authorized User to certain areas of its premises or systems, and
                         general health and safety practices and procedures.

                    iv. The State or Authorized User reserves the right to require the removal of any
                        Contractor Personnel found, in the judgment of the State or Authorized User, to
                        be unacceptable. The request must be written with reasonable detail outlining
                        the reasons for the removal request. Replacement personnel for the removed
                        person must be fully qualified for the position. If the State or Authorized User
                        exercises this right, and Contractor cannot immediately replace the removed
                        personnel, the parties agree to negotiate an equitable adjustment in schedule or
                        other terms that may be affected by the required removal.

        c.   Background Checks. Upon request, Contractor must perform background checks on all
             employees and subcontractors and its employees prior to their assignment. The scope is at




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           the discretion of the State or Authorized User and documentation must be provided as
           requested. Contractor is responsible for all costs associated with the requested background
           checks. The State or Authorized User, in its sole discretion, may also perform background
           checks.

        d. Contractor’s Key Personnel

                   i. The State has the right to recommend and approve in writing the initial
                      assignment, as well as any proposed reassignment or replacement, of any Key
                      Personnel. Before assigning an individual to any Key Personnel position,
                      Contractor will notify the State of the proposed assignment, introduce the
                      individual to the State’s Program Manager, and provide the State with a resume
                      and any other information about the individual reasonably requested by the
                      State. The State reserves the right to interview the individual before granting
                      written approval. In the event the State finds a proposed individual
                      unacceptable, the State will provide a written explanation including reasonable
                      detail outlining the reasons for the rejection.

                   ii. Contractor will not remove any Key Personnel from their assigned roles on this
                       Contract without the prior written consent of the State, not to be unreasonably
                       withheld. The Contractor’s removal of Key Personnel without the prior written
                       consent of the State is an unauthorized removal (“Unauthorized Removal”). An
                       Unauthorized Removal does not include replacing Key Personnel for reasons
                       beyond the reasonable control of Contractor, including illness, disability, leave of
                       absence, personal emergency circumstances, resignation, or for cause
                       termination of the Key Personnel’s employment. Any Unauthorized Removal
                       may be considered by the State to be a material breach of this Contract, in
                       respect of which the State may elect to terminate this Contract for cause under
                       Section 20.

                  iii. It is further acknowledged that an Unauthorized Removal will interfere with the
                       timely and proper completion of this Contract, to the loss and damage of the
                       State, and that it would be impracticable and extremely difficult to fix the actual
                       damage sustained by the State as a result of any Unauthorized Removal.
                       Therefore, Contractor and the State agree that in the case of any Unauthorized
                       Removal in respect of which the State does not elect to exercise its rights under
                       Section 20, Contractor will issue to the State the corresponding credits set forth
                       below (each, an “Unauthorized Removal Credit”):

                           1. For the Unauthorized Removal of any Key Personnel designated in the
                              Statement of Work, the credit amount will be $1,000.00 per individual if
                              Contractor identifies a replacement approved by the State and assigns
                              the replacement to shadow the Key Personnel who is leaving for a period
                              of at least 30 calendar days before the Key Personnel’s removal.

                           2. If Contractor fails to assign a replacement to shadow the removed Key
                              Personnel for at least 30 Calendar Days, in addition to the $1,000.00
                              credit specified above, Contractor will credit the State $1,000.00 per
                              Business Day for each day of the 30 calendar Day shadow period that
                              the replacement Key Personnel does not shadow the removed Key
                              Personnel, up to $30,000.00 maximum per individual. The total
                              Unauthorized Removal Credits that may be assessed per Unauthorized
                              Removal and failure to provide 30 Calendar Days of shadowing will not
                              exceed $31,000.00 per individual.




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                        iv. Contractor acknowledges and agrees that each of the Unauthorized Removal
                            Credits assessed under Subsection iii above: (i) is a reasonable estimate of and
                            compensation for the anticipated or actual harm to the State that may arise from
                            the Unauthorized Removal, which would be impossible or very difficult to
                            accurately estimate; and (ii) may, at the State’s option, be credited or set off
                            against any Fees or other charges payable to Contractor under this Contract.

            e. Subcontractors. Contractor will not, without the prior written approval of the State, which
               consent may be given or withheld in the State’s sole discretion, engage any Third Party to
               perform Services. The State’s approval of any such Third Party (each approved Third Party, a
               “Permitted Subcontractor”) does not relieve Contractor of its representations, warranties or
               obligations under this Contract. Without limiting the foregoing, Contractor will:

                          i. be responsible and liable for the acts and omissions of each such Permitted
                             Subcontractor (including such Permitted Subcontractor's employees who, to the
                             extent providing Services or Deliverables, shall be deemed Contractor
                             Personnel) to the same extent as if such acts or omissions were by Contractor or
                             its employees;

                         ii. name the State a third party beneficiary under Contractor’s Contract with each
                             Permitted Subcontractor with respect to the Services;

                         iii. be responsible for all fees and expenses payable to, by or on behalf of each
                              Permitted Subcontractor in connection with this Contract, including, if applicable,
                              withholding of income taxes, and the payment and withholding of social security
                              and other payroll taxes, unemployment insurance, workers' compensation
                              insurance payments and disability benefits

  11.   Notices. All notices and other communications required or permitted under this Contract must be in
        writing and will be considered given and received: (a) when verified by written receipt if sent by courier;
        (b) when actually received if sent by mail without verification of receipt; or (c) when verified by
        automated receipt or electronic logs if sent by facsimile or email.

   If to State:                                            If to Contractor:
   Sue Cieciwa                                             Gio Constantiello
   DTMB Procurement                                        Dominion Voting Systems
   Constitution Hall                                       1201 18th Street, Suite 210
   525 West Allegan Street                                 Denver, CO 80202
   PO Box 30026                                            Email: gio.costantiello@dominionvoting.com
   Lansing, MI 48909                                       Phone: (416) 762-8683 x 241
   Email: cieciwas@michigan.gov
   Phone: (517) 284-7007

  12.   Insurance Requirements. Contractor must maintain the insurances identified below and is
        responsible for all deductibles. All required insurance must: (a) protect the State from claims that may
        arise out of, are alleged to arise out of, or result from Contractor's or a subcontractor's performance;
        (b) be primary and non-contributing to any comparable liability insurance (including self-insurance)
        carried by the State; and (c) be provided by a company with an A.M. Best rating of "A" or better and a
        financial size of VII or better.

                        Insurance Type                             Additional Requirements
                                  Commercial General Liability Insurance
         Minimal Limits:                                        Contractor must have their policy endorsed to
         $1,000,000 Each Occurrence Limit                       add “the State of Michigan, its departments,



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       $1,000,000 Personal & Advertising Injury Limit             divisions, agencies, offices, commissions,
       $2,000,000 General Aggregate Limit                         officers, employees, and agents” as additional
       $2,000,000 Products/Completed Operations                   insureds using endorsement CG 20 10 11 85,
                                                                  or both CG 2010 07 04 and CG 2037 07 0.
       Deductible Maximum:
       $50,000 Each Occurrence
                                          Automobile Liability Insurance
       Minimal Limits:
       $1,000,000 Per Occurrence

                                       Workers' Compensation Insurance
       Minimal Limits:                                            Waiver of subrogation, except where waiver is
       Coverage according to applicable laws governing            prohibited by law.
       work activities.

                                          Employers Liability Insurance
       Minimal Limits:
       $500,000 Each Accident
       $500,000 Each Employee by Disease
       $500,000 Aggregate Disease.

                                                   Crime Insurance
       Minimal Limits:                                            Contractor must have their policy: (1) cover
       $1,000,000 Employee Theft Per Loss                         forgery and alteration, theft of money and
                                                                  securities, robbery and safe burglary,
                                                                  computer fraud, funds transfer fraud, money
                                                                  order and counterfeit currency, and (2)
                                                                  endorsed to add “the State of Michigan, its
                                                                  departments, divisions, agencies, offices,
                                                                  commissions, officers, employees, and
                                                                  agents” as Loss Payees.
                           Professional Liability (Errors and Omissions) Insurance
       Minimal Limits:
       $5,000,000 Each Occurrence
       $5,000,000 Annual Aggregate

       Deductible Maximum:
       $50,000 Per Loss
                                                 Property Insurance
   The Contractor is responsible for Property Insurance           The State of Michigan, its departments, divisions,
   covering any loss or damage to State-owned owned               agencies, offices, commissions, officers, employees
   property that results from this agreement including cargo      and agents must be endorsed on the policy as a
   while in transit, and State-owned office space used by the     loss payee as its interests appear.
   Contractor for any reason under this Contract, together with
   State-owned equipment, software and other contents of the
   office space, including without limitation, those contents
   used by the Contractor to provide the Services to the State,
   up to its replacement value, where the property is under the
   care, custody and control of the Contractor.




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        If any of the required policies provide claim-made coverage, the Contractor must: (a) provide coverage
        with a retroactive date before the effective date of the contract or the beginning of Services; (b) maintain
        coverage and provide evidence of coverage for at least three (3) years after completion of the Services;
        and (c) if coverage is canceled or not renewed, and not replaced with another claims-made policy form
        with a retroactive date prior to the contract effective date, Contractor must purchase extended reporting
        coverage for a minimum of three (3) years after completion of work.

        Contractor must: (a) provide insurance certificates to the Contract Administrator, containing the
        agreement or purchase order number, at Contract formation and within 20 calendar days of the
        expiration date of the applicable policies; (b) require that subcontractors maintain the required
        insurances contained in this Section; (c) notify the Contract Administrator within 5 business days if any
        insurance is cancelled; and (d) waive all rights against the State for damages covered by insurance.
        Failure to maintain the required insurance does not limit this waiver.

        This Section is not intended to and is not be construed in any manner as waiving, restricting or limiting
        the liability of either party for any obligations under this Contract (including any provisions hereof
        requiring Contractor to indemnify, defend and hold harmless the State).

  13.   Reserved

  14.   Extended Purchasing Program. This Contract is extended to MiDEAL members. MiDEAL members
        include local units of government, school districts, universities, community colleges, and nonprofit
        hospitals. A current list of MiDEAL members is available at www.michigan.gov/mideal. Upon written
        agreement between the State and Contractor, this Contract may also be extended to: (a) State of
        Michigan employees and (b) other states (including governmental subdivisions and authorized entities).

        If extended, Contractor must supply all Services, EMS Software and Deliverables at the established
        Contract prices and terms. The State reserves the right to negotiate additional discounts based on any
        increased volume generated by such extensions.

        Contractor must submit invoices to, and receive payment from, extended purchasing program members
        on a direct and individual basis. ALL CONTRACTUAL OBLIGATIONS UNDER THIS CONTRACT IN
        CONNECTION WITH A PURCHASE ORDER PLACED BY A MIDEAL MEMBER ARE THE SOLE
        OBLIGATION OF THE MIDEAL MEMBER PLACING THE ORDER AND NOT THE RESPONSIBILITY
        OF THE STATE

  15.   Independent Contractor. Contractor is an independent contractor and assumes all rights, obligations
        and liabilities set forth in this Contract. Contractor, its employees, and agents will not be considered
        employees of the State. No partnership or joint venture relationship is created by virtue of this Contract.
        Contractor, and not the State, is responsible for the payment of wages, benefits and taxes of
        Contractor’s employees and any subcontractors. Prior performance does not modify Contractor’s
        status as an independent contractor.

  16.   Assignment. Contractor may not assign this Contract to any other party without the prior written
        approval of the State. Upon notice to Contractor, the State, in its sole discretion, may assign in whole
        or in part, its rights or responsibilities under this Contract to any other party.

  17.   Change of Control. Contractor will notify the State, within 90 calendar days of the effective date, of a
        change in Contractor’s organizational structure or ownership. For purposes of this Contract, a change
        in control means any of the following: (a) a sale of more than 50% of Contractor’s stock resulting in a
        circumstance described by (e); (b) a sale of substantially all of Contractor’s assets; (c) a change in a
        majority of Contractor’s board members; (d) consummation of a merger or consolidation of Contractor
        with any other entity; (e) a change in more than 50% ownership through a transaction or series of
        transactions; (f) or the board (or the stockholders) approves a plan of complete liquidation. A change



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        of control does not include any consolidation or merger effected exclusively to change the domicile of
        Contractor, or any transaction or series of transactions principally for bona fide equity financing
        purposes.

        In the event of a change of control, Contractor must require the successor to assume this Contract and
        all of its obligations under this Contract.

  18.   Liquidated Damages.         Liquidated damages, if applicable, will be assessed as described in the
        Statement of Work.

  19.   Stop Work Order. The State may suspend any or all activities under the Contract at any time. The
        State will provide Contractor a written stop work order detailing the suspension. Contractor must
        comply with the stop work order upon receipt. Within 90 calendar days, or any longer period agreed to
        by Contractor, the State will either: (a) issue a notice authorizing Contractor to resume work, or (b)
        terminate the Contract. The State will not pay for Services or Deliverables, Contractor’s lost profits, or
        any additional compensation during a stop work period. The State or Authorized User, as applicable
        will pay for any Services or Deliverables that have been ordered, prior to the issuance of the Stop Work
        Order.

  20.   Termination for Cause. The State may terminate this Contract for cause, in whole or in part, if
        Contractor, as determined by the State: (a) endangers the value, integrity, or security of any State or
        Authorized User location, data, or personnel; (b) becomes insolvent, petitions for bankruptcy court
        proceedings, or has an involuntary bankruptcy proceeding filed against it by any creditor; (c) engages
        in any conduct that may expose the State or an Authorized User to liability; (d) breaches any of its
        material duties or obligations under this Contractor, including but not limited to obtaining and
        maintaining, throughout the Term of the Contract, Federal and/or State voting system certification; or
        (e) fails to cure a breach within the time stated in a notice of breach provided Contractor shall be
        afforded no less than thirty (30) days to cure any such breach under this Contract unless otherwise
        mutually agreed upon by the parties. Any reference to specific breaches being material breaches within
        this Contract will not be construed to mean that other breaches are not material.

        If the State terminates this Contract under this Section, the State will issue a termination notice
        specifying whether Contractor must: (a) cease performance immediately, or (b) continue to perform for
        a specified period. If it is later determined that Contractor was not in breach of the Contract, the
        termination will be deemed to have been a termination for convenience, effective as of the same date,
        and the rights and obligations of the parties will be limited to those provided in Section 21.
        The State will only pay for amounts due to Contractor for Services and Deliverables accepted by the
        State on or before the date of termination, subject to the State’s right to set off any amounts owed by
        the Contractor for the State’s reasonable costs in terminating this Contract. Contractor must promptly
        reimburse to the State any Fees prepaid by the State prorated to the date of such termination, including
        any prepaid Fees for support and maintenance services. Further, Contractor must pay all reasonable
        costs incurred by the State in terminating this Contract for cause, including administrative costs,
        attorneys’ fees, and court costs. For purposes of clarity, Contractor will not be responsible for any
        transition costs or costs of obtaining substitute Services or Deliverables.

  21.   Termination for Convenience. Upon thirty (30) days prior written notice, the State may terminate this
        Contract in whole or in part without penalty and for any reason, including but not limited to, appropriation
        or budget shortfalls. The termination notice will specify whether Contractor must: (a) cease
        performance of the Services immediately, or (b) continue to perform the Services in accordance with
        Section 22. If the State terminates this Contract for convenience, the State will pay all reasonable
        costs, as determined by the State, for State approved Transition Responsibilities. The State or
        Authorized User, as applicable will pay for any Services or Deliverables that have been Accepted, prior
        to the effective date of the termination.




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  22.   Transition Responsibilities. Upon termination or expiration of this Contract for any reason,
        Contractor must, for a period of time specified by the State (not to exceed 90 calendar days)(the
        “Transition Period”), provide all reasonable transition assistance requested by the State, to allow for
        the expired or terminated portion of the Services and Deliverables to continue without interruption or
        adverse effect, and to facilitate the orderly transfer of such Services and Deliverables to the State or its
        designees. Such transition assistance may include, but is not limited to: (a) continuing to perform the
        Services at the established Contract rates; (b) taking all reasonable and necessary measures to
        transition performance of the work, including all applicable Services and Deliverables, training, reports
        and other documentation, to the State or the State’s designee; (c) taking all necessary and appropriate
        steps, or such other action as the State may direct, to preserve, maintain, protect, or return to the State
        all materials, data, property, and confidential information provided directly or indirectly to Contractor by
        any entity, agent, vendor, or employee of the State; (d) transferring title in and delivering to the State,
        at the State’s discretion, all completed or partially completed Deliverables prepared under this Contract
        as of the Contract termination date; and (e) preparing an accurate accounting from which the State and
        Contractor may reconcile all outstanding accounts (collectively, “Transition Responsibilities”). This
        Contract will automatically be extended through the end of the transition period.

  23.   General Indemnification. Contractor must defend, indemnify and hold the State, its departments,
        divisions, agencies, offices, commissions, officers, and employees harmless, without limitation, from
        and against any and all actions, claims, losses, liabilities, damages, costs, attorney fees, and expenses
        (including those required to establish the right to indemnification), arising out of or relating to third party
        claims arising out of: (a) any breach by Contractor (or any of Contractor’s employees, agents,
        subcontractors, or by anyone else for whose acts any of them may be liable) of any of the promises,
        agreements, representations, warranties, or insurance requirements contained in this Contract; (b) any
        infringement, misappropriation, or other violation of any Intellectual Property Right or other right of any
        third party, excluding any Third-Party Products; and (c) any bodily injury, death, or damage to real or
        tangible personal property occurring wholly or in part due to the negligence or misconduct of Contractor
        (or any of Contractor’s employees, agents, subcontractors, or by anyone else for whose acts any of
        them may be liable).

        The State will notify Contractor in writing if indemnification is sought; however, failure to do so will not
        relieve Contractor, except to the extent that Contractor is materially prejudiced. Contractor must, to the
        satisfaction of the State, demonstrate its financial ability to carry out these obligations.

        The State is entitled to: (i) regular updates on proceeding status; (ii) participate in the defense of the
        proceeding; and (iii) employ its own counsel. Contractor will not, without the State’s written consent
        (not to be unreasonably withheld), settle, compromise, or consent to the entry of any judgment in or
        otherwise seek to terminate any claim, action, or proceeding. To the extent that any State employee,
        official, or law may be involved or challenged, the State may, at its own expense, control the defense
        of that portion of the claim; provided that, in such event, Contractor will be relieved of its obligations
        under this Section with respect to that particular claim.

        Any litigation activity on behalf of the State, or any of its subdivisions under this Section, must be
        coordinated with the Department of Attorney General. An attorney designated to represent the State
        may not do so until approved by the Michigan Attorney General and appointed as a Special Assistant
        Attorney General.

  24.   Infringement Remedies; Exclusions. Excluding any Third-Party Products, if, in either party’s
        opinion, any of the Services, EMS Software or Deliverables supplied by Contractor or its
        subcontractors, or its operation, use or reproduction, is likely to become the subject of a copyright,
        patent, trademark, or trade secret infringement claim, Contractor must, at its expense do one of the
        following at State’s option: (a) procure for the State the right to continue using the Services or
        Deliverables, or if this option is not reasonably available to Contractor, (b) replace or modify the same
        so that it becomes non-infringing, or if this option is not reasonably available to Contractor, (c) accept
        its return by the State with appropriate credits to the State against Contractor’s charges and reimburse



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        the State for any losses or costs incurred as a consequence of the State ceasing its use and returning
        it. Contractor will not defend or indemnify the State if any claim of infringement or misappropriation (a)
        is asserted by an affiliate of the State; (b) results from the State’s design or alteration of any Services,
        EMS Software or Deliverables; (c) results from use of any Deliverable or EMS Software in combination
        with any non-Contractor product, except to the extent, if any, that such use in combination is restricted
        to the EMS Software system designed by Contractor or Contractor has directed such use; (d) relates
        to Third-Party Products; or (e) arises from State-specified customization work undertaken by Contractor
        or its designees that are made in response to State specifications. THIS SECTION 24 AND THE
        STATE’S INDEMNIFICATION RIGHTS UNDER SECTION 23 STATES THE ENTIRE LIABILITY OF
        CONTRACTOR AND STATE’S SOLE AND EXCLUSIVE REMEDIES FOR INFRINGEMENT AND
        INTELLECTUAL PROPERTY MISAPPROPRIATION; PROVIDED THAT, THE STATE MAY ALSO
        TERMINATE THIS CONTRACT FOR CAUSE.

  25.   Limitation of Liability. NEITHER PARTY WILL BE LIABLE, REGARDLESS OF THE FORM OF
        ACTION, WHETHER IN CONTRACT, TORT, NEGLIGENCE, STRICT LIABILITY OR BY STATUTE
        OR OTHERWISE, FOR ANY CLAIM RELATED TO OR ARISING UNDER THIS CONTRACT FOR
        CONSEQUENTIAL, INCIDENTAL, INDIRECT, OR SPECIAL DAMAGES, INCLUDING WITHOUT
        LIMITATION LOST PROFITS AND LOST BUSINESS OPPORTUNITIES. IN ADDITION, IN NO
        EVENT WILL THE STATE’S OR THE CONTRACTOR’S AGGREGATE LIABILITY TO THE OTHER
        OR TO ANY AUTHORIZED USER UNDER THIS CONTRACT EXCEED THE MAXIMUM AMOUNT
        OF FEES SPECIFIED IN THE STATEMENT OF WORK WITH RESPECT TO THE STATE OR THE
        MAXIMUM AMOUNT OF FEES SPECIFIED IN THE APPLICABLE PURCHASE ORDER FOR SUCH
        AUTHORIZED USER.

  26.   Disclosure of Litigation, or Other Proceeding. Contractor must notify the State within 14 calendar
        days of receiving notice of any litigation, investigation, arbitration, or other proceeding (collectively,
        “Proceeding”) involving Contractor, a subcontractor, or an officer or director of Contractor or
        subcontractor, that arises during the term of the Contract and that could reasonably be expected to
        affect Contractor’s ability to comply with this Agreement, including: (a) a criminal Proceeding; (b) a
        parole or probation Proceeding; (c) a Proceeding under the Sarbanes-Oxley Act; (d) a civil Proceeding
        involving: (1) a claim that might reasonably be expected to adversely affect Contractor’s viability or
        financial stability; or (2) a governmental or public entity’s claim or written allegation of fraud; or (e) a
        Proceeding involving any license that Contractor is required to possess in order to perform under this
        Contract.

  27.   State Data. The State’s data (“State Data”), which will be treated by Contractor as Confidential
        Information, includes all of the State’s or Authorized User’s data collected, used, processed, stored, or
        generated as the result of the Services. Contractor is provided a limited license to State Data for the
        sole and exclusive purpose of providing the Services, including a license to collect, process, store,
        generate, and display State Data only to the extent necessary in the provision of the Services.
        Contractor must: (a) keep and maintain State Data in strict confidence, using such degree of care as is
        appropriate and consistent with its obligations as further described in this Contract and applicable law
        to avoid unauthorized access, use, disclosure, or loss; (b) use and disclose State Data solely and
        exclusively for the purpose of providing the Services, such use and disclosure being in accordance with
        this Contract, any applicable Statement of Work, and applicable law; and (c) not use, sell, rent, transfer,
        distribute, or otherwise disclose or make available State Data for Contractor’s own purposes or for the
        benefit of anyone other than the State without the State’s prior written consent. This Section survives
        the termination of this Contract.

  28.   Non-Disclosure of Confidential Information. The parties acknowledge that each party may be
        exposed to or acquire communication or data of the other party that is confidential, privileged
        communication not intended to be disclosed to third parties. The provisions of this Section survive the
        termination of this Contract.




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        a. Meaning of Confidential Information. For the purposes of this Contract, the term “Confidential
           Information” means all information and documentation of a party that: (a) has been marked
           “confidential” or with words of similar meaning, at the time of disclosure by such party; (b) if
           disclosed orally or not marked “confidential” or with words of similar meaning, was
           subsequently summarized in writing by the disclosing party and marked “confidential” or with
           words of similar meaning; and, (c) should reasonably be recognized as confidential information
           of the disclosing party. The term “Confidential Information” does not include any information
           or documentation that was or is: (a) subject to disclosure under the Michigan Freedom of
           Information Act (FOIA) by the receiving party; (b) already in the possession of the receiving
           party without an obligation of confidentiality; (c) developed independently by the receiving
           party, as demonstrated by the receiving party, without violating the disclosing party’s
           proprietary rights; (d) obtained from a source other than the disclosing party without an
           obligation of confidentiality; or, (e) publicly available when received, or thereafter became
           publicly available (other than through any unauthorized disclosure by, through, or on behalf of,
           the receiving party). For purposes of this Contract, in all cases and for all matters, State Data
           is deemed to be Confidential Information.

        b. Obligation of Confidentiality. The parties agree to hold all Confidential Information in strict
           confidence and not to copy, reproduce, sell, transfer, or otherwise dispose of, give or disclose
           such Confidential Information to third parties other than employees, agents, or subcontractors
           of a party who have a need to know in connection with this Contract or to use such Confidential
           Information for any purposes whatsoever other than the performance of this Contract. The
           parties agree to advise and require their respective employees, agents, and subcontractors of
           their obligations to keep all Confidential Information confidential. Disclosure to a subcontractor
           is permissible where: (a) use of a subcontractor is authorized under this Contract; (b) the
           disclosure is necessary or otherwise naturally occurs in connection with work that is within the
           subcontractor's responsibilities; and (c) the receiving party obligates the subcontractor in a
           written contract to maintain the disclosing party’s Confidential Information in confidence. At a
           party’s request, any employee or any subcontractor may be required to execute a separate
           agreement to be bound by the provisions of this Section.

        c.   Cooperation to Prevent Disclosure of Confidential Information. Each party must use its best
             efforts to assist the other party in identifying and preventing any unauthorized use or disclosure
             of any Confidential Information. Without limiting the foregoing, each party must advise the
             other party immediately in the event either party learns or has reason to believe that any person
             who has had access to Confidential Information has violated or intends to violate the terms of
             this Contract and each party will cooperate with the other party in seeking injunctive or other
             equitable relief against any such person.

        d. Remedies for Breach of Obligation of Confidentiality. Each party acknowledges that breach of
           its obligation of confidentiality may give rise to irreparable injury to the other party, which
           damage may be inadequately compensable in the form of monetary damages. Accordingly, a
           party may seek and obtain injunctive relief against the breach or threatened breach of the
           foregoing undertakings, in addition to any other legal remedies which may be available, to
           include, the immediate termination without penalty to the terminating party, of this Contract or
           any Statement of Work corresponding to the breach or threatened breach.

        e. Surrender of Confidential Information upon Termination. Upon termination of this Contract or
           a Statement of Work, in whole or in part, each party must, within 5 calendar days from the date
           of termination, return to the other party any and all Confidential Information received from the
           other party, or created or received by a party on behalf of the other party, which are in such
           party’s possession, custody, or control. Should Contractor or the State determine that the
           return of any Confidential Information is not feasible, such party must destroy the Confidential
           Information and must certify the same in writing within 5 calendar days from the date of
           termination to the other party.



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  29.   Data Privacy and Information Security. Without limiting Contractor’s obligation of confidentiality as
        further described, Contractor is responsible for establishing and maintaining a data privacy and
        information security program, including physical, technical, administrative, and organizational
        safeguards, that is designed to: (a) ensure the security and confidentiality of State Data; (b) protect
        against any anticipated threats or hazards to the security or integrity of State Data; (c) protect against
        unauthorized disclosure, access to, or use of State Data; (d) ensure the proper disposal of State Data;
        and (e) ensure that all employees, agents, and subcontractors of Contractor, if any, comply with all of
        the foregoing.

  30.   Records Maintenance, Inspection, Examination, and Audit. The State or its designee may audit
        Contractor to verify compliance with this Contract. Contractor must retain, and provide to the State or
        its designee and the auditor general upon request, all financial and accounting records related to the
        Contract through the term of the Contract and for 4 years after the latter of termination, expiration, or
        final payment under this Contract or any extension (“Audit Period”). If an audit, litigation, or other
        action involving the records is initiated before the end of the Audit Period, Contractor must retain the
        records until all issues are resolved.

        Within 10 calendar days of providing notice, the State and its authorized representatives or designees
        have the right to enter and inspect Contractor's premises or any other places where Services are being
        performed, and examine, copy, and audit all records related to this Contract. Contractor must
        cooperate and provide reasonable assistance. If any financial errors are revealed, the amount in error
        must be reflected as a credit or debit on subsequent invoices until the amount is paid or refunded. Any
        remaining balance at the end of the Contract must be paid or refunded within 45 calendar days.

        This Section applies to Contractor, any parent, affiliate, or subsidiary organization of Contractor, and
        any subcontractor that performs Services in connection with this Contract.

  31.   Warranties and Representations.

                a.    Authority. Contractor represents and warrants to the State that:

                         i. It is duly organized, validly existing, and in good standing as a corporation or
                            other entity as represented under this Contract under the laws and regulations of
                            its jurisdiction of incorporation, organization, or chartering;

                         ii. It has the full right, power, and authority to enter into this Contract, to grant the
                             rights and licenses granted under this Contract, and to perform its contractual
                             obligations;

                        iii. The execution of this Contract by its Representative has been duly authorized by
                             all necessary organizational action; and

                        iv. When executed and delivered by Contractor, this Contract will constitute the
                            legal, valid, and binding obligation of Contractor, enforceable against Contractor
                            in accordance with its terms.

                b. Pass through Warranties. Contractor further represents and warrants to the State that:

                         i.    it shall pass through all manufacturer supplied end-user warranties to the
                               Authorized User or the State, as applicable, and that with respect to all of the
                               Deliverables provided hereunder, it has obtained from manufacturers of such
                               Deliverables provided hereunder and will assign or pass through to each
                               Authorized User the following representations and rights from said
                               manufacturers: that said manufacturers agree to defend, indemnify and hold




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                         harmless Contractor and the end user customer at manufacturer's expense
                         from and against any claim, charge, demand, proceeding, suit, liability, loss,
                         cost, expense, order, decree, attorneys fees, court costs, trial or appeal and
                         judgments including damages of any kind resulting from, arising out of or in
                         connection with any actual or claimed: (a) personal injury (including death),
                         property damage or loss of any nature whatsoever alleged to have occurred as
                         a result of the use of any of the Deliverable, (b) any defect in material,
                         workmanship or design and (c) patent, trademark or copyright infringement
                         with respect to any of the Deliverables. Notwithstanding the foregoing, the
                         State and Authorized Users acknowledge that all Third Party Products which
                         have been purchased by the Contractor for the State or Authorized Users
                         hereunder are owned by parties other than Contractor. The State and
                         Authorized Users further acknowledge that except for the payment to
                         Contractor for the Third Party Products, all of its rights, warranties and
                         obligations with respect thereto flow from and to the Third Parties. Contractor
                         is only obligated to pass through the foregoing rights, warranties and
                         obligations as may be provided by the Third Party.

           c.   EMS Software and Deliverable Representations and Warranties.              Contractor further
                represents and warrants to the State that:

                    i.   except for any Third Party Products used in conjunction with the EMS Software
                         or any Deliverable (including System Software) provided hereunder, it is the
                         legal and beneficial owner of the entire right, title and interest in and to the
                         EMS Software and Deliverables (including any System Software), including, all
                         Intellectual Property Rights relating thereto necessary to perform hereunder;

                   ii. it has, and throughout the license term, will retain the unconditional and
                       irrevocable right, power and authority to grant and perform the license hereunder;

                   iii. the EMS Software and Deliverables (including any System Software), and the
                        State's use thereof, is and throughout the license term will be free and clear of all
                        encumbrances, liens and security interests of any kind;

                   iv. when used by the State or any Authorized User in accordance with this Contract,
                       the EMS Software or Deliverable (including any System Software) as delivered or
                       installed by Contractor does not or will not infringe, misappropriate or otherwise
                       violate any Intellectual Property Right or other right of any third party;

                   v. Contractor uses industry standard software and tools designed to ensure that the
                      EMS Software or any System Software does not or will not at any time during the
                      license term contain any Harmful Code;

                   vi. when delivered, the EMS Software and System Software shall be at the current
                       State certified release level unless otherwise requested by the State or
                       Authorized Users; and

                  vii. all Documentation is and will be complete and accurate in all material respects
                       when provided to the State such that at no time during the license term will the
                       EMS Software or any Deliverables (including any System Software) have any
                       material undocumented feature.

           d. Performance Warranty.




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                  i.    Contractor warrants that during the Term of the Contract: (A) the EMS
                        Software and the Deliverables (including System Software, but, excluding any
                        Third-Party Products) will function in conformity with this Contract, the
                        specifications set forth in the Statement of Work, and the Documentation; and
                        (B) all Deliverables (but excluding any Third-Party Products) will be free of
                        damage or defect in design, material and workmanship, and will remain so
                        under ordinary use as contemplated by this Contract, the specifications set
                        forth in the Statement of Work, and the Documentation. Contractor will, at the
                        State’s discretion, replace or repair any Contractor hardware that does not
                        comply with this warranty, at no additional charge to State. The foregoing
                        warranty shall not include the repair or replacement of any Deliverable
                        components that are consumed in the normal course of operating the
                        Deliverables, including printer ribbons, printer cartridges, paper rolls, backup
                        batteries, removable media storage devices or marking devices. These
                        warranties are effective provided that (I) the State or Authorized User promptly
                        notifies Contractor of the failure of performance or defect and is otherwise in
                        compliance with its obligations hereunder, (II) the Deliverable, EMS Software
                        or System Software to be repaired or replaced has not been repaired,
                        changed, modified or altered except as authorized or approved by Contractor,
                        (III) the Deliverable, EMS Software or System Software to be repaired or
                        replaced is not damaged as a result of accident, theft, vandalism, neglect,
                        abuse, use which is not in accordance with instructions or specifications
                        furnished by Contractor or causes beyond the reasonable control of Contractor
                        or the State or Authorized User, including, but not limited to, acts of God, fire,
                        riots, acts of war, terrorism or insurrection, labor disputes, power failures,
                        surges or electrical damage, transportation delays, governmental regulations
                        and utility or communication interruptions, and (IV) the State or Authorized
                        User has installed and is using the most recent Update, provided to it by
                        Contractor. This warranty is void for any units of a Deliverable which: (i) have
                        not been stored or operated in a temperature range according their
                        specifications, (ii) have been severely handled so as to cause mechanical
                        damage to the unit, or (iii) have been operated or handled in a manner
                        inconsistent with reasonable treatment of an electronic product.

                 ii.    Contractor further warrants that the EMS Software and the Deliverables
                        (including System Software) will operate in conjunction with the Third Party
                        Products during the Term of the Contract, provided that (i) the State or
                        Authorized User has installed and is using the most recent State certified
                        update provided to it by Contractor, and (ii) the Third Party Products are
                        performing in accordance with their own specifications and documentation in all
                        material respects and are not defective in material or workmanship. In the
                        event of a breach of this warranty, Contractor will, in accordance with Section
                        1.6 of the Statement of Work, use commercially reasonable efforts to remedy
                        or provide a suitable workaround for defects, errors or malfunctions in the EMS
                        Software or the Deliverables (including System Software) that is causing such
                        breach to occur. The State and Authorized Users acknowledge that Contractor
                        has merely purchased the Third Party Products for resale to State or
                        Authorized User, and that the proprietary and intellectual property rights to the
                        Third Party Products are owned by parties other than Contractor. Subject to
                        the Statement of Work, the State and Authorized User further acknowledge
                        that except for the payment to Contractor for the Third Party Products, all of its
                        rights and obligations with respect thereto flow from and to the Third Parties.

                 iii.   If the Contractor breaches any of the warranties set forth in this Subsection d
                        Contractor will, upon written notice from the State, remedy such breach in



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                              accordance with its service and maintenance obligations set forth in Section
                              1.6 of the Statement of Work, including the time periods set forth in such
                              section. In the event Contractor fails to remedy such breach on a timely basis,
                              the State will be entitled to such remedies as are specified in the Statement of
                              Work or as may otherwise be available under this Contract, at law or in equity
                              for breach of its service and maintenance obligations. During the Initial Service
                              Period (as that term is defined under the Statement of Work), Contractor’s
                              obligations under this section shall be at Contractor’s sole cost and expense.
                              Upon expiration of the Initial Service Period, the State will pay in accordance
                              with the fees set forth in the Statement of Work.


                e. CONTRACTOR DISCLAIMS ALL OTHER REPRESENTATIONS AND WARRANTIES,
                   WHETHER WRITTEN, ORAL, EXPRESS, IMPLIED OR STATUTORY, INCLUDING ANY
                   WARRANTY OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE
                   AND ANY WARRANTY BASED ON A COURSE OF DEALING, COURSE OF
                   PERFORMANCE OR USAGE OF TRADE. OTHER THAN THE WARRANTIES SET
                   FORTH ABOVE REGARDING COMPABITBILITY, CONTRACTOR MAKES NO
                   REPRESENTATIONS OR WARRANTIES AS TO THIRD PARTY PRODUCTS, IF ANY,
                   PROVIDED BY CONTRACTOR TO STATE, ALL OF WHICH IS SOLD, LICENSED, OR
                   SUBLICENSED TO STATE “AS IS,” OTHER THAN AS MAY BE PROVIDED IN ANY
                   PASS-THROUGH WARRANTY. CONTRACTOR HAS NO RESPONSIBILITY OR
                   LIABILITY FOR THIRD PARTY PRODUCTS, IF ANY, PROVIDED BY CONTRACTOR’S
                   DISTRIBUTORS OR OTHER THIRD PARTIES TO STATE. STATE AND AUTHORIZED
                   USERS ARE SOLELY RESPONSIBLE FOR ASSURING AND MAINTAINING THE
                   BACKUP OF ALL CUSTOMER DATA.         UNDER NO CIRCUMSTANCES WILL
                   CONTRACTOR BE LIABLE TO CUSTOMER OR ANY THIRD PARTY FOR THE LOSS
                   OF OR DAMAGE TO CUSTOMER DATA

  32.   Conflicts and Ethics. Contractor will uphold high ethical standards and is prohibited from: (a) holding
        or acquiring an interest that would conflict with this Contract; (b) doing anything that creates an
        appearance of impropriety with respect to the award or performance of the Contract; (c) attempting to
        influence or appearing to influence any State employee by the direct or indirect offer of anything of
        value; or (d) paying or agreeing to pay any person, other than employees and consultants working for
        Contractor, any consideration contingent upon the award of the Contract. Contractor must immediately
        notify the State of any violation or potential violation of these standards. This Section applies to
        Contractor, any parent, affiliate, or subsidiary organization of Contractor, and any subcontractor that
        performs Services in connection with this Contract.

  33. Nondiscrimination. Under the Elliott-Larsen Civil Rights Act, 1976 PA 453, MCL 37.2101, et seq.,
      and the Persons with Disabilities Civil Rights Act, 1976 PA 220, MCL 37.1101, et seq., Contractor and
      its subcontractors agree not to discriminate against an employee or applicant for employment with
      respect to hire, tenure, terms, conditions, or privileges of employment, or a matter directly or indirectly
      related to employment, because of race, color, religion, national origin, age, sex, height, weight, marital
      status, or mental or physical disability. Breach of this covenant is a material breach of this Contract.
  34. Unfair Labor Practice. Under MCL 423.324, the State may void any Contract with a Contractor or
      subcontractor who appears on the Unfair Labor Practice register compiled under MCL 423.322.

  35.   Schedules. All Schedules that are referenced herein and attached hereto are hereby incorporated by
        reference. The following Schedules are attached hereto and incorporated herein:

          Schedule A                       Statement of Work

          Schedule B                       License Agreement




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          Schedule C                        Pricing


  36.   Governing Law. This Contract is governed, construed, and enforced in accordance with Michigan law,
        excluding choice-of-law principles, and all claims relating to or arising out of this Contract are governed
        by Michigan law, excluding choice-of-law principles. Any dispute arising from this Contract must be
        resolved in Michigan Court of Claims. Contractor consents to venue in Ingham County, and waives
        any objections, such as lack of personal jurisdiction or forum non conveniens. Contractor must appoint
        agents in Michigan to receive service of process.

  37.   Non-Exclusivity. Nothing contained in this Contract is intended nor will be construed as creating any
        requirements contract with Contractor. This Contract does not restrict the State or its agencies from
        acquiring similar, equal, or like Services or Deliverables from other sources.

  38.   Force Majeure. Neither party will be in breach of this Contract because of any failure arising from any
        disaster or acts of god that are beyond their control and without their fault or negligence. Each party
        will use commercially reasonable efforts to resume performance. Contractor will not be relieved of a
        breach or delay caused by its subcontractors. If immediate performance is necessary to ensure public
        health and safety, the State may immediately contract with a third party.

  39.   Dispute Resolution. The parties will endeavor to resolve any Contract dispute in accordance with this
        provision (the “Dispute Resolution Procedure”). The dispute will be referred to the parties' respective
        Contract Administrators or Program Managers. Such referral must include a description of the issues
        and all supporting documentation. The parties must submit the dispute to a senior executive if unable
        to resolve the dispute within 15 business days. The parties will continue performing while a dispute is
        being resolved, unless the dispute precludes performance. A dispute involving payment does not
        preclude performance.

        Litigation to resolve the dispute will not be instituted until after the dispute has been elevated to the
        parties’ senior executive and either concludes that resolution is unlikely, or fails to respond within 15
        business days. The parties are not prohibited from instituting formal proceedings: (a) to avoid the
        expiration of statute of limitations period; (b) to preserve a superior position with respect to creditors;
        or (c) where a party makes a determination that a temporary restraining order or other injunctive relief
        is the only adequate remedy. This Section does not limit the State’s right to terminate the Contract.

  40.   Media Releases. News releases (including promotional literature and commercial advertisements)
        pertaining to the Contract or project to which it relates must not be made without prior written State
        approval, and then only in accordance with the explicit written instructions of the State.

  41.   Severability. If any part of this Contract is held invalid or unenforceable, by any court of competent
        jurisdiction, that part will be deemed deleted from this Contract and the severed part will be replaced
        by agreed upon language that achieves the same or similar objectives. The remaining Contract will
        continue in full force and effect.

  42.   Waiver. Failure to enforce any provision of this Contract will not constitute a waiver.

  43.   Survival. The provisions of this Contract that impose continuing obligations, including warranties and
        representations, termination, transition, insurance coverage, indemnification, limitations of liability, and
        confidentiality (and any surviving provisions in the License Agreement), will survive the expiration or
        termination of this Contract.

  44.   Entire Agreement. This Contract, including its Schedules, constitutes the sole and entire agreement
        of the parties to this Contract with respect to the subject matter contained herein, and supersedes all
        prior and contemporaneous understandings and agreements, both written and oral, with respect to
        such subject matter. In the event of any conflict between the terms of this Contract and those of the



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     Statement of Work or other Schedule, the following order of precedence governs: (a) first, this Contract;
     and (b) second, the Statement of Work or other Schedule. NO TERMS ON CONTRACTOR’S
     WEBSITE, BROWSE-WRAP, SHRINK-WRAP, CLICK-WRAP, CLICK-THROUGH OR OTHER NON-
     NEGOTIATED TERMS AND CONDITIONS PROVIDED WITH ANY OF THE SERVICES, EMS
     SOFTWARE, DELIVERABLES, OR DOCUMENTATION HEREUNDER WILL CONSTITUTE A PART
     OR AMENDMENT OF THIS CONTRACT OR IS BINDING ON THE STATE OR ANY AUTHORIZED
     USER FOR ANY PURPOSE. ALL SUCH OTHER TERMS AND CONDITIONS HAVE NO FORCE
     AND EFFECT AND ARE DEEMED REJECTED BY THE STATE AND THE AUTHORIZED USER,
     EVEN IF ACCESS TO OR USE OF SUCH SERVICE, EMS SOFTWARE, DELIVERABLE OR
     DOCUMENTATION REQUIRES AFFIRMATIVE ACCEPTANCE OF SUCH TERMS AND
     CONDITIONS.




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                       STATE OF MICHIGAN
                            Voting System Hardware, Firmware, Software and Service

                                             SCHEDULE A
                                         STATEMENT OF WORK
                                         CONTRACT ACTIVITIES
  This Contract is for voting systems approved for use in Michigan for the Michigan Department of State
  (MDOS) and includes hardware and firmware (tabulators and all related components, including those for
  use by voters with disabilities); related Election Management System (EMS) software provided to counties
  and select local jurisdictions; initial and extended service and maintenance; training and training
  documentation for county/local jurisdiction clerks and election staff and replacement
  components/consumables.
  This is a multiple-vendor contract award with vendor selection coordinated at the county level and will be
  a gradual rollout. The rollout is anticipated to begin in conjunction with the August 2017 election, with
  the anticipated statewide completion by the August 2018 primary election. These schedules will be
  coordinated at the county level. The accessible voting system component will be rolled out in conjunction
  with the new voting system. Ownership will be granted directly to the counties and local jurisdictions.
  Upon agreement with jurisdictions in a county, ownership may be granted to the county for jurisdictions
  within the county.

  A detailed list of the voting system components covered by this Contract, along with associated firmware
  and EMS software (including version numbers), is included in Exhibit 1 to Schedule A, Federal Voting
  System Testing / Certification Matrix.

  BACKGROUND

  In Scope:
  This Contract includes:
      •   Purchase of voting system tabulators and all related components (Election Day precincts: one
          tabulator per precinct; and Absent Voter Counting Board, based on a formula determined by the
          State.) In addition, one tabulator per county.
      •   Purchase of accessible voting system components, for use by voters with disabilities (one per
          Election Day polling location [with some exceptions]). In addition, one accessible device per
          county.
      •   Related Election Management System or ‘EMS’ software. Two EMS software options will be
          available at the county level:
              o   1) Full EMS (“Program Your Own”), for counties that fully program their elections
                  internally (without reliance on the voting system Contractor/subcontractor for
                  programming); and
              o   2) Accumulation-Only EMS, for counties that rely on the voting system
                  Contractor/subcontractor for programming; the accumulation-only functionality for these
                  counties includes the capability to burn media, read media, transmit results and produce
                  accumulation reports.
      •   Initial training and training documentation for county/local jurisdiction clerks and election staff.
      •   Voting System component / consumables costs (replacement or additional components not
          already covered in initial purchase).



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       •   Initial system/software service and maintenance (acquisition year + four years).
       •   Extended service and maintenance (after the expiration of the initial service and maintenance
           period, + 5 years). Note: in the absence of a State appropriation, local counties and jurisdictions
           will be solely responsible for the cost of extended service and maintenance.
       •   Preventative maintenance (every two years).
       •   NOTE: The Contractor shall provide the State with one full set of all system components at no
           charge (precinct tabulator; AVCB tabulator; accessible voting device; full EMS software
           (“Program Your Own” version); all related training and documentation).

  Anticipated Key Implementation Timeframes:
  Initial acquisition and implementation is expected to progress over the following anticipated planned
  phases:
       •   Early to Mid 2017: For counties / jurisdictions that plan to implement the new system’s first use in
           Michigan’s August 8, 2017 election;
       •   Mid-2017: For counties / jurisdictions that plan to implement the new system’s first use in
           Michigan’s November 7, 2017 election;
       •   Early 2018: For counties / jurisdictions that plan to implement the new system’s first use in
           Michigan’s May 8, 2018 election;
       •   Mid-2018: For counties / jurisdictions that plan to implement the new system’s first use in
           Michigan’s August 7, 2018 primary election.
       •   Statewide implementation is expected to be completed by August 2018.

  Detailed Specifications

  1.   Specifications

  Exhibit 2, Attachments 1.1 – 1.4 to Schedule A contain detailed technical specifications and requirements for
  Michigan’s next generation voting system.
  1.1 Voting System HARDWARE Technical Requirements

  Exhibit 2, Attachment 1.1 to Schedule A lists detailed voting system hardware technical specifications and
  requirements. This attachment is broken into several categories, including:
  A. Ballot Counter / Tabulator Requirements
  B. Ballot Requirements
  C. Memory Device Requirements
  D. Ballot Box Requirements
  E. COTS (Commercial Off the Shelf) Options
  F. Reliability Requirements
  G. Security Requirements

  Refer to Exhibit 2, Attachment 1.1 to Schedule A for additional details of these requirements.
  1.2 Voting System ELECTION MANAGEMENT SYSTEM (EMS) SOFTWARE Technical Requirements

  Exhibit 2, Attachment 1.2 to Schedule A lists detailed voting system Election Management System (EMS)
  software technical specifications and requirements. This attachment is broken into several categories, including:
  A. Election Management System (EMS) General Requirements
  B. EMS Programming Requirements
  C. Ballot Programming and Layout Requirements




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  D.   Election Night Reporting (ENR) Capabilities / Requirements
  E.   Reports Requirements
  F.   Audit Capabilities / Requirements
  G.   System / Software Ownership Requirements

  Refer to Exhibit 2, Attachment 1.2 to Schedule A for additional details of these requirements.
  1.3 Voting System ABSENTEE VOTING (AV) Technical Requirements

  Exhibit 2, Attachment 1.3 to Schedule A lists detailed voting system absentee voting (AV) technical
  specifications and requirements. This attachment is broken into the following categories:
  A. AV Processing General Requirements
  B. High Speed AVCB Tabulator Requirements

  Refer to Exhibit 2, Attachment 1.3 to Schedule A for additional details of these requirements.
  1.4 Voting System ACCESSIBLE VOTING SYSTEM COMPONENT Technical Requirements

  Exhibit 2, Attachment 1.4 to Schedule A lists detailed voting system Accessible Voting System Component
  technical specifications and requirements. This attachment is broken into several categories, including:
  A. Accessible Voting System General Requirements
  B. Accessible Voting System – Use of Touch Screen Interface Requirements
  C. Accessible Voting System – Use of Paper Ballots (Requirements related to 3 possible scenarios)
  D. Reliability Requirements

  Refer to Exhibit 2, Attachment 1.4 to Schedule A for additional details of these requirements
  1.5 State and Federal Testing / Certification Requirements

  A.   Federal Testing and Certification Requirements

  Contractor’s system shall have been tested and successfully completed all certification steps required by the U.S.
  Election Assistance Commission (EAC) before the system will be approved for implementation in Michigan.
  Documentation detailing the system to be implemented in Michigan is included in Exhibit 1 to Schedule A,
  Federal Voting System Testing / Certification Matrix.

  For systems still in the process of obtaining EAC certification, the Contractor shall provide a copy of the EAC
  certification prior to final State certification and prior to a Purchase Order being placed for the system in any county.
  If the Contractor’s system is not EAC certified by March 31, 2017, the State reserves the right to terminate this
  Contract and remove it from the program.

  Contractor authorizes the State of Michigan to independently verify the status of any system’s (or upgrades)
  Federal testing and certification status with the identified VSTL and the EAC, and authorize the identified VSTL and
  the EAC to provide information to the State of Michigan.

  NOTE: Also see Section 1.5 D – Modification Requirements (below), related to compliance requirements with
  future Federal standards.


  B. State Testing and Certification Requirements

  All voting systems approved for use in Michigan must complete the State voting system certification process, as
  required by Michigan Election Law. For systems that have not yet completed EAC certification, the State will
  coordinate the details and timeframes for completing final State certification and testing.

  In sum, this process is designed to ensure that that all voting systems approved for use in Michigan comply with all
  applicable requirements of Michigan Election Law, 1954 PA 116, MCL 168.1 et seq., and related Rules for
  Electronic Voting Systems, Mich Admin Code R 168.771 et seq.




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  C. State Uniform Data Format

  Contractor agrees and will comply with Michigan-specific uniform data format requirements and Federal IEEE
  Standards. Exhibit 6 to Schedule A, Michigan QVF Export File Format contains the State’s current uniform data
  structure for use with Contractor’s voting system EMS software.

  Federal IEEE Standards: Upon finalization of voting system uniform data format standards currently under
  development at the Federal level (commonly referred to as IEEE standards), Contractor shall work with the State to
  seamlessly convert the State uniform data structure to comply with and implement the IEEE uniform data format at
  an agreed-upon time.

  D. Modification Requirements

  In the event that any modifications become available and/or necessary after delivery due to changes in the
  applicable Federal and/or State certification standards and/or laws that occur during the Contract period, the
  Contractor and the State will jointly review and agree upon the scope of, and cost for, any modifications required by
  such subsequent changes in Federal and/or State certification requirements and/or law. As part of this
  determination process, the Contractor shall thoroughly review the impact of such changes and develop a scope of
  work and cost analysis for review and approval by the State before proceeding with any applicable modifications.

  System changes that are implemented through this process shall be accepted through the change notice process
  and included in the Contract as described in Section 4 in the Contract Terms.

  The Contractor shall provide written notice to the State Program Manager of any system modifications made on
  behalf of jurisdictions outside the State of Michigan. Such notice shall be provided no later than one month after the
  modification is made available.

  1.6 Service and Maintenance
  The Contractor shall maintain a physical presence in Michigan. The Contractor must include a proposed regional
  office structure and regional service and maintenance plan. This plan shall include the number and names of
  support personnel and geographic location/region assigned to each.

  If a subcontractor is to be used for service and maintenance, the subcontractor must be identified, along with any
  Key Personnel (see Section 3.3); as well as relevant experience the subcontractor has with relation to the service
  and maintenance of the system being proposed.

  In order to achieve the best possible level of service for Michigan customers, the Contractor will utilize two
  subcontractors. The two subcontracting companies, Grand Rapids-based ElectionSource and Governmental
  Business Systems (GBS), have an existing footprint in the State of Michigan, having provided services and support
  to a wide range of county customers for many years. The Contractor, together with ElectionSource and GBS, will
  work to ensure that the regional office structure, service and maintenance plan meets the needs of Michigan county
  customers.

  In order to ensure adequate service coverage, ElectionSource proposes to open up an additional office located in
  South-East Michigan, which will add at least four new positions including - but not limited to - experienced service
  technicians, an elections programmer, and customer services liaisons for counties in the region.

  Similarly, Governmental Business Services (GBS) Michigan-based personnel possess extensive experience in
  election supply/services in Michigan. Every GBS account manager's office will be equipped with back-up voting
  equipment, spare parts and any other ancillary supply items germane to the ImageCast product line. All GBS staff
  (based and/or assigned to Michigan) have been thoroughly trained on every aspect of the Democracy Suite system.
  A larger inventory of Dominion Voting products will also be maintained at GBS’ corporate office in Lisle, Illinois, a
  90-minute drive to the Michigan state line.

  The Contract includes initial, ongoing and extended service and maintenance to include all of the following:

  A.   Service and Maintenance

  The Contract shall cover an initial service and maintenance period on all Deliverables, System Software, and EMS
  Software (as those terms are defined under the Contract Terms) that shall be in effect throughout the acquisition




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  year + 4 years (the “Initial Service Period”), and shall be provided be at no additional cost. Extended service and
  maintenance on all Deliverables, System Software, and EMS Software shall cover the time period from the
  expiration of the Initial Service Period + 5 years (the “Extended Service Period”). Both the Initial Service Period
  and the Extended Service Period must cover all Deliverables, System Software and EMS Software, including any
  parts and labor. During the contract period, the Contractor shall repair or replace any Deliverable, System Software
  and/or EMS Software that becomes inoperable, is defective in material or workmanship, or otherwise fails to
  perform substantially in accordance with the Documentation and Contract requirements.

  Deliverables and System Software:

  During the term of the Contract, Contractor shall provide the following support and maintenance services (including
  unlimited telephonic support and all necessary travel and labor) to maintain the Deliverables and associated
  System Software in accordance with the Documentation and Contract requirements:

      1.   Upgrades to System Software. Make available to the State and any Authorized User no later than the first
           day of general release, or such other time as may be mutually agreed upon by the parties, copies of the
           System Software and documentation revised to reflect any enhancements (including New Versions and
           upgrades) to the System Software. Acceptance of system upgrades will proceed as outlined in Section
           1.5D, Modification Requirements.

      2.   Known Defects. Contractor shall promptly notify the State and any Authorized User of any defects or
           malfunctions in the Deliverable, associated System Software or Documentation of which it learns from any
           source, correct any such defects or malfunctions or provide a workaround until corrected within five (5)
           Business Days of knowledge of such defect or malfunction and provide the State or Authorized User with
           corrections of same, at no additional cost to the State or Authorized User. If the correction of known
           defects requires Federal or State certification, acceptance of the correction will proceed as outlined in
           Section 1.5D, Modification Requirements.

      3.   Coverage. See Section 1.6(C)(1) below.

      4.   Service Levels. Respond to problems with the Deliverable identified by the State or an Authorized User in
           no more than two (2) hours after notification. Resolve all problems as specified in Section 1.6(C)(2) below.
           For purposes of this section, “resolve” means that Contractor has provided all parts, components and
           services required to correct the defect and restore such Deliverable so that it functions as warranted, and
           the State or Authorized User has confirmed such correction and its acceptance of it in writing; or
           Contractor shall replace it, so that it functions as warranted, and the State or Authorized User has
           confirmed such replacement and its acceptance of it in writing. Services provided by Contractor to correct
           the defect shall be on-site, and Contractor shall be solely responsible for any shipping cost to return any
           Deliverable to Contractor.

  Contractor and its subcontractors address warranty, repair, and maintenance in a comprehensive and effective
  manner as characterized by the following:

      •    Engineering – Key components are designed with redundancy.
      •    Manufacture Quality – All components are manufactured using ISO 9001 practices.
      •    Design – The solution architecture is redundant (redundant servers, redundant storage, etc.)
      •    Warranty – We provide hardware and software warranty to meet customer specification.
      •    Preventative Maintenance – Contractor and its subcontractors provide preventative maintenance as
           required by the Contract and as presented in this section.
      •    Repair – Contractor maintains distributed warehouse of spare parts. Contractor maintains spare systems
           in depots as contingency replacements.
      •    Readiness – During the identified pre-election period, Contractor and its subcontractors will comply with
           all requirements for enhanced response time to all repair requests. All staff are available as required in the
           Contract. These technicians are well trained, experienced, and have spare systems available to them to
           ensure required timelines can be met.
      •    Tracking and Reporting – Contractor and its subcontractors utilize its Automated Ticket Tracking (ATT)
           system to manage repair and maintenance tickets. This is the same ticket tracking system that is used for
           problem escalation.




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  Since voting systems are unique in that they must be available and fully operational on every voting day, the
  Contractor and its subcontractors will offer only one level of service to all of its customers. This is the highest
  possible level of service. Every problem or issue will be addressed as high priority.

  The Contractor and its subcontractors use a CRM database to capture service calls so no issue is overlooked. The
  CRM system tracks service request from the initial point of contact to issue resolution. It provides us with a
  management control tool as well as a status/historical reporting capability. The CRM system will also be used to
  retain/reference repair orders, maintenance checklists and all other documents reflecting any work performed on
  any voting system component. Once a call/email is received, a work ticket is created and the initiating party will be
  contacted by a member of the service team.

  Initial contact will be established no more than two hours after notification. At that time, additional troubleshooting
  instructions may be provided to help the service team better respond to the failure or defect. If the defect or failure
  cannot be addressed in this manner, the service representative will make the appropriate arrangements for
  resolution. The diagram on the previous page summarizes this process.

  If a failed component is under warranty, Contractor’s subcontractors will schedule an onsite visit by a technician to
  repair / rectify the defective or failed component. Where a failed or defective component is not covered by
  warranty, the State or Authorized User may request an on-site visit to assess and repair the failed / defective
  component. Normal rates will apply.




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      5.   Remedies. If Contractor is unable to make the Deliverable conform, in all material respects, to the
           Contract requirements and Documentation within thirty (30) calendar days following written notification by
           the State or an Authorized User, Contractor shall, at the State’s or such Authorized User’s request, return
           all monies paid by the State or such Authorized User per the direction of the State Program Manager for
           the non-conforming Deliverable and Documentation and such other related Service(s) rendered unusable,
           including any prepaid maintenance fees associated with that Deliverable.

           Contractor will accept return of the Deliverable and refund to the State a pro rata portion of the purchase
           price paid to Contractor for the defective Deliverable, such refund based on a straight line depreciation
           over a ten (10) year term beginning on the date of purchase.

  EMS Software: During the term of the Contract, Contractor shall provide the following support and maintenance
  services (including unlimited telephonic support and all necessary travel and labor) to maintain the EMS Software in
  accordance with the Documentation and Contract requirements:

      1.   Maintenance Releases and New Versions. Contractor shall provide to the State and Authorized Users, at
           no additional charge, and no later than the first day of general release or such other time as may be
           mutually agreed upon by the parties, with all Maintenance Releases and New Versions (as those terms
           are defined in the Contract Terms) of the EMS Software. Acceptance of maintenance releases and new
           versions will proceed as outlined in Section 1.5D, Modification Requirements.

      2.   Known Defects. Promptly notify the State and all Authorized Users of any defects or malfunctions in the
           EMS Software or Documentation of which it learns from any source other than the State or an Authorized
           User and provide to all Authorized Users a correction of any such defects or malfunctions, or a work
           around until a correction is available, within five (5) days of Contractor’s knowledge of such defect or
           malfunction. If the correction of known defects requires Federal or State certification, acceptance of the
           correction will proceed as outlined in Section 1.5D, Modification Requirements.

      3.   Coverage. See Section 1.6(C)(1) below.

      4.   Service Levels. Respond to problems with the EMS Software identified by the State or an Authorized User
           in no more than two (2) hours after notification. Resolve all problems according to the following:

           •   Priority 1 (EMS Software inoperable) within one week.
           •   Priority 2 (certain processing interrupted or malfunctioning but EMS Software able to process) within
               two weeks.
           •   Priority 3 (minor intermittent malfunctioning, EMS Software able to process data) within 30 days.

           The level of severity (e.g., Priority 1, 2, or 3), shall be defined by the State or Authorized User. For
           purposes of this section, “resolve” means that Contractor has corrected the problem that prompted the
           support request so that the EMS Software functions as warranted, and that the State or Authorized User
           has confirmed such correction and its acceptance of it in writing; or Contractor shall reinstall the EMS
           Software, so that it functions as warranted, and the State or Authorized User has confirmed such
           reinstallation and its acceptance of it in writing.

           Should the EMS Software be found inoperable (following priority 1 standards) and cannot be repaired, a
           new installation of the EMS Software will be performed on-site and all testing of the software will be
           performed.

           When responding to priority 2 issues, the Contract and its subcontractors will ensure that on-site testing is
           performed on the computer system and EMS Software to determine the cause of the problem with the
           EMS Software. Contractor may provide assistance to perform programming for Authorized User in the
           event that they cannot use the software while testing is being performed.

           Similarly with priority 3 problems (minor intermittent malfunctioning, EMS Software able to process data),
           on-site testing will be performed on the system to determine the cause of the problem with the EMS




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            Software within 30 days. Contractor may also provide assistance to perform programming for Authorized
            Users in the event that they cannot use the software while testing is being performed.

             Service Requests will be completed for each Priority type. The Service Request will consist of the
             following information:

                •   Authorized User information
                •   Date the Service Request was submitted
                •   Reason for the Service Request
                •   Technician performing the service/repair
                •   Explanation of diagnosis and service performed
                •   Length of time service/repair was performed
                •   Date Service Request was completed
                       o Copies of Service Requests will be given to the Authorized User and to the State for record
                         keeping.

       5.   Remedies. If Contractor is unable to make the EMS Software conform, in all material respects, to the
            Contract requirements and Documentation within thirty (30) calendar days following written notification by
            the State or an Authorized User, Contractor shall, at the State’s or such Authorized User’s request, cancel
            the license to such EMS Software, accept return of such EMS Software and Documentation, if applicable,
            rendered unusable, and return all monies paid by the State or such Authorized User per the direction of
            the State Program Manager for the non-conforming EMS Software and Documentation and such other
            related Service(s) rendered unusable, including any prepaid maintenance fees associated with the EMS
            Software.

            Contractor will accept return of the EMS Software and refund to the State a pro rata portion of the license
            fee paid to Contractor for the EMS Software, such refund based on a straight line amortization over a ten
            (10) year term beginning on the date of purchase.


  B.   Preventative Maintenance (Tabulators/accessible voting system components only)
       • Biennial (every two years) preventative maintenance package
       • Preventative maintenance must consist of standard steps and checklists for each tabulator/accessible voting system
         component

  Service and maintenance also includes preventative maintenance (PM) for tabulators / accessible voting system
  components throughout the contract term. Preventative maintenance includes both remedial and preventative
  maintenance services, including all labor and parts except consumables such as printer cartridges, paper rolls, and backup
  batteries that can be accessed/changed by the local jurisdiction. NOTE: batteries associated with the system motherboard
  shall be covered by warranty.

  Refer to Schedule C-Pricing for pricing on all consumables, as well as information on how and when to obtain replacement
  consumables, and consumables that are available commercially off-the-shelf (COTS).

  Contractor and its subcontractors shall provide preventative maintenance on a biennial basis (every two years).
  Preventative maintenance schedules for individual counties shall be finalized with input and approval by the individual
  counties. See Section 1.6C(4) below.

  Preventative maintenance must consist of standard steps and checklists for each ImageCast precinct tabulator, ImageCast
  X accessible voting system component and ImageCast Central high speed AVCB tabulator. Refer to Exhibit 3 to
  Schedule A Preventative Maintenance Checklists. The State has final approval over all preventative maintenance
  checklists.

  Preventative maintenance for Contractor’s Democracy Suite is designed to minimize all maintenance, and is primarily
  focused on the mechanical components.

  The State of Michigan requires assurances from the Contractor that the purchased system has high availability, will be well
  maintained, and repaired promptly. The Contractor shall provide these assurances as follows:




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  The Contractor’s subcontractors will be responsible for repairing Voting System components and performing preventative
  maintenance during the warranty period. Warranty and repair parts shall be new. The Contractor’s subcontractors will track
  and retain documentation on maintenance and repair activities. The Contractor will coordinate all repair and maintenance
  actions with the State or Authorized User. The jurisdictions will be given written documentation to confirm completion of
  work performed and status of the Voting System.

  The Contractor provides standard costs for all consumables as well as information on how and when to obtain replacement
  consumables, and consumables that are available COTS. Refer to Schedule C – Pricing.

  C.   Technical Support Response Requirements
       • Help Desk Telephone Support
       • Equipment Repair/Replace
       • Reporting Requirements
       • Support Personnel

  NOTE: counties and local jurisdictions may contract and pay separately for Election Day Support, which will
  entail dedicated Election Day support resources and specific additional requirements beyond what is listed here.
  Counties and local jurisdictions will not be limited in the number of help desk calls.

       1.   Help Desk Telephone Support
            a. Toll-Free Number: 1-886-654-8683 (VOTE)

                 Contractors must provide a single toll-free number for Help Desk Support.

                 This toll-free number must allow callers to speak directly to live support representatives that are equipped to
                 handle Michigan customer service, technical support, and other needs identified in the Contract.

                 In addition, the Contractor and its subcontractors will also provide local ongoing technical support. Each
                 county, depending on the specifics of their contract agreement, will have the option of having an Election Day
                 support team in their county that they can contact directly.

            b.   Timeframe availability: Help Desk support is available during regular business hours (Mon-Fri, 8 am – 5 pm,
                 Michigan local time) and 6 am – midnight on Election Day. In addition, support personnel have company cell
                 phones for after-hours support.

            c.   Response time for calls: Response to calls is required within two hours of receipt of the call.

                 Contractor’s process for escalating and ensuring all Election Day support calls are handled and resolved as
                 expeditiously as possible, is as follows:

                 The Contractor and its subcontractors will use an automated ticket tracking system. The target resolution time
                 serves as a trigger point for escalation of the problem. The following table characterizes types, severity, and
                 response times for problems.

                                                                                       Subsequent             Target Resolution
               Phase               Initial Response     Estimation Response            Responses                    Time
        Election Day             Immediate             30 minutes                 30 minutes                 1 Hour
        Ballot
        Programming1             Immediate             1 Hour                     Every 2 hours              4 Hours
        Pre-Election   Period2   Immediate             4 hours                    Each Calendar Day          1 Business Day
        Non-Election Period      Immediate             Next Business Day          Each Business Day          As Agreed

                 1. The period beginning with the release of final geopolitical data for a given election, and ending with the
                    creation of the approved ballot images and election files.
                 2. The period beginning 60 days prior to a scheduled election and ending on certification of official results
                    reports.

            d.   For local jurisdictions contracting for Election Day support, an after-hours “emergency” toll-free number must
                 be available for on-call service and support.




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              Contractor’s toll-free number for support is 1-886-654-8683 (VOTE). The Contractor shall provide Election
              Day support from 6:00 am until all counties report in, with live call center to dispatch technician, if needed.


     2.   Equipment Repair/Replace
          a. Contractor must maintain a reasonable supply of certified manufacturer replacement parts and components
             at distributed warehouses necessary to repair malfunctioning equipment and return it to service as soon as
             possible. Contractor’s subcontractor, ElectionSource, for example, maintains spare systems in its Grand
             Rapids office and in depots as contingency replacements. Technicians must be equipped with all commonly
             required spare parts.
          b. Equipment repair shall occur on-site, unless there is a demonstrable need to ship the equipment off-site for
             service, repair, or replacement. (See paragraph e. below.)
          c. Equipment shall be repaired or replaced within ten business days. On Election Day, equipment shall be
             repaired or replaced as soon as possible that day. Contractor shall have a process for escalating and
             ensuring all Election Day equipment problems are handled and repaired/replaced as expeditiously as
             possible. Prior to Election Day, repaired/replaced equipment shall be available to allow for adequate time for
             pre-election testing and successful use on Election Day.
          d. In the event of inoperability on Election Day, the Contractor and its subcontractors will have technicians
             strategically placed throughout the state in order to be no more than one hour away from trouble calls on
             Election Day. Technicians will have parts and loaner equipment available at no cost to the local jurisdictions.
          e. If a demonstrable need exists to ship equipment for service, repair, or replacement, the Contractor shall pay
             the full cost of shipping and all related expenses, including packing materials.

     3.   Reporting Requirements
          a. Contractor shall promptly provide the counties and local jurisdictions with written information on any
             tabulator/accessible voting system hardware, firmware and/or EMS software problems that are encountered
             wherever the equipment is in use (inside or outside of Michigan), along with written instructions explaining the
             solution to those problems. Copies of these communications shall also be provided to the State’s Contract
             Administrator and Program Manager at the time of issuance to the counties and local jurisdictions. The
             State’s Contract Administrator and Program Manager shall also receive prompt written notice whenever a
             problem exists that may affect multiple jurisdictions.
          b. Contractor shall provide written reports on a monthly basis (or on a regular timeframe mutually agreed upon
             between the State and the Contractor) that summarize all service and maintenance work completed during
             the reporting period; all service and maintenance work scheduled for the upcoming reporting period; and any
             unresolved problems or other issues that may affect multiple jurisdictions. These reports shall be submitted
             via email to the State’s Program Manager.
          c. Contractor shall promptly notify the State’s Contract Administrator and Program Manager in writing of any
             material errors or defects in the tabulator/accessible voting system hardware, firmware, software and/or EMS
             software deliverables known, or made known to Contractor from any source (inside or outside of Michigan)
             during the Contract term that could cause the production of incomplete, inaccurate, or otherwise materially
             incorrect, results. Contractor shall immediately initiate actions as may be commercially necessary or proper
             to effect corrections of any such errors or defects.

     4. Support Personnel
     The Contractor shall provide well-trained and knowledgeable election service technicians for all activities that are the
     Contractor’s responsibility. The Contractor must maintain election service technicians in various areas of the state to
     meet the counties’ and local jurisdictions’ service and maintenance needs and to conform with response time
     requirements. Counties and local jurisdictions have the right of approval for any support personnel provided at the
     county/local level.

     The Contractor and its subcontractors will provide qualified technicians and a range of necessary parts on-site to
     enable immediate repairs to commonly identified problems. Technicians are factory trained and can handle most
     repairs on-site. However, the sophisticated nature of the ImageCast system may require that some systems are
     repaired in Contractor’s depot facility. In this event, a spare will be provided if needed to meet an election deadline.
     Technicians will have cell phones and company vehicles.

     For preventative maintenance visits and when service and maintenance needs require an in-person visit by an
     election service technician, Contractor staff must work with counties and local jurisdictions to establish mutually
     agreeable timeframes and locations for repairs and preventative maintenance services. The Contractor must
     develop a proposed preventative maintenance schedule for review and approval by the counties and local




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      jurisdictions; counties/local jurisdictions are not responsible for developing this schedule. It will be up to the counties
      and/or local jurisdiction to select on-site vs. centralized locations for preventative maintenance.

      While on-site, election service technicians must establish contact with the designated jurisdiction representative upon
      arrival and before leaving. Contractor staff must provide jurisdiction staff with a copy of the completed Preventative
      Maintenance Checklist, a written status report upon completion of support/maintenance work, indicating the work that
      was completed, any outstanding issues and the plan for resolving those issues.

      All service technicians shall:
      a. Be well trained, professional, knowledgeable and experienced in the maintenance and repair of tabulators,
           accessible voting components, firmware and EMS software; and capable of replacing malfunctioning equipment in
           county/local jurisdiction offices, storage facilities and/or the polling place.
      b. Have reliable dedicated transportation of sufficient size to accommodate the transport of voting equipment as
           needed.
      c. Maintain a reasonable supply of certified manufacturer replacement parts and components necessary to repair
           malfunctioning equipment and return it to service.
      d. Have cellular telephones or other means of real-time communication, and must provide this information to the
           designated jurisdiction representatives.
  1.7 Product Recall Requirements and Procedures
  Any issues with the voting system will always be immediately addressed by working directly with the Bureau of Elections
  and the State. In the case of a recall, Contractor’s response plan starts with defining a plan that is acceptable to all parties,
  performing the recall, and repeating acceptance testing.

  Contractor’s procedures related to product recall, covering how and when it is determined that a product recall is needed,
  how information on product recalls is communicated to customers and how product recalls are tested, scheduled, deployed
  and completed are described as follows:.

  Firstly, to communicate and formulate a product recall plan:
       1. Notify Contractor’s communications assigned contact with the State by telephone without delay to discuss the
             recall situation, and begin to create the recall plan which would cover scheduling, retesting, and redeployment
       2. Provide the State with a Product Advisory Notice document so the information is in writing
       3. Notify the counties by telephone and then in writing
       4. Notify remaining jurisdictions by telephone and then in writing
       5. Finalize recall plan

  Finally, execute the agreed recall plan with the State, which could follow the following suggested steps:
      1. Provide release notes and test results to the State
      2. Repeat certification testing
      3. If the recall is on physical units:
                a. Return units that are being recalled to the repair facility
                b. Update the units at repair facility
                c. Return units to customer sites
                d. Perform acceptance testing
      4. If the recall is on software:
                a. Distribute the software to customer sites
                b. Reinstall the software
                c. Perform acceptance testing

  1.8 Quality Assurance Program
  Contractor must have Quality Assurance programs in place for the voting system, accessible voting system components
  and related EMS software products, covering ongoing programs that test, validate and upgrade hardware, firmware,
  software and other key components.

  Contractor uses multi-level quality assurance and quality control processes to ensure that all elements of its integrated
  voting system perform properly with every use. Contractor uses a top tier contract manufacturer, based in the United
  States, and recognized as a leader in the industry for manufacturing. Internal acceptance testing is performed on each
  voting system on receipt from the manufacturer. By the time its products are purchased by the State or Authorized End
  User, they have gone through three full rounds of acceptance testing. Independent reviews of election databases are




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  conducted prior to Logic & Accuracy testing. Contractor recommends (and supports their customers to conduct) precinct-
  level pre-election testing.

  In addition to this rigorous testing and control program designed to catch errors, Contractor regularly conducts process
  audits of our acceptance testing, and programming processes to ensure that errors never occur.



    Testing Phase Summary

                     EAC Certification
                               State Requirements Testing
                                        State Certification Testing
                                                  Acceptance
                                                  Testing
                                                             End-to-End test
                                                                      Pre-LAT
                                                                                                 Pre-election Test
        Development and Federal Verification
        State Verification
        Election Preparation
  Contractor tests its equipment to the highest standards in the industry. Contractor’s test plan is multi-layered, and designed
  to complement County tests. Key attributes of the test plan are as follows:
       1. EAC Certification – Contractor’s products are certified as EAC compliant. This is the highest certification standard
          in the industry and is your assurance that all products have undergone the highest level of testing.
       2. State Requirements Testing – Contractor’s Engineers work to configure the EAC certified platform to meet
          Michigan’s specific certification requirements.
       3. State Certification Testing – Contractor’s team works with the State board to demonstrate compliance of the
          system with state requirements.
       4. Acceptance Testing – Each component of the system is tested for functionality on site at the customer warehouse.
          Contractor’s subcontractor will provide training and documentation to county officials to assist them in undertaking
          this task.
       5. End-to-End test – Contractor and its subcontractors will work with the county to conduct end-to-end testing.
          Contractor recommends that this test is completed following EMS training on a project reflecting Election Day
          requirements. In this test, an election project is created, and a representative sample of tabulators is programmed.
          Test ballots with known results are prepared and cast. Results are uploaded into the election management system
          and reports generated. The results are then compared to the expected outcomes to verify the system is performing
          properly. This test is performed on site at the customer warehouse.
       6. Pre-Election Logic & Accuracy Testing – In advance of all elections Dominion Voting recommends that Logic &
          Accuracy Testing of each voting system is tested with final Election Day ballots. This complete end-to-end test
          provides certainty that the system will perform as planned on Election Day. This test is performed on site at the
          customer warehouse.
       7. Pre-election test – Contractor advocates the use of a pre-election system readiness test. Prior to the beginning of
          voting, following the distribution of election systems to the precincts, customers have the option to run a small,
          mock-election. This test familiarizes poll staff in election night procedures, and provides additional assurance that
          all elements of the system are functioning properly after transport.
       8. Automated Test Deck Creation – The creation of automated, comprehensive test decks is an optional service
          provided by Contractor to assist customers in conducting Logic & Accuracy testing. Using the Election Day
          database a series of pre-marked ballots are generated based on a computer algorithm designed to provide the
          highest assurance of system accuracy. When scanned these decks create known outcomes that can be compared
          with tabulated results. The elimination of error due to mistakes in hand-marking provides a higher degree of
          confidence in test results.




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  Available system upgrades shall be communicated and offered through the life of this Contract as described in Section 1.5
  D (State Certification Process, Modification Requirements).
  1.9 Incentives
  Contractor offers a trade-in allowance incentive program for legacy tabulators and ballot marking devices, whereby the
  Contractor would take possession and ownership of existing voting systems, to assist counties and local jurisdictions in
  disposing of voting systems currently in place in the State of Michigan. Refer to Schedule C, Pricing for trade-in discount
  program available under this Contract.
  2. Service Levels
  2.1 Time Frames – Order Placement and Processing
  Refer to the Background and Purpose section (under KeyTimeframes), for detail on the planned multiple purchasing
  phases.

  After Contract execution, a vendor selection process will occur at the County level. Counties, in consultation with their local
  jurisdictions, will select a single system for the county. MCL 168.771a. Counties will also work with their local jurisdictions
  to determine a local funding plan (if necessary) and select a purchase phase for each jurisdiction.

  Given the State’s proposed implementation approach and timeframes, Contractor has provided details on the planned
  timeframes for delivery, testing and training for each purchase phase.

  The State of Michigan requires a comprehensive implementation that is based on well-established principles of project
  management. The structure of the plan includes key milestones, which allow Michigan to see tangible progress.

  Procurement and Delivery
  Initiation of the procurement and delivery phase begins immediately on receipt of a signed purchase order from the State
  (POs will be issued for each county.

  Contractor maintains a moderate inventory of all components, consumables, and parts that are available for immediate
  delivery. Through a network of suppliers, Contractor is able to procure supplies and consumables within 15-30 days to
  replenish inventory. When hardware orders are received, production is increased accordingly.

  During the procurement phase of the project, all of the commercial off the shelf components used in Contractor’s election
  system are purchased.

  Hardware Manufacturing – Tabulators provided to counties in Michigan will be newly manufactured by Flextronics in their
  Plano, Texas manufacturing facility. Approximately ninety (90) days is required to procure all necessary components and
  complete manufacturing of the first tabulator, with the final system ready for delivery to the client approximately 14 days
  later. At this time purchase orders for ancillary equipment (i.e., buttons, additional compact flash cards, etc.) and any
  election consumables are generated.

  Responsibility – County

  Documentation
  Finalize user documentation – All Dominion products are supplied with comprehensive technical documentation used by
  local election officials in the process of certifying and accepting voting systems. In addition, user documentation, forms and
  quick reference guides will be provided to reflect the specific needs of Michigan users.

  Responsibility – County

  Acceptance Testing of Election Equipment
  County officials must formally accept all tabulators. To ensure complete functionality at the time of delivery, Dominion
  Voting follows a rigorous acceptance testing process.

  County Acceptance – Counties are responsible for system acceptance testing. However, Dominion subcontractors will
  provide support to individual counties for acceptance testing. Acceptance testing involves:

  Tabulator Acceptance Testing:
     1.   Physical inspection of tabulator
     2.   Functional testing using provided test materials, including the State-provided Acceptance Checklist

  EMS Acceptance Testing:
    1.   Utilization of the EMS system to restore or create a simple election project



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     2.     Creation of sample election files and ballots for the tabulator
     3.     Record sample ballot audio
     4.     Directly load sample results from tabulator memory cards
     5.     Create Election Results Reports

  County representatives will verify that the acceptance test has been successful, and complete a Receipt/Acceptance form
  to be submitted to the State.

  Acceptance testing is an essential part of the quality assurance process. Dominion’s goal is that all election equipment
  arrives at the client warehouse in perfect condition, however it is normal to see a small number of tabulators that fail initial
  acceptance. Where the equipment in question can easily be repaired, the on-site Dominion subcontractor hardware
  technician will address these deficiencies immediately. When this is not possible, the equipment in question will be
  returned to our central depot and replaced.

  Responsibility – County, Subcontractor

  System Training
  EMS Training – Dominion and its subcontractors will provide on-site training to County officials in the use of the election
  management system.
  Responsibility – Dominion, Subcontractor

  Tabulator and Accessible Voting System Training – Dominion and its subcontractors will provide on-site training to
  County officials in the use of the tabulator(s) and the accessible voting devices.
  Responsibility – Dominion, Subcontractor

  Refer to Section 9.9 Project Plan for further details. Also refer to Section 2.2 (Delivery), Section 2.6 (Training) and
  Section 5 (Ordering) for additional details.
  2.2 Delivery
  Contractor shall develop a county-by-county implementation plan for delivering and conducting acceptance testing in each
  county/jurisdiction prior to each purchasing phase. Delivery plans, timeframes and locations must be mutually agreed upon
  between the Contractor and the County.

  Voting systems, accessible voting system components, related EMS software and all related components
  must be delivered and acceptance testing completed no later than 90 calendar days prior to the system’s
  first use. Acceptance testing will consist of accuracy tests as prescribed under the Electronic Voting System
  Promulgated Rules, Mich Admin Code R 168.771 et seq. and State standard test deck processes, for both
  primary and general elections.
  2.3 RESERVED

  2.4 RESERVED

  2.5 RESERVED

  2.6 Training
  Training Plan Overview

  The State of Michigan requires a robust state-of-the-art training approach to fully internalize the new voting system solution
  into the voting operations of the state. All levels of staff - from poll workers to highly technical IT personnel - need to not
  only understand the new technology, but also how it integrates with the procedures and practices of Michigan elections.

  Contractor and its subcontractors also understand that some election jurisdictions may have additional or special needs.
  For instance, a large County with a full time IT department will have different training requirements than a small County
  where there may not be a full time Elections Director. Given the unique circumstances of each Michigan county customer,
  Dominion and its subcontractors will work closely with each jurisdiction to ensure that the training program is customized to
  meet the County’s specific needs.

  Training is the primary tool for organizational change integration. The voting system solution will require election workers to
  learn a new suite of hardware, software, and procedures. Our suite of training materials (documents, presentation, guides,




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  reference cards, web resources, and self-paced learning) all contribute to integrating the new solution into the day-to-day
  routine of the organization.

      A.   Training Documentation - within 30 calendar days after Contract execution, the Contractor shall provide 10 copies
           of user manuals and step-by-step procedures for using the voting system and all components, accessible voting
           system components and EMS software to the State Program Manager or designee. Contractor and its
           subcontractors prepare all needed training material, which includes training manuals, training videos, quick
           reference guides, website instructional courses, and technical reference manuals when necessary. This material
           shall be provided both in paper and electronic (e.g., pdf) form. Delivery of equipment and software to the
           Counties and local jurisdictions must include at least one complete set of training documentation (both electronic
           (e.g. pdf) and paper form) for each County and local jurisdiction. Contractor and its subcontractors understand
           that training must support the local county election process. Contractor works in conjunction with county election
           staff to define training for each county so it will fit into the county's normal election process.

      B.   Electronic Training Modules – Within 30 calendar days after Contract execution, the Contractor shall provide an
           electronic training course (e.g., video, web-based, etc.) that can be viewed, downloaded, and published online by
           the State, county and local election officials, covering end-to-end operation of the system; step-by-step
           procedures covering equipment set up, processing and close-down procedures; and other relevant information
           related to the use of the voting system and its components, and accessible voting system components. The
           electronic training module must be no longer than 30 minutes in length and be suitable for use as part of a training
           program for election inspectors (Election Day precinct workers). The electronic training modules must be provided
           in a format that allows the State to utilize the content (in whole or in part) in State-specific online training courses.

           The Contractor offers flexibility to deliver training in multiple formats that gives the State or Authorized End User a
           choice of many different delivery methods for training. One aspect of the customization is utilizing different formats
           when creating training, including instructor-led classes in person, instructor-led classes online, and self-paced
           online eLearning.

           Often, election preparation schedules prevent the delivery of training at the optimal time for retention on Election
           Day. This can be particularly apparent in small counties, where a very limited team is responsible for all election
           related activities. In these situations the use of in person, instructor-led hands-on training, complemented with
           self-paced online eLearning courses not only allows the benefit of practical hands-on equipment experience to
           users (and their supervisors) but also provides the opportunity to refresh knowledge immediately prior to the
           election. Similarly, the Contractor has made extensive use of video training for locations where eLearning was not
           felt to be practical.

           Self-Paced e-learning –Contractor offers a complete library of self-paced e-learning courses which includes both
           hardware and software training. These courses are designed to deliver training in a unique format while still
           keeping the student engaged and active.

           Contractor’s online training courses provide step-by-step explanations of the needed information. Contractor uses
           eLearning tools such as Captivate and Articulate to create interactive and engaging training. At the end of a
           course, a student is required to pass an assessment in order to receive a certificate of completion.




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     C.   In-Person Training – Contractor’s plan for training State staff and local election officials (including but not limited to
          county and local clerks) on the operation and use of the new voting system, accessible voting system components
          and EMS software, includes, but will not be limited to the following:
          a. Use of the EMS to set up an election and design and layout ballots
          b. Programming of tabulators and related component(s)
          c. Programming of accessible voting system component(s)
          d. Programming and use of tabulators and related component(s) used in AVCBs
          e. Preparation of tabulators and accessible voting system components, including setup and pre-election testing
          f. Election day operations from the opening to the closing of the polls
          g. Processing of voters and absentee ballots
          h. Processing write-in votes
          i. Adjudicating ballots that may require manual review
          j. Troubleshooting – identifying and resolving basic problems (issues that do not require a service call)
          k. Security, including safeguards to prevent and detect tampering
          l. Tabulation of results
          m. Electronic transmission of election results
          n. Printing standard reports
          o. Customizing reports
          p. Checks and balances – methods for ensuring the accuracy of precinct results
          q. Full understanding of audit procedures




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        r.   Any special requirements related to conducting a recount using the tabulator
        s.   Records preservation
        t.   How and when to place service calls
        u.   Any other pertinent processing steps as recommended by the Contractor

        Through each stage of the implementation process, Contractor and its subcontractors’ support staff assigned to
        the implementation project will provide hands-on training to election staff for the operation of the election
        management system.

        State Staff and Local Election Officials Training
        Contractor and its subcontractors will provide in-depth and hands-on training to elections staff personnel in all
        functional areas of the voting system(s) implementation. Dominion and its subcontractors will work with the State
        and local elections staff to determine which key staff members need specialized training. It is recommended that
        all department personnel receive training on how to operate the Democracy Suite system so that they will
        understand the implementation and can answer questions from the general public.

        With regards to specific functional areas, it is recommended to limit the training to those departmental personnel
        with responsibilities specific to those functional areas. Cross training can be performed at a later date.

        Poll Worker Training
        Contractor and its subcontractors recommend that each jurisdiction divide the poll worker training program into
        classes with as few poll workers as is feasible given the available trainers, training facilities, and the limited time
        on the election calendar. Past implementations have proven that it is very important for all poll workers to have a
        chance to operate the machines “hands-on” in class, or at least participate in a small group and review. This
        allows poll workers to operate equipment while others observe and ask questions.

        Contractor and its subcontractors will assist each jurisdiction in integrating the new voting system training into its
        current poll worker-training program’s content and format, as well as in the development of training materials, and
        providing “train the trainers” courses.

        Such a change in voting systems requires a change in polling place forms and procedures and as such, Dominion
        and its subcontractors will provide sample forms from previous implementations and will assist in redesigning
        forms and procedures accordingly.

        The goal is to assist in training poll workers to comfortably, confidently operate voting machines and readily
        provide voters with simple instructions and assistance in voting on them.

        Curriculum
        Contractor’s standard course offerings include the full range of the Democracy Suite classes. Training agendas
        and curriculum particular to the resources, staff and needs of each jurisdiction will be developed as part of the
        implementation meetings.

        Precinct Tabulator and Accessible Voting Systems Training
        This course provides an introduction to the Contractor’s ImageCast Precinct tabulator and the ImageCast X used
        for accessible voting. Topics include:

              •   Setup of the equipment
              •   Security, including safeguards to prevent and detect tampering
              •   Opening polls
              •   Processing ballots
              •   Processing write-in votes
              •   Accessible voting
              •   Closing polls
              •   Electronic transmission of election results
              •   Acceptance testing
              •   Troubleshooting - identifying and resolving basic problems (issues that do not require a service call)
              •   Performing Logic & Accuracy testing

        Absentee Voter Counting Board Systems Training




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           This course provides an introduction to the ImageCast Central. Topics include:

                •    Setup of the equipment
                •    Security, including safeguards to prevent and detect tampering
                •    Opening polls
                •    Processing ballots
                •    Adjudicating ballots that may require manual review
                •    Processing write-in votes
                •    Closing polls
                •    Acceptance testing
                •    Troubleshooting - identifying and resolving basic problems (issues that do not require a service call)
                •    Performing L&A

            Democracy Suite EMS Training:
            This course introduces election programming concepts in EMS. Topics include:
                •    System security
                •    Creating and editing geo-political data (if applicable)
                •    Creating and editing offices and contests (if applicable)
                •    Adding choices (if applicable)
                •    Creating and editing ballot layout (if applicable)
                •    Programming tabulators (if applicable)
                •    Creating Audio Files for accessible voting (if applicable)
                •    Records preservation
                •    Creating Memory Cards
                •    Tabulating Results
                •    Election Night Reporting (Results Tally & Reporting, including customizing and printing reports)
                •    Checks and balances – methods for ensuring the accuracy of precinct results
                •    Full understanding of audit procedures
                •    Any special requirements related to conducting a recount using the tabulator

     D.    Refer to Contractor’s course descriptions in the training plan below for details related to the conduct of in-person
           training, including the length of the training session; proposed structure for the sessions (e.g., multiple day
           training; separate courses covering specific topics, such as EMS-only training; number of contractor staff hours
           per session; recommended number of participants per session; and use of alternative training formats, such as
           train-the-trainer).

           Contractor’s standard course offerings include the full range of the Democracy Suite classes. As noted above,
           training agendas and curriculum particular to the resources, staff and needs of each jurisdiction will be developed
           as part of the implementation meetings.

           The following is the Contractor’s class listings with the recommended target audience, number of hours or days
           for the training, and the recommended number of participants per session. Train-the-trainer courses are
           recommended for larger counties, and include additional topics such as training techniques and presentation
           skills.

           Precinct Tabulator and Accessible Voting Systems Training


                                                                                        Number of          Max Number
                Training Class                       Target Audience
                                                                                       Days/ Hours         of Students

            Precinct Tabulator and         Election Administrators, Clerks, Poll                           25 students
                                                                                       3 Days / 24
          Accessible Voting Systems          Workers’ Trainers, Poll workers,                               with two
                                                                                          hours
                   Training                     Election Day Technicians                                     trainers

               Train the Trainer                                                                           15 students
                                              Poll Workers’ Trainers, Clerks,          3 Days / 24
           (recommended for larger                                                                          with two
                                                  Election Administrators                 hours
                   counties)                                                                                 trainers




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                                                                                                            25 students
             Poll Worker Training                 Poll Workers, Election               1 Day / two 4-
                                                                                                             with one
                   (optional)                         Administrators                   hour sessions
                                                                                                              trainer


           Absentee Voter Counting Board Systems Training


                                                                                         Number of          Max Number
                 Training Class                       Target Audience
                                                                                        Days/ Hours         of Students

                                                                                                             8 students
           Absentee Voter Counting
                                               Election Administrators, Clerks        1 Day / 8 hours         with one
           Board Systems Training
                                                                                                               trainer



           Democracy Suite Election Management System


                                                                                         Number of          Max Number
                 Training Class                       Target Audience
                                                                                        Days/ Hours         of Students

             Democracy Suite EMS
                                                                                                              8 students
          Training – including Election
                                               Election Administrators, Clerks        5 Days / 40 hours        with one
          Event Designer and Results
                                                                                                                trainer
                Tally & Reporting

                                                                                                              8 students
           Results Tally & Reporting
                                               Election Administrators, Clerks         1 Day / 8 hours         with one
              training (optional)
                                                                                                                trainer

                                                                                                             10 students
           Results Transfer Manager
                                               Election Administrators, Clerks         1 Day / 8 hours        with one
              training (optional)
                                                                                                               trainer

                                                                                                              8 students
          ImageCast Communications
                                               Election Administrators, Clerks        3 Days / 24 hours        with one
           Manager training (optional)
                                                                                                                trainer


     E.    Counties shall have final approval of their individual Contractor-conducted training plans, including the number of
           sessions, locations and participants per session.

           Contractor and its subcontractors’ staff will work closely with the counties to determine the best location(s) to
           accommodate all attendees. Training can be held at a County office location, local school, and/or town hall. The
           location of training will be determined by a series of factors such as the number of attendees, proper resources
           available to conduct the training effectively, and the County’s personal preference.

           In addition to onsite County training, Contractor and its subcontractors will offer training in its Grand Rapids and
           planned South-East Michigan office locations. These centers provide a classroom setting where qualified
           instructors reinforce classroom training with hands-on lab exercises conducted on operating equipment and
           software.

     F.    The Contractor shall assist county and local election officials (if requested) in conducting comprehensive training
           for election inspectors (Election Day precinct workers) prior to the primary and general elections in the first year of
           use.




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           As each jurisdiction’s implementation may comprise the full 2017 or 2018 election cycles, Contractor and its
           subcontractors’ support staff will continue to be dedicated to the counties and jurisdictions in the provision of
           training and hands-on application for each election through 2017 or 2018 as applicable. Election personnel will be
           provided repetitive practice and experience in practical application over election cycles, building confidence in the
           system and their abilities.

  2.7 RESERVED

  2.8 Meetings, Project Updates and Reports
  The Contractor’s State Project Manager and other identified Key Personnel must attend the following meetings:
       •    Initial contract kick-off meeting within 10 business days of Contract execution.
       •    Weekly update meetings after the initial kick-off meeting through the completion of the first planned
            implementation phase. Decisions on whether these updates take place via phone vs. in person meetings shall be
            at the discretion of the State.
       •    Monthly update meetings after the completion of the first implementation phase, through the life of the contract.
            Decisions on whether these updates take place via phone vs. in person meetings shall be at the discretion of the
            State.
       •    Written weekly updates, after the initial kick-off meeting through the completion of the first planned implementation
            phase. Written weekly updates will summarize work completed during the reporting period; planned work for the
            upcoming reporting period; issues affecting the timely and/or successful completion of planned milestones, along
            with the effect on planned timelines and resolution plan for each issue.
       •    Written monthly updates, after the completion of the first implementation phase, through the life of the contract.
            Written monthly updates will summarize work completed during the reporting period; planned work for the
            upcoming reporting period; issues affecting the timely and/or successful completion of planned milestones, along
            with the effect on planned timelines and resolution plan for each issue.
       •    Written updates after each Election Day, which identify and categorize service calls, equipment failures and
            resolution for all issues identified 14 calendar days prior to each election (up to and including Election Day), for
            each election in which the Contractor’s voting system is used. These updates must be provided within 14
            calendar days after each election.
       •    Annual reports prior to billing - during the extended service/maintenance period, a listing of all counties and
            jurisdictions and associated annual charges shall be provided to the State Program Manager at least 30 calendar
            days prior to the annual billing cycle.
  The State may require other meetings and reports as it deems appropriate.
  3. Staffing
  3.1 Contractor Representatives
  The Contractor shall appoint a State Project Manager, specifically assigned to State of Michigan accounts, that will
  respond to State inquiries regarding the Contract Activities, answering questions related to ordering and delivery, ongoing
  service and maintenance, warranties, Election Day support, and other key requirements covered by the Contract (the
  “Contractor Representative”). The State Project Manager shall maintain a presence in the State of Michigan.

  State Project Manager
  Gio Costantiello
  State Project and Contract Manager
  Phone: (416) 762-8683 x241, Mobile: (416) 580-0084
  Email: gio.costantiello@dominionvoting.com

  The Contractor shall also appoint a designated State Customer Service Manager, who will maintain a presence in the
  State of Michigan and shall work with and support counties and local jurisdictions on an ongoing basis through the life of
  the Contract.

  State Customer Service Manager
  Nicole Nollette
  Executive Vice President, Operations
  Phone: 866-654-8683 x9223
  Mobile: 702-786-7131
  Email: nicole.nollette@dominionvoting.com

  The Contractor shall provide written notice to the Contract Administrator at least 30 calendar days before removing or
  assigning a new Contractor Representative.
  3.2 Customer Service Toll-Free Number




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  In addition to the requirements listed in Section 1.6 (Service and Maintenance), the Contractor shall provide a Customer
  Service toll-free number for the State, counties and local jurisdictions to make contact with the Customer Service Support
  personnel. See other support requirements lists in Section 1.6.

  In addition to the requirements listed in Section 1.6 (Service and Maintenance), the Contractor must specify its Technical
  Support toll-free number for the State, counties and local jurisdictions to make contact with the Contractor for technical
  support, repairs and maintenance. The Contractor must be available for calls and service during the hours of 8 am to 5
  pm local time. These availability hours must be expanded during key Election Day support timeframes as identified in
  Section 1.6.

  NOTE: A single toll-free number will be used for both overall Customer Service, Help Desk Support and Technical
  Support.

  Customer Service, Help Desk Support and Technical Support
  Toll-Free Number: 1-886-654-8683 (VOTE)

  3.3 Disclosure of Subcontractors
  The Contractor intends to utilize the following subcontractors to fulfill the requirements of this Contract. The Contractor
  must provide prior written notice of all of the following:
  The legal business name; address; telephone number; a description of subcontractor’s organization and the services it will
  provide; names and titles of all subcontractor staff that will be assigned to the Michigan contract, along with each
  individual’s role and responsibilities; and information concerning subcontractor’s ability to provide the Contract Activities.
  The relationship of the subcontractor to the Contractor.
  Whether the Contractor has a previous working experience with the subcontractor. If yes, provide the details of that
  previous relationship.
  A complete description of the Contract Activities that will be performed or provided by the subcontractor.
  A complete description of the subcontractor’s prior experience that illustrates the subcontractor’s relevant qualifications for
  completing the planned work they will be assigned under this Contract.
  Any planned change to subcontractor staff must be communicated to the State Contract Administrator and Program
  manager at least 30 calendar days prior to the planned change. The State has the right of approval for any subcontractors
  provided.
  Of the total Contract value, the price of the subcontractor’s work.

  ElectionSource
    Legal Business Name                           Miller Consultations & Elections, Inc. DBA -ElectionSource
    Address and telephone number                  4615 Danvers Dr. SE
                                                  Grand Rapids, MI 49512
                                                  phone: 616.464.2283, 888.742.8037
                                                  fax: 616.464.0926
                                                  www.electionsource.com
    Organization description                      ElectionSource is a leader in the election industry, providing turnkey
                                                  election services, support and products. Our experienced staff has
                                                  over 100 years of combined experience working on elections with
                                                  governments, unions, homeowners associations and fraternal
                                                  organizations all across the nation.
    Working experience with Contractor            ElectionSource and Contractor have been providing the best in
                                                  innovation, integration, and accessibility, while providing simplicity of
                                                  use and the transparency to meet customer’s election needs for over
                                                  16 years.
    Contract activities’ description              Preventative maintenance, EMS support services, poll worker training,
                                                  staff training, project management reporting, product installation, and
                                                  acceptance testing. EMS and tabulator support.
    A complete description of the                 ElectionSource currently employs 15 full time people and another 5 part
    subcontractor’s prior experience that         time people that have a combined total of over 150 years’ experience in
    illustrates the subcontractor’s relevant      elections. During peak election times, ElectionSource employs up to 30
    qualifications for completing the planned     people in the State of Michigan. Many of these employees will provide
    work they will be assigned under this         service and support to this Contract. Several people will play a key role
    Contract.                                     in each jurisdiction. Refer below to the ElectionSouce staff members
                                                  assigned to the Michigan contract, their roles, and responsibilities.




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   Names and titles of all subcontractor staff
   that will be assigned to this Contract,       Jeff DeLongchamp – President
   along with each individual contract, along    Oversee all staff to ensure deadlines and tasks are met. Provide
   with each individual’s role and               additional support for software, testing, product implementation, project
   responsibilities.                             management, and delivery.

                                                 Steve DeLongchamp – Vice President
                                                 Provide additional support to Project Managers. Assist with planning
                                                 and the resolution of issues that can arise during project
                                                 implementation. Act as an internal, oversight mechanism monitoring
                                                 project implementation.

                                                 Andrea Richardson – Elections Administrator
                                                 Provide additional support to Project Managers. Assist with planning
                                                 and the resolution of any issues that may arise during project
                                                 implementation.

                                                 John Keefer – Technical Services/Testing Manager
                                                 Provide scheduling and performing state-wide biannual maintenance.
                                                 Assist with product installation, acceptance testing, and act as
                                                 resolution mechanism for issues that arise with hardware.

                                                 Amy Burns – Executive Assistant & Sales Support
                                                 Provide assistance to the President of ElectionSource with projects,
                                                 commissions, reports, clients and scheduling. Provide sales and
                                                 scheduling support.

                                                 Gerrid Uzarski – Regional Sales Manager
                                                 Will help maintain current points of contact and establish new points of
                                                 contact. Work closely with Commissioners, Election Directors, County
                                                 Clerks, Local Clerks, and other personnel responsible for carrying out
                                                 elections. Assist in testing equipment.

                                                 Additional Testing, Implementation, Training and Programming support:
                                                 Mike Kelava – IT Manager
                                                 Assist with training, programming, software installation, server set up,
                                                 programming, software support and training, and ordering of PC
                                                 equipment

                                                 Logan McGregor – Technician
                                                 Provide testing and implementation support

                                                 Matt Bosker – Elections Specialist
                                                 Provide training support, software support, and programming
   Relationship of subcontractor to
   Contractor                                    Sales representative/distributor for Contractor.
   Complete descriptions of the Contract
                                                 Project Management and Product Implementation:
   Activities that will be perform or provided
   by the subcontractor.
                                                 The Lead Project Team Manager is a key part of ElectionSource’s
                                                 organizational structure. The Lead Project Team Manager will work
                                                 with Dominion to coordinate the shipping of equipment and software for
                                                 each jurisdiction. The Lead Project Manager will then turn over
                                                 coordination of setup and training of voting equipment to the County
                                                 assigned Project Managers who will then oversee this process.

                                                 Our County Project Managers will work with each county to develop
                                                 and implement a plan that best suits the needs of all the municipalities
                                                 within the county. ElectionSource will then provide progress reports to
                                                 each of the counties on a regular basis. Our County Project Managers
                                                 will work with all our team leaders and support technicians to provide




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                                                 the necessary training and support needed by each county. Their goal
                                                 is to provide a level of training that will allow the municipalities to be
                                                 self-sufficient needing only minimal support from our technicians.

                                                 Other activities provided by subcontractor, but not limited to, are:
                                                  •    Equipment Training
                                                  •    EMS/Software Training
                                                  •    On-site Election Day Support
                                                  •    Programming/Coding Support
                                                  •    Consultations
                                                  •    Computer Equipment Set-Up/Installation
                                                  •    Maintenance
                                                  •    Acceptance Testing
                                                  •    Election Data Delivery
                                                  •    Equipment Installation
  Governmental Business Systems
   Legal Business name                           Governmental Business Systems
   Address and telephone number                  4995 Varsity Dr., Unit C
                                                 Lisle, IL 60532
                                                 Phone: 888.640.8683
                                                 Fax: 630.241.4295
                                                 Website: www.gbsvote.com
   Organization description                       Supplier of election related supplies, voting hardware and software.
   Working experience with Dominion               Market and support DVS election related products.
   Contract activities’ description               Provide local Level 1 hardware support & preventative maintenance,
                                                  EMS support, poll worker training, Logic & Accuracy support.
   A complete description of the                  Currently support 35 counties in Michigan using AccuVote optical scan.
   subcontractor’s prior experience that          GBS provides a multitude of election services to the vast majority of
   illustrates the subcontractor’s relevant       these accounts including programming/coding support, ballot printing,
   qualifications for completing the planned      precinct kits, election supplies, equipment maintenance, pollworker
   work they will be assigned under this          training and related support services. GBS’ account managers
   proposal.                                      possess an aggregate of over 50 years of hands-on election
                                                  experience working with election officials from every entity who assume
                                                  a role & responsibility in this process.
   Names and titles of all subcontractor staff   Tim Allshouse - Account Manager
   that will be assigned to the Michigan         Account Manager responsible for customer account management,
   contract, along with each individual’s role   sales, and support of the Democracy Suite voting system in Southern
   and responsibilities                          Michigan

                                                 Kurt Knowles - Account Manager
                                                 Account Manager responsible for customer account management,
                                                 sales, and support of the Democracy Suite voting system in Northern
                                                 Lower Michigan

                                                 Dave Carmody - Account Manager
                                                 Account Manager responsible for customer account management,
                                                 sales, and support of the Democracy Suite voting system in the Upper
                                                 Peninsula of Michigan

                                                 Larry Calvert - Director of Election Services
                                                 Direct staff and provide customer support, consulting and election
                                                 programming / coding

                                                 Tiffany Tuominen - Manager of Customer Service
                                                 Will assist with election programming, pre-press file preparation,
                                                 customer/technical support, and ensuring timely delivery of election
                                                 products/services to meet federal requirements.




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   Relationship of subcontractor to
                                                   Dealer for DVS products and services.
   Contractor
   A complete description of the Contract
                                                   Activities provided by subcontractor, but not limited to, are:
   Activities that will be performed or
   provided by the subcontractor                    •     Equipment Training
                                                    •     EMS/Software Training
                                                    •     On-site Election Day Support
                                                    •     Programming/Coding Support
                                                    •     Consultations
                                                    •     Computer Equipment Set-Up/Installation
                                                    •     Maintenance
                                                    •     Acceptance Testing
                                                    •     Election Data Delivery
                                                    •     Equipment Installation


  3.4 Security
  The Contractor will be subject to the following security procedures:

  On a case-by-case basis, the State may investigate the Contractor’s personnel before they may have access to State
  facilities, data and systems. The scope of the background check is at the discretion of the State and the results shall be
  used to determine Contractor personnel eligibility for working within State facilities and systems. The investigations shall
  include Michigan State Police Background checks (ICHAT) and may include the National Crime Information Center (NCIC)
  fingerprints. Proposed Contractor personnel may be required to complete and submit an RI-8 Fingerprint Card for the NCIC
  Fingerprint Check. Any request for background checks shall be initiated by the State and shall be reasonably related to the
  type of work requested.

  All Contractor personnel shall also be expected to comply with the State’s security and acceptable use policies for State IT
  equipment and resources. Furthermore, Contractor personnel shall be expected to agree to the State’s security and
  acceptable use policies before the Contractor personnel shall be accepted as a resource to perform the work for the State.
  It is expected the Contractor shall present these documents to the prospective employee before the Contractor presents
  the individual to the State as a proposed resource. Contractor staff shall be expected to comply with all physical security
  procedures in place within the facilities where they are working.

  The Contractor’s staff may be required to make deliveries to or enter State, county and local jurisdiction facilities. The
  Contractor must: (a) ensure the security of State, county and local jurisdiction facilities, (b) use uniforms and ID badges,
  etc., (c) perform background checks as requested by the State and/or Authorized User through services such as
  Checkmate, www.intantcheckmate.com , and (d) determine the scope of the background checks, which will include
  detailed information such as arrest records, phone numbers, contact information, previous arrests, criminal convictions,
  traffic citations, and sex offender status, in accordance with applicable laws.

  The Contractor will provide the following additional security measures to ensure the security of State, county and local
  jurisdiction facilities.

  Prior to making deliveries the local jurisdiction and or county facilities will be contacted by phone. Through consultation, a
  time and date along with who will be making the deliveries will be established. At that time, what we will be delivering, how
  we will be making the delivery and how we will be transporting the delivery product will be finalized, setting a clear picture
  of who and what to expect.

  Contractor and its subcontractors will implement all necessary securities to ensure the protection of the complete election
  system and processes involved. At the beginning of the project planning, along with the State, County and local
  jurisdictions, the Contractor and its subcontractors will contract, if necessary, with an accredited securities firm to conduct a
  site survey and assessment of the security and safety of the buildings and all election related facilities to determine the
  necessary measures to be taken. In addition to physical security and access, personnel background checks will be
  conducted as needed.
  4. Pricing
  4.1 Price Term
  Refer to the Pricing Matrix included in Schedule C for all pricing. Prices listed in Schedule C are fixed for the contract
  term, and represent the maximum prices per item. Notwithstanding the foregoing, the Contractor is authorized to negotiate
  pricing with individual counties that are lower than the prices listed in Schedule C. Any and all lower negotiated prices
  must be communicated to the Program Manager immediately as they are finalized.



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  4.2 Price Changes
  Aside from negotiations as outlined in Section 4.1 Price Term, price changes may only be considered after the expiration of
  the initial service/maintenance period (acquisition year + 4 years); and only for component replacement/additional parts
  (applicable to Cost Table 4 only – see Schedule C.) Adjustments will be based on changes in actual Contractor costs.
  Any request must be supported by written evidence documenting the change in costs. The State may consider sources,
  such as the Consumer Price Index; Producer Price Index; other pricing indices as needed; economic and industry data;
  manufacturer or supplier letters noting the increase in pricing; and any other data the State deems relevant.

  Following the presentation of supporting documentation, both parties will have 30 calendar days to review the information
  and prepare a written response. If the review reveals no need for modifications, pricing will remain unchanged unless
  mutually agreed to by the parties. If the review reveals that changes are needed, both parties will negotiate such changes,
  for no longer than 30 days, unless extended by mutual agreement.

  The Contractor remains responsible for Contract Activities at the current price for all orders received before the mutual
  execution of a Change Notice indicating the start date of the new Pricing Period.
  5. Ordering
  5.1 Authorizing Document
  The appropriate authorizing document for the Contract will be a written Purchase Order, which will be initiated at the State
  level for each county for each planned purchase period. All orders are subject to the State’s standard contract terms.

  Initial purchase orders will be placed by State purchasing officials. Counties and local jurisdiction election officials (county,
  city and township clerks) will be eligible to purchase additional voting systems and voting system components, over and
  above what is included in the State-issued purchase order at the established Contract prices and terms. Refer to Contract
  Terms, Section 14 Extended Purchasing Program. Also, Refer to Section 7.1 Acceptance, Inspection and Testing
  “Counties will work with the State to finalize the list of jurisdictions that will accept delivery and implement the new voting
  system for each planned purchase phase. The State will initiate each county-based Purchase Order (PO) for each
  purchase phase based on this plan.”

  The State will generate each Purchase Order only after a finalized funding plan has been established for each county and
  local jurisdiction in the county; after a Grant Agreement has been executed with the county and each local jurisdiction
  which specifies ownership and payment obligations for the county and each local jurisdiction; and the State has received
  payment from the county and each local jurisdiction for their individual portions of the county/local funding plan.

  As an alternative to counties and local jurisdictions making direct payments to the State for the local funding component,
  the Contractor may execute an agreed upon payment plan between the Contractor, county, and local jurisdictions within
  the county. Any separate agreements of this type must be transmitted to the State Program Manager prior to issuance of
  the Purchase Order.

  Upon issuance of each State-issued PO on behalf of the county, the Contractor will work with each county to finalize each
  jurisdiction’s delivery plan, including timeframes and locations.
  5.2 Order Verification
  The Contractor must have internal controls to verify abnormal or excessive orders and to ensure that only authorized
  individuals place orders.
  5.3 Minimum Order
  There is no minimum order requirement.
  6. Delivery
  6.1 Delivery Programs
  Contractor will provide delivery programs tailored to the needs of the State and Authorized End Users in delivery of the
  Contract Activities.

  Contractor’s standard service is "ground", which typically delivers in five (5) days. However, Contractor uses a variety of
  carriers allowing flexibility in choosing the delivery method required by both the size of the shipment and the State or
  Authorized End User's specific dock/receiving setup.

  A full truckload is approximately 25 full pallets of machines/accessories or 56 ballot boxes.
  Contractor uses truckload and LTL (less than truckload) carriers, FedEx and US mail to ship products.

  Moreover, should more expedited shipping be requested by the State or Authorized End User, this will be available at an
  additional cost. Contractor will make every effort to ensure that the State or Authorized End User’s expedited delivery time-




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  frame is met and that additional charges to the State or Authorized End User for the expedited delivery, if any, will be
  minimized.

  With regards to providing expedited shipping, the State or Authorized End Users will have the option to request it at an
  additional cost. Limitations on expedited service include timing of receipt of requests, the size of the shipment, and location
  of customer. Any requests received after noon (12:00pm) will not be typically shipped until the following day. However,
  depending on the location/zip code of the customer's warehouse/office, FedEx may not be able to deliver early the
  following day/next day.

  Shipments requiring pallets generally do not deliver the following day. Contractor uses standard pallets in various sizes to
  accommodate the size of the merchandise/packages. These are typically made of wood and are stackable and re-useable.
  The transportation method used will depend on the size of the order/number of pallets.

  The Contractor ensures the best transportation rates for every order since they receive bids from multiple carriers at the
  time. The Contractor can deliver to warehouses with standard loading docks as well as to smaller offices that require
  inside deliver/white glove service.

  6.2 Packaging and Palletizing
  Packaging must be optimized to permit the lowest freight rate. Shipments must be palletized whenever possible using
  manufacturer's standard 4-way shipping pallets.
  7. Acceptance
  7.1 Acceptance, Inspection and Testing
  Counties will work with the State to finalize the list of jurisdictions that will accept delivery and implement the new voting syste
  for each planned purchase phase. The State will initiate each county-based Purchase Order (PO) for each purchase phase
  based on this plan.

  Upon issuance of each State-issued PO on behalf of the county, the Contractor will work with each county to finalize each
  jurisdiction’s delivery plan, including timeframes and locations.

  With respect to delivery and installation of EMS, the Contractor shall provide an EMS delivery/installation plan that allows for
  EMS software installation to be handled by the counties and local jurisdictions. If such an arrangement is proposed and
  mutually agreed upon, Contractor must provide detailed software installation instructions to counties and local jurisdictions at
  the time of EMS delivery. In addition, Contractor must provide technical phone support to assist counties and local jurisdictio
  with software installation.

  The Contractor’s minimum system requirements, including the required/relevant Operating System, to ensure successful
  operation of the EMS are listed as follows. Contractor provides these requirements for both the full EMS and the accumulatio
  only EMS options.

  The following table includes the minimum requirements for the recommended express hardware configuration:


                                          EMS EXPRESS HARDWARE CONFIGURATION

    Component                       Minimum                                             Recommended
                                                                 Motherboard with integrated sound controller and SATA
                  Motherboard with integrated sound
    Motherboard                                                  controller. RAID functionality or separate hardware RAID
                  controller and SATA controller
                                                                 controller
    CPU           Intel i5 series                                Intel i7 series
    RAM           4GB                                            8GB
    HDD           Single 500GB                                   Dual 500GB in RAID 1 mode (mirror)
    Additional    USB Compact Flash card reader                  USB Compact Flash card reader
                  USB iButton Security Key reader                USB iButton Security Key reader
                  19” or higher monitor for desktop PCs          19” or higher monitor for desktop PCs
                  Keyboard and mouse                             Keyboard and mouse
                  Headset or headphones with microphone          Headset or headphones with microphone
                  Internal or external DVD R/W                   Internal or external DVD R/W




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  The following tables include the minimum requirements for the standard recommended hardware and software configuration:

                           EMS STANDARD HARDWARE CONFIGURATION: CLIENT

    Component                         Minimum                                         Recommended
                    Motherboard with integrated sound                 Motherboard with integrated sound controller
    Motherboard
                    controller and SATA controller                    and SATA controller
    CPU             Intel i5 series                                   Intel i7 series
    RAM             4GB                                               8GB
    HDD             Single 500GB                                      Single 500GB
    Additional      USB Compact Flash card reader                     USB Compact Flash card reader
                    USB iButton Security Key reader                   USB iButton Security Key reader

                    19” or higher monitor for desktop PCs             19” or higher monitor for desktop PCs

                    Keyboard and mouse                                Keyboard and mouse

                    Headset or headphones with micro-phone            Headset or headphones with microphone

                    Internal or external DVD R/W                      Internal or external DVD R/W




                               EMS STANDARD HARDWARE CONFIGURATION: SERVER


    Component                     Minimum                                          Recommended
    Motherboard     Single core CPU with integrated          Dual quad core CPU with integrated SATA controller and RAID
                    SATA controller                          functionality or separate hardware RAID controller
    CPU             Intel Xeon L5500 series                  Intel Xeon E5 series
    RAM             8GB                                      16GB
    HDD             Dual 500GB                               Dual 500GB in RAID 1 mode, and 4x 500GB in RAID 10
                                                             mode
    Additional                                               PCI-E card SATA controller with RAID 10 functionality, or
                                                             compatible
                    Internal or external DVD R/W             Internal or external DVD R/W

                    Single or dual power supply              Single or dual power supply

                    Optional monitor, keyboard, and          Optional monitor, keyboard, and mouse
                    mouse


  Note: Express and Standard refer to the hardware architecture for EMS (either Full or Accumulation only). Express is for
  smaller jurisdictions with less server infrastructure requirements (desktop and tower servers) and Standard is for larger
  jurisdictions that require higher performance IT infrastructure (rack servers for example). Contractor can install either
  version of software on either Express or Standard however performance is what determines which IT infrastructure
  Contractor recommends.




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                                           EMS SOFTWARE CONFIGURATION




                                                                             Express Software Configuration




                                                                                                                                               Standard Client Configuration
                                                                                                               Standard Server Configuration




                                                                                                                                                                               Enterprise Application Server


                                                                                                                                                                                                               Enterprise Database Server


                                                                                                                                                                                                                                            Enterprise Client
    EMS Software Configurations




    Adobe Acrobat Reader 10.1.1                                                X                                                                 X                                                                                           X
    Cepstral Voices                                                            X                                 X                               X                               X
    Dallas 1-Wire Device Driver 4.0.3                                          X                                                                                                                                                             X
    EMS Client components                                                      X                                                                 X                                                                                           X
    EMS Server components                                                      X                                 X                                                               X
    Java Runtime Environment 6.0.290                                           X                                 X                               X                               X                                                           X
    Microsoft .NET Framework 4.0                                               X                                 X                               X                               X                              X                            X
    Microsoft Access Database Engine                                           X                                                                 X                                                                                           X
    Microsoft IIS 7.5                                                          X                                 X                                                               X                              X
    Microsoft SQL Server 2008 R2 Express                                       X
    Microsoft SQL Server 2008 R2 Reporting Services only and
    Service Pack 2 (SP2) Installed                                                                                                                                               X
    Microsoft SQL Server 2008 R2 Standard with Service Pack 1 (SP1)
    Installed                                                                                                    X                                                                                              X
    Microsoft SQL Server 2008 R2 with Advanced Series
    and Service Pack 1 (SP1) Installed                                         X
    Microsoft Visual C++ x86 Redistributable                                   X                                 X                               X                               X                                                           X
    Microsoft Visual J# 2.0                                                    X                                 X                               X                               X                                                           X
    Optional additional fonts                                                  X                                 X                               X                               X                                                           X
    Optional Avast! antivirus software                                         X                                 X                               X                               X                              X                            X
    Optional eSATA card                                                                                          X
    Optional Excel 2010                                                        X                                                                 X                                                                                           X
    Optional printer drivers                                                   X                                                                 X                                                                                           X
    Optional Uninterruptable Power Supply drivers                              X                                 X                                                               X                              X
    Windows 7 Professional x64 with Service Pack 1 (SP1) Installed
                                                                               X                                                                 X                                                                                           X
    Windows Server 2008 R2 with Service Pack 1 (SP1) Installed
                                                                                                                 X                                                               X                              X

  For more information about the EMS configuration options, including operating system and hardware/software
  requirements, see Schedule C, Pricing; Cost Table 5.

  Upon receipt of the systems at the county and local jurisdiction level, each jurisdiction will be responsible for testing and
  accepting their designated systems, based upon a checklist developed by the State. Each county and jurisdiction
  receiving voting systems, accessible voting system components and related EMS software will be required to complete a
  Receipt/Acceptance form and submit it to the State. Acceptance test criteria will include a logic/accuracy test (for
  tabulators/accessible devices) and a confirmation of successful installation of the approved version of EMS software
  (where applicable). If defects are uncovered during testing that result in an unsuccessful test, affected system
  component(s) will be rejected and Contractor must replace and re-test the component(s) within 10 business days. Once
  all voting systems and EMS software is tested and accepted a completed Receipt/Acceptance form (developed by the
  State) will be completed and returned by each jurisdiction in in the county for each purchase phase documenting



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  successful completion of required testing; at which point, the State will release payment on the State-issued county-
  based PO.


  7.2 Final Acceptance
  Final acceptance of each local county and jurisdiction order will be accomplished via the receipt/acceptance process
  described in Section 7.1 and Section 8e in the Standard Contract Terms.
  8. Invoice and Payment
  8.1 Invoice Requirements
  All invoices submited to the State must include: (a) contract number; (b) Purchase Order number; (c) county name; (d)
  listing of all delivered components, itemized and listed by jurisdiction; (e) unit prices; (f) total price per item, per jurisdiction;
  (g) ship to address; (h) jurisdiction contact; (i) total price per jurisdiction; and (k) total price per county / Purchase Order
  (less any agreed upon payment arrangement made between the Contractor and the County).

  Invoices must be forwarded to the State only after all equipment and components listed on the Purchase Order have been
  delivered. The State will release payment to the Contractor for the State portion of the invoice amount, upon the
  successful completion of acceptance testing and submission of completed Receipt/Acceptance forms from the county and
  each local jurisdiction listed on the Purchase Order. Note that the State portion of the invoice amount will equal 100% of
  the total invoice if the State has collected the local funding component up front.
  8.2 Payment Methods
  The State will make payment for Contract Activities as outlined in Sections 5.1, 7.1 and in Section 9, Invoicing and
  Payment, in the Standard Contract Terms. Payment will be made by Electronic Funds Transfer (EFT).
  9. Additional Requirements
  9.1 Environmental and Energy Efficient Products
  The Contractor has identified the following energy efficient, bio-based, or otherwise environmental friendly products used in
  the products, including relevant third-party certification.
  Contractor’s Products
  Some materials used in Contractor’s product line are RoHS (Restriction of Hazardous Substances) and Energy Star
  compliant.

  Contractor’s plastic ballot boxes and covers are made from polypropelyne and ABS which are recyclable. Units have a 10-
  year+ lifespan, and are either recycled in specialized facilities, or donated to a non-profit organization which uses them in
  the developing world.

  Units are shipped in recyclable corrugated cardboard boxes. Contractor reuses these boxes as many times as possible
  before recycling.

  Fedex Packaging is both recyclable and can be re-used for shipping. Labels are printed on 100% Recycled FSC-Certified
  Copy Paper. It is recycled without using chlorine or chlorine compounds, acid free, 100% post-consumer recycled content.

  9.2 Hazardous Chemical Identification
  In accordance with the federal Emergency Planning and Community Right-to-Know Act, 42 USC 11001, et
  seq., as amended, the Contractor must provide a Material Safety Data Sheet listing any hazardous chemicals,
  as defined in 40 CFR §370.2, to be delivered. Each hazardous chemical must be properly identified, including
  any applicable identification number, such as a National Stock Number or Special Item Number.

  The Contractor identifies the following hazardous chemicals that will be provided under this Contract.

  The ImageCast Precinct tabulator uses leaded solder paste. There are two types of battery backup systems that the
  Contractor’s voting systems use. The first is based off Lithium Ion technology. The second battery is based off of sealed
  Lead Acid technology. The Contractor will provide more detailed information and the MSDS for both these materials upon
  request.
  9.3 Mercury Content
  Pursuant to MCL 18.1261d, mercury-free products must be procured when possible. The Contractor does not intend to
  provide products containing mercury under this Contract.
  9.4 Brominated Flame Retardants
  The State prefers to purchase products that do not contain brominated flame retardants (BFRs) whenever possible. The
  Contractor must disclose whether the products contain BFRs. The electronics circuit boards contained in the Contractor’s
  product contain flame retardant bromine Tetrabromobisphenol A (TBBPA). This bromine is a part of the polymer of the
  circuit board and it is not regulated by RoHS or WEEE directives under their listing of restricted chemicals. This bromine




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  (TBBPA) is complexed in the resin of almost all PCB’s produced today. Please see the Exhibit A – 9.4. TBBPA Factsheet
  included for more details.
  9.5 License Agreement
  The State and Counties that receive and use EMS software will be required to sign a software license agreement. Refer to
  Schedule B-Software License Agreement.
  9.6 Key Personnel
  The Contractor must appoint a State Project Manager and State Customer Service Manager. See other details in
  Section 3.1. These individuals shall be directly responsible for the day to day operations of the Contract (“Key
  Personnel”). Key Personnel must be specifically assigned to the State account, be knowledgeable on the contractual
  requirements, and respond to State inquires within 24 hours.

  State Project Manager
  Gio Costantiello
  State Project and Contract Manager
  Phone: (416) 762-8683 x241, Mobile: (416) 580-0084
  Email: gio.costantiello@dominionvoting.com

  State Customer Service Manager
  Nicole Nollette
  Executive Vice President, Operations
  Phone: (866) 654-8683 x9223, Mobile: (702) 786-7131
  Email: nicole.nollette@dominionvoting.com

  Contractor’s Key Personnel must be available for meetings and updates as outlined in Section 2.8.
  The Contractor may not remove or assign Key Personnel without the prior consent of the State. Prior consent is not
  required for reassignment for reasons beyond the Contractor’s control, including illness, disability, death, leave of absence,
  personal emergency circumstances, resignation, or termination for cause. The State may request a résumé and conduct
  an interview before approving a change. The State may require a 30 calendar day training period for replacement
  personnel. Also refer to Section 10 in the Standard Contract Terms.

  9.7 Non-Key Personnel
  The Contractor must notify the Contract Administrator at least 10 calendar days before removing or assigning non-key
  personnel.
      Team Member                Role
      Alex Soto Vasquez           Product Support Specialist
      Nick Mantzios               Product Support
      Xenofon Marangos            Senior Systems Manager
      Goran Obradovic             Product Development
      Ronald Morales              Product Support
      Penelope Starr              Marketing and Voter Outreach Support
      Steve Moreland              Manufacturing & Delivery
      James Hoover                Printer Liaison, General Project Support
      Steve Popoulias             Customer Service Manager




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  9.8 Organizational Chart
  The Contractor has provided the following overall organizational chart that details staff members, by
  name and title, including subcontractors, as well as each member’s area of responsibility.




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  9.9 Project Plan
  The Contractor will carry out this project under the direction and control of the State Program Manager. Within 30
  calendar days of the Effective Date, the Contractor will submit a project plan to the Program Manager for final
  approval. The plan must include: (a) the Contractor's organizational chart with names and titles of personnel
  assigned to the project, which must align with the staffing stated in accepted proposals; and (b) the project
  breakdown showing sub-projects, tasks, and resources required.




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                                            Exhibit 1 to Schedule A

                      Federal Voting System Testing / Certification Matrix
  Contractor has provided the following detailed information on currently certified voting systems and the
  voting system(s) for use in Michigan.

  Definitions:
      • EAC: United States Election Assistance Commission
      • VSTL: Voting System Test Laboratory, accredited by the US Election Assistance Commission
      • Currently Certified System(s) (Table A): These are your company’s end-to-end voting system(s)
           for which EAC certification has already been obtained, if any.
      • Michigan Proposed Voting System Configuration (Seeking Federal Certification) (Table B): This is
           the end-to-end base voting system proposed for use in Michigan, if the proposed Michigan
           system has not yet obtained EAC certification.
      • Proposed Modification to Base Michigan Voting System Configuration (Table C): Voting system
           that allows for secure electronic transmission of unofficial Election Night results from the precincts
           to the local counties/jurisdictions and the State. If the base voting system proposed for Michigan
           (Table A or B) allows for electronic transmission, please state this in your response, and leave
           Table C blank.

  A) Currently Certified System(s)
  Does your company have an existing end-to-end voting system that has completed Federal testing and
  the U.S. Election Assistance Commission (EAC) certification process? For these purposes, an end-to-end
  voting system includes use of a paper ballot, tabulator, accessible voting device (for use by individuals
  with disabilities) and related Election Management System (EMS) software.

                   Yes                                       No

  If you answered “Yes”, complete the following table to provide information on your company’s currently-
  certified system(s) that utilize a paper ballot – attach additional tables/pages if necessary. If you
  answered “No”, proceed to Table B:
                                          Contractor Response
      Product / System Name               Democracy Suite 4.14-D
      Model or Version #                  4.14-D
      Components – list all system        Please see pp. 7-9 in the attached EAC Scope of Certification
      components of the currently         document for Democracy Suite 4.14-D.
      certified end-to-end voting
      system(s) as described above,
      including Software/Firmware
      version or Hardware version of
      each component. Add lines if
      necessary, or provide a
      separate attachment, clearly
      labeled ‘CURRENTLY
      CERTIFIED VOTING SYSTEM
      COMPONENTS’
      Name / Location of VSTL             National Technical Systems, Huntsville, AL
      Date VSTL testing completed October 20, 2014
      Date EAC certification issued November 25, 2014
      EAC Certification Number            DVS-DemSuite4.14-D
      List the U.S. state(s) in which Iowa, Minnesota, Missouri, Nevada, New York, Ohio, Puerto Rico,
      this system is in use, if any       Tennessee, Washington, Wisconsin, Utah




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     Is a currently-certified
     system proposed for use in        Yes             No
     Michigan?
                                       If ‘Yes’, list the model or version number proposed for use in
                                       Michigan:

                                       ____________________

                                       If ‘No’, complete Table B.

    B) Michigan Proposed Voting System Configuration (Seeking Federal Certification)
    Provide information on the base voting system proposed for use in Michigan, if Federal certification has
    not yet been obtained:
                                        Bidder Response
     Product / System Name              Democracy Suite 5.0
     Model or Version #                 5.0
     Components – list all system       Please see the attached D-Suite 5.0 System Configuration List
     components of the proposed         document for details on the system components of the proposed
     base Michigan voting system        base Michigan voting system configuration.
     configuration, including
     Software/Firmware version or
     Hardware version of each
     component. Add lines if
     necessary, or provide a
     separate attachment, clearly
     labeled ‘PROPOSED BASE
     MICHIGAN VOTING SYSTEM
     COMPONENTS’
     Name / Location of VSTL            Pro V&V, Huntsville, AL


     VSTL Testing Status*               Complete 1 OR 2 below:

                                        1) VSTL testing completed: December 1, 2017
                                                                       Date


                                        2) VSTL testing not yet complete:

                                           a) Date submitted or will be submitted to VSTL: ____________

                                           b) Estimated VSTL testing completion date: ___________
                                              This estimated date was determined / provided by (check
                                              one):
                                                   Vendor                 VSTL

                                           c) Current status (summarize, in detail, the proposed system’s
                                              status with respect to VSTL testing): Dates and testing
                                              status updates can be provided on a bi-weekly basis after
                                              submission of this bid.

     EAC Certification Status*
                                          a) Date submitted or will be submitted to EAC: April 15, 2016




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                                           b) Estimated EAC certification date: January 27, 2017
                                              This estimated date was determined / provided by:
                                                  Vendor                    EAC

                                            c) Current status (summarize, in detail, the proposed system’s
                                               status with respect to EAC certification): EAC is finalizing
                                               paperwork.

  *NOTE: If VSTL and/or EAC reports have been issued, also attach the report(s).

  C) Proposed Modification to Base Michigan Voting System Configuration
  Provide information on the proposed voting system for use in Michigan that provides for secure electronic
  transmission of unofficial Election Night results (if different from the proposed base Michigan voting
  system described in Table A or B):
                                        Bidder Response
    Product / System Name               Democracy Suite 5.0-S
    Model or Version #                  5.0-S
    Components – list all system        Please see the attached D-Suite 5.0-S System Configuration List
    components of the proposed          document for details on the system components of the proposed
    modification to the base            base Michigan voting system configuration.
    Michigan voting system
    configuration, including
    Software/Firmware version or
    Hardware version of each
    component. Add lines if
    necessary, or provide a
    separate attachment, clearly
    labeled ‘PROPOSED
    MODIFICATION TO BASE
    SYSTEM COMPONENTS’
    Name / Location of VSTL             Pro V&V, Huntsville, AL
    VSTL Testing Status*                Complete 1 OR 2 below:

                                        1) VSTL testing completed: January 13, 2017
                                                                       Date

                                        2) VSTL testing not yet complete:

                                          a) Date submitted or will be submitted to VSTL: ____________

                                          b) Estimated VSTL testing completion date: ____________
                                             This estimated date was determined / provided by:
                                                  Vendor                 VSTL

                                          c) Current status (summarize, in detail, the proposed system’s
                                             status with respect to VSTL testing):

   Differences between                  The modification to the base system, Democracy Suite 5.0-S, adds
   proposed base Michigan               dial-up and wireless results transmission capabilities to the
   voting system and the                ImageCast Precinct and results transmission using the Democracy
   proposed modification to the         Suite EMS Results Transfer Manager module. Additionally, the
   base system – list, in detail, all   COTS Canon M160II scanner is added with the 5.0-S system
   substantive differences between      configuration.
   the proposed BASE SYSTEM




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   and proposed MODIFICATION        The ImageCast Listener add-on component incorporates with the
   TO BASE SYSTEM                   Democracy Suite EMS Server and adds a dedicated server, using
                                    an encrypted TCP/IP-based protocol, to receive results data. An
                                    industry-standard firewall appliance is used to isolate the EMS
                                    network from the external network.

                                    Both ImageCast Precinct tabulators and the Results Transfer
                                    Manager module communicate with the ImageCast Listener server.
                                    The Results Transfer Manager can also transmit data to shared
                                    folders on a network.

                                    The ImageCast Precinct model 321-C contains an internal dial-up
                                    modem; wireless 3G modems are available as external devices.
                                    The ImageCast Precinct requires a different Device Configuration
                                    File to enable the results transmission capabilities. No other
                                    functional differences exist between the two versions.
  *NOTE: If VSTL report has been issued, also attach the report.




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                               Exhibit 2 to Schedule A
                              Technical Requirements
                      See separate Excel spreadsheet document.




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                              Exhibit 3 to Schedule A
                        Preventative Maintenance Checklists




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        ImageCast Precinct Sample Preventative Maintenance Checklist




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         ImageCast Central Sample Preventative Maintenance Checklist




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                        DOMINION ICX PREVENTATIVE MAINTENANCE CHECKLIST
                                              SID-XXV
                                      Preventative Maintenance Checklist

     Items to Test / Inspect                                    OK     Not OK   Notes
        1. Top Door (Larger)
           A. Confirm Hinges Swing Freely                       ⃝        ⃝
           B. Inspect/Test Magnet on Side of Door for
                                                                ⃝        ⃝
                Proper Operation
           C. Inspect Hasp/Staple for Proper Operation          ⃝        ⃝
           D. Inspect USB & MicroSD Connectors                  ⃝        ⃝
        2. Battery Inspection
           A. Inspect Battery PCB Connection with Battery       ⃝        ⃝
           B. Inspect Battery is Secure Under Bracket           ⃝        ⃝
           C. Inspect Battery PCB Cable Connection to
                                                                ⃝        ⃝
                Main Unit
        3. Bottom Door (Smaller)
           A. Confirm Hinges Swing Freely                       ⃝        ⃝
           B. Inspect/Test Magnet on Side of Door for
                                                                ⃝        ⃝
                Proper Operation
           C. Inspect Hasp/Staple for Proper Operation          ⃝        ⃝
           D. Inspect Cable Routing through Plastic Bushing     ⃝        ⃝
           E. Confirm DC-IN Power is Properly connected
                                                                ⃝        ⃝
                to Main Unit
        4. VESA Stand / General
           A. Inspect Cable Routing Inside I/O Cover            ⃝        ⃝
           B. Inspect Cables for Any Wear or Damage             ⃝        ⃝
           C. Inspect Card Reader in Base (Front)               ⃝        ⃝
           D. Confirm System can Tilt on Stand                  ⃝        ⃝
        5. Electrical / Technical
           A. Confirm Main Power Cable Connection
                                                                ⃝        ⃝
               Between Base and Outlet
           B. Confirm Button under Bottom Door Turns
                                                                ⃝        ⃝
               Green when Power is Applied
           C. Confirm the LCD Touch is Functional               ⃝        ⃝
           D. Confirm the Battery is Fully Charged and has
               at Least 2 Hours of Runtime Available. If not,
               it is Recommended to Replace the Battery         ⃝        ⃝
               (Refer to Battery Test Procedure)
           E. Confirm Input Connectors Functionalities
                                                                ⃝        ⃝
               (I.e. USB’s, LAN, Audio, etc.)




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                                                        Exhibit 4 to Schedule A
                                                     Voting System Description


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    Paper Ballot – Providing a Permanent Record of Voter Intent


    Highlights



            Dominion’s Democracy Suite Election Management System (EMS) creates
             tabulator-ready PDF optical scan ballot artwork files and election files for
             the ImageCast X and ImageCast Precinct.

            These optical scan paper ballot artwork files are full-sized press-ready ballots
             generated in industry-standard PDF format and containing all required ballot
             elements and the unique ballot ID barcode that distinguishes each ballot
             style.

            A range of modern printing technologies can easily print ImageCast optical scan
             and verifiable choice summary ballots.

            The optical scan paper ballot is 8.5” inch wide and can vary between 11”-22” in
             length. It can be printed in four colors and has been tested and certified for use
             up to its maximum length of 22”. The ImageCast X prints a verifiable choice
             summary ballot that is 8.5” wide and 11” in length.

            The optical scan paper ballot can also be double sided and, if necessary, can
             be made up of multiple pages to accommodate a ballot with offices and
             candidates that might exceed one double-sided page.

            Dominion also offers optional infrared security paper for additional peace of
             mind.




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  Ballot artwork

  Ballot artwork – Optical Scan Paper Ballots
  Dominion’s Democracy Suite Election Management System (EMS) creates tabulator-
  ready PDF ballot artwork files for hand-marked ballots. Ballot artwork files are created
  as complete ballot images, without trim lines or crop marks, and are designed to directly
  print on digital 4-color sheet-fed xerographic or other electro-photographic printers
  (most B-sized laser printers). Ballot artwork is generated in industry-standard PDF
  format and CMYK color space. Ballot artwork files are full-sized press-ready ballots
  containing all required ballot elements and the unique ballot ID barcode that
  distinguishes each ballot style. Each file contains one or two ballot images: a front
  image (if the ballot is single-sided) or paired front and back ballot images. All fonts used
  in the ballot artwork are embedded in the PDF file. Ballot artwork files are digitally-
  signed (X.509) and tied to the election project files produced by Democracy Suite EMS
  to allow for authentication and revision control.
  Ballot artwork and style – ImageCast X electronic ballot and Verifiable Choice Summary
  Ballots
  Dominion’s Democracy Suite Election Management System (EMS) creates the
  electronic ballots for the ImageCast X as well as the verifiable choice summary ballots
  that are printed at the end of the voting session on the ImageCast X. The verifiable
  choice summary ballot PDF files are generated for each ballot style with ballot headers
  only, and the voter’s choices are printed once they have completed their voting session
  on the ImageCast X.




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  Optical Scan Paper Ballot




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    ImageCast X Verifiable Choice Summary Ballot




 Ballot Header:
 Contains relevant
 election event
 information as well as
 the ballot style

2D Barcode: The
voter’s choices are
encrypted and digitally
signed in the barcode.
This barcode can only
be scanned and
decrypted by an
ImageCast Tabulator.

Verifiable Choice
Summary: The ballot
contains a list of all
contests and a
summary of the voter’s
selections and non-
selections (undervote
or blank contest).




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  Ballot Printing

  Ballot Printing – Optical Scan Paper Ballots
  ImageCast paper ballots can be easily printed by a range of modern printing
  technologies.
     •   Small quantities of tabulator-ready ballots can be printed with a conventional B-
         size laser printer (600 dpi min., pre-calibrated), directly onto pre-cut blank ballot
         stock. ImageCast ballot artwork ﬁles are pre-conﬁgured for this use. In-house
         laser printing of ImageCast prooﬁng and test ballots allows a jurisdiction to
         quickly and easily test the Democracy Suite EMS election project setup and
         tabulation options.
     •   Most jurisdictions choose a Dominion-certiﬁed print vendor to produce the ballots
         that will be used for their election. ImageCast ballots are produced by
         conventional oﬀset lithographic presses, or high-speed digital xerographic or
         other electro-photographic presses.
     •   Ink jet printers, from small desktop units to high-speed web print engines, have
         produced millions of ImageCast ballots.
  Common to all successful ballot printing methods is the strict adherence to Dominion’s
  ImageCast ballot speciﬁcations, which have been provided to the State of Michigan as
  part of this RFP response.

  Ballot Printing – ImageCast X Verifiable Choice Summary Ballots
  The ImageCast X comes with a commercial off-the-shelf conventional laser printer that
  prints the verifiable choice summary ballot at the end of the voting session. The Canon
  LBP151dw laser printer is currently used with the ImageCast X.

  Ballot Printer Qualification
  Dominion licenses and qualifies ballot printers to produce and sell ballots for Dominion
  ImageCast tabulators. Dominion will be happy to work closely with a ballot printer of the
  counties’ choice to ensure they receive the qualification and are able to print Dominion’s
  licensed ImageCast optical scan paper ballots.
  The printer training and qualification program is designed to ensure the production of
  high quality ballots, with low defect rates and high-levels of customer satisfaction.
  Qualification includes on-site ballot production instruction, ballot inspection procedures
  and tools, ballot QA programs and ballot printing tests. The program offers a fair and
  open ballot printer training and certification process, geared for range of commercial or
  governmental print operations. Dominion encourages customers to require the use of
  certified ballot printers for all print contracts.

  Ballot Paper
  The text and cover paper stocks that have been tested and approved for manufacturing
  ImageCast optical scan paper ballots are:



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                                          Approved Papers

      - Cascades Fine Paper        - Rolland Opaque 50        80# and 100#      Bright White,
                                                              Text              Smooth Finish
      - International Paper        - Accent Opaque

      - Cascades Fine Paper        - Rolland Opaque 50        65# cover         Bright White,
                                                                                Smooth Finish
      - International Paper        - Accent Opaque



  We recommend 100# text paper stock for use with the ImageCast X.

  ImageCast Security Paper
  Dominion’s custom ballot authentication system is built around an (optional) secure ballot paper
  stock and in-tabulator authenticators that include:

  •   Custom ballot stock that incorporates an invisible infrared-reactive agent, built into the paper
      as it is manufactured.
  •   Matching non-contact paper sensor/authenticators are built into the ImageCast tabulators.

  This combination of technologies assures that:
  • Secure ballots cannot be counterfeited or duplicated, yet can be simply printed by our
     certified printers and by our customers.
  • An ecologically-sound paper product will put us in the vanguard of responsible paper users.

  Additional Security Paper Features:

  •   Special coating to improve toner adhesion
  •   Reduced porosity to limit pen bleed-through
  •   Binders to limit curl induced by xerographic printers
  •   Improving fold tear strength
  •   Improving ballot stacking


  Sample Ballots

  Sample ballots can be found in Appendix 2 – Sample Ballots and Reports




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  Democracy Suite Election Management System – The engine that powers your entire election




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  Highlights


   Democracy Suite powers the entire voting system out of a single comprehensive database,
    with all the tools needed to simplify and streamline the process.

   All voting channels – whether absentee ballots, accessible voting, or precinct-based voting –
    are supported and powered by Democracy Suite.

   All pre-election and post-election tasks take place out of the same database – from ballot
    programming to results reporting on Election Night, Democracy Suite is a complete, end-
    to-end elections solution.

   It is designed to suit the needs and requirements of jurisdictions large and small, and
    can be easily scaled to support any size jurisdiction.

   The counties will be equipped with Dominion’s Democracy Suite Election Management
    System, which is comprised of several modules to manage an election project from start to
    finish. Democracy Suite is composed of two main modules:

         Through the Election Event Designer (EED), the election definitions of each
          jurisdiction such as districts, races, and candidates can be input or imported. The
          Election Data Translator utility allows the import of the election definition from the
          Michigan QVF file further simplifying the election definition process for the County
          Administrator.

      •   Through the Results Tally and Reporting (RTR), the counties can easily and quickly
          receive and accumulate election results from their precincts and rapidly report them to
          the State for accumulation and distribution of State-wide election results. The module
          exports results in a data format compliant with the Michigan Standard Results File
          Format.

   The system allows for the configuration and creation of a wide range of reports that can
    be easily accessed or customized.




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  Benefits of Democracy Suite

  The Democracy Suite technology platform delivers an improved experience for the voter, long-
  term sustainability, operational efficiencies, transparency and cost-savings.


  •      Designed to meet the latest EAC                 •    Reduced complexity for election officials, as
         VVSG requirements with industry                      programming and results consolidation takes
         leading FIPS 140-2 compliant                         place out of a single unified database
         security protocols
                                                         •    With easy-to-use, intuitive user interfaces across
  •      Complete end-to-end system
         auditability                                         the entire product line, your staff and poll workers
                                                              are able to confidently carry out the tasks in their
  •      Symmetric and asymmetric                             workflow
         encryption for data confidentiality
                                                         •    Improved and user-friendly experience for voters
  •      All communications channels are
         encrypted with SSL protocols




  •   Capable of handling many types of              •       Built-in tools to help you simplify and streamline
      elections, voting rules (i.e. straight                 your process, increase productivity, and save
      party, open or closed primaries, etc.),                you time and money
      and a range of jurisdiction sizes
                                                     •       Save and re-use ballot templates, election
  •   A diverse range of EMS modules and                     event definitions, and report templates so you
      voting channel singular devices with                   can quickly and easily generate future election
      flexible configurations to meet                        projects
      jurisdictional needs




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  Election Event Designer

  The Election Event Designer module manages all of the information needed to define
  an election. Definition of an election is a complex task, and the event definition module
  allows for the easy entry and tracking of districts, precincts, contests, candidate names,
  voting locations and ImageCast tabulators. Election Event Designer allows jurisdictions
  to choose from a variety of language options for an election project.
  Election definition data may be entered manually, or imported using the Election Data
  Translator utility. The Election Data Translator utility allows the import of the election
  definition from the Michigan QVF file further simplifying the election definition process
  for the County Administrator. Election definition data from may be exported or copied
  from prior election databases to speed up the process of coding subsequent elections.
  Sample Election Data Translator import files can be found in Appendix 2a – Sample
  Election Data Translator Imports.
  Election Event Designer uses the County's geopolitical and election event data to
  automatically calculate the required ballot styles and generate full-sized press-ready
  ballots in industry-standard PDF format. EMS lays out contests on the ballot in the most
  space-efficient manner possible, in order to minimize printing costs. Election Event
  Designer offers extensive options for ballot styling with full user control - choose fonts,
  line weights, number of columns, multiple languages, multi-card or double-sided,
  landscape or portrait-style, variety of voting target options, colored headers, etc. A
  unique ballot ID barcode distinguishes each ballot style. The ballot is 8.5” wide and can
  vary between 11”-22” in length.
  The ballot can be double sided and, if necessary, can be made up of multiple pages (up
  to 15) to accommodate a ballot with offices and candidates that might exceed one
  double-sided page. ImageCast Optical Scan Ballots can be easily printed by a range of
  modern printing technologies. All fonts used in the ballot artwork are embedded in the
  PDF file and ballot artwork files are digitally-signed (X.509) and tied to the election
  project files produced by Democracy Suite EMS to allow for authentication and
  revision control.
  The EMS system uses Cepstral, a third-party text-to-audio synthesizer, to automatically
  generate audio ballots for the ImageCast X Ballot Marking Device. Users also have the
  option to import human-recorded audio, with or without the help of the EMS Audio
  Studio module, or fine tune pronunciation of the synthesized audio using Cepstral's
  Swifttalker application. The system outputs audio ballots (PNG images, SPX audio files
  and XML definition files), definition reports (XML, Excel or HTML files), and election
  definition files required to program the ImageCast Precinct, ImageCast X, and
  ImageCast Central.
  The ImageCast Precinct tabulators are defined and configured in the Election Project
  and these parameters are passed to the voting machines via the election files on the


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  Compact Flash memory card. Tabulators are automatically configured to know which
  ballot styles to accept, how the unit should interact with voters and where results files
  are uploaded. The poll worker only needs to follow the Election Day procedures
  established by the County and never needs to make a decision regarding the tabulator’s
  settings at the voting location.
  The ImageCast X Ballot Marking Devices are also defined and configured in the
  Election Project and these parameters are passed to the ImageCast X devices via the
  election files on a USB. The ImageCast X will store all available ballot styles, and will
  present the correct ballot style to the voter when the voter inserts their Smart Card and
  activates the voting session. No results are stored on the ImageCast X. The ImageCast
  X prints a paper Verifiable Choice Summary Ballot at the end of the voting session,
  which the voter inserts into the ImageCast Precinct. All results files are stored on the
  ImageCast Precinct.
  Sample Election Event Designer reports can be found in Appendix 2b – Sample
  Election Event Designer Reports.

  Results Tally and Reporting

  The EMS Results Tally and Reporting (EMS RTR) module is used on Election Night
  upon close of polls to accumulate results from tabulators and generate results reports.
  The application allows for the direct transmission of results to the ImageCast Listener
  server from the precinct or the AVCB through secure wireless or dial-up modem
  transmission, or from a designated hub using the Results Transfer Manager. For more
  information on transmission options, please see the Results Accumulation section
  below.
  For the EMS RTR module, inputs represent encrypted and signed election result files
  (proprietary format), log files (plain text) and scanned ballot images with AuditMark,
  produced by the Precinct and Central tabulators (PNG and TIFF images). Outputs
  represent a variety of election result reports, as well as auditing information (XML,
  HTML, CSV, MS Excel and PDF formats).
  The program automatically uploads the result files into the results tally module, and
  consolidated results are verified, tabulated, and published. Once the vote data is
  uploaded into the result tally module, the flow of results to the public and media can be
  controlled.
  RTR allows election officials to review the results before releasing them, and the system
  provides a number of reporting methods, including but not limited to Summary and
  Precinct-level (Statement of Votes Cast) result reports. In addition to the static, pre-
  defined reports found in most reporting systems, RTR’s Summary and Precinct-level
  reports use the Microsoft SQL Server Reporting Services engine to offer maximum
  flexibility to user. These reports feature a variety of configurable options and filters,



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  including detailed breakdowns of provisional ballots cast, ballots cast during early
  voting, on Election Day, and by mail. Election administrators may use the default
  settings, or configure the data fields included in the reports depending on the target
  audience. Reports may be filtered by precinct, district, contest, tabulator, or voting
  location, to narrow in on specific results data of interest contained within the election
  database.
  RTR features a one-click results export in CSV format that is fully compliant with the
  Michigan Standard Results File Format. In addition, the module features numerous
  export types for compatibility with third-party web-based Election Night Reporting
  software. As is currently the case in states such as Florida and New Mexico – which
  also have state-standardized export formats - Dominion will stay current and compliant
  with the Michigan Bureau of Elections’ evolving standard, and releases updates to the
  export file as the standard changes. After approval from the Bureau of Elections, an
  independent update file is easily imported into the EMS Server, eliminating the need for
  recertification or reinstallation of the entire application.
  Sample Results Tally and Reporting reports can be found in Appendix 2c – Sample
  Results Tally & Reporting reports.




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Core Technology - Ensuring Accurate & Transparent Elections


Highlights
    The Democracy Suite Election Management System handles all activities related to your election. It
       produces ballots and tabulator information, and is enhanced by Dominion’s Core Dual Threshold and
       AuditMark technologies.

      Dual Threshold technology has a user-defined low and high marginal mark threshold to ensure that
       each and every voter’s ballot will be read the same every time. If a voter does not properly fill in the
       oval while marking their ballot and their oval mark falls in the marginal mark zone, the system will
       inform the voter of the Marginal Mark and the onus of clearly defining their intent is on the voter,
       not the Election Official.

      The AuditMark auditing system is, however, what makes the Dominion difference and sets us apart
       from other vendors in this industry. It is the only system that digitally stores an image of every
       ballot cast along with a record of how the ImageCast tabulator interpreted each vote, ensuring a
       completely transparent and auditable election.

      Administrators find it a great comfort when reviewing ballot images during recounts and every image is
       accompanied by this clear, digital, human-readable AuditMark record.

      We take particular pride in this unique feature, because it demonstrates how seriously Dominion takes
       our policy of being 100% accountable for each and every vote cast.

Dominion Voting Systems has invested in the development of proprietary technology that truly sets its products
apart from the competition. Dominion’s core technologies focus on ensuring two key aspects of the electoral
process – accuracy and transparency.




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Dual Threshold Technology (Marginal Marks)

From its early beginnings, Dominion Voting has emphasized the use of digital scanning, and continues to set
the standard in digital image acquisition and analysis in the tabulation of digitally scanned ballots. When a
hand-marked ballot is scanned by an ImageCast tabulator – at the precinct level or centrally - a complete
duplex image is created and then analyzed for tabulation by evaluating the pixel count of a voter mark. The
pixel count of each mark is compared with two thresholds (which are defined through the Election Management
System by the Election Official) to determine what constitutes a vote.

If a mark falls above the upper threshold, it is determined to be a valid vote. If a mark falls below the lower
threshold, it will not be counted as a vote. However, if a mark falls between the two thresholds (known as the
“ambiguous zone”), it will be deemed as a marginal mark and the ballot will be returned to the voter for
corrective action (please see diagram below).

With this feature, the voter is given the ability to determine his or her intent at the time they cast their ballot, not
an inspection or recount board after the fact, when it is too late. The chart below illustrates the Marginal Mark
threshold interpretation.




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Dominion’s Exclusive Digital Ballot AuditMark
Dominion’s AuditMark technology will allow the State of Michigan to provide greater transparency in the
electoral process. Every single ballot in the election is imaged and appended with Dominion’s patented
AuditMark, a record of how the system interpreted the voter’s intent. The AuditMark is the only technology
that provides a clear and fully auditable single vote cast record for every ballot cast.

This ballot-level audit trail allows election officials and other stakeholders to review not only the ballot images,
but also the tabulator’s interpretation of each ballot.

Hand-marked Ballot Image with Audit Trail:

This is a sample ballot image for a
centrally-processed ballot. All ballots are
imaged and stored for auditing purposes.
The image contains:
    1. Image of front side of ballot (if the
       reverse side of the ballot is used,
       the image is also captured)

    2. Clear image of all text, ballot
       identifiers, candidates and voter
       markings.

    3. AuditMark: Ballot-level audit trail
       feature showing the results
       interpreted by the system for this
       ballot.




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Verifiable Choice Summary Ballot Image with Audit Trail:


This is a sample ballot image for a
centrally-processed verifiable choice
summary ballot. All ballots are imaged and
stored for auditing purposes. The image
contains:
   1. Image of the Verifiable Choice
      Summary Ballot.

   2. Voter’s choices are encrypted and
      digitally signed in the secure
      barcode image that can only be
      scanned and decrypted by
      Dominion’s ImageCast tabulators.

   3. Clear image of all text, ballot
      contest headings, and voter
      choices.

   4. AuditMark: Ballot-level audit trail
      feature showing how the tabulator
      decrypted the barcode image and
      counted the voter’s choices.
      Comparing the AuditMark to the
      written summary verifies that the
      system accurately recorded the
      voter’s selections.




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The AuditMark Advantage


Transparency: Our system is the only one that stores a complete image of every ballot cast, along with the
audit trail for that ballot visually affixed to the image.

Accuracy: The audit trail shows how the tabulator interpreted the voted ballot markings or the secure barcode,
at the time the ballot was cast. By viewing this image, an election official can easily verify that the tabulator has
correctly interpreted the voter’s selections on the ballot.

Trust: Furthermore, by randomly opening a small number of image files and verifying that the audit trail
displays the correct results, the election official can quickly develop a high level of confidence that all of the
ballots have been interpreted correctly.

In practice, the AuditMark feature can be used as:

      a method to test machine integrity before an election

      a method of obtaining confidence that the equipment is functioning properly

      a method to completely audit the entire election

      a method to enhance re-counts




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ImageCast Precinct – The world’s most reliable optical scan tabulator


Highlights



       The ImageCast Precinct is one of the most widely used tabulators with over
        100,000 units deployed worldwide

       It is one of the most reliable optical scan tabulators, that safely stores and
        tabulates each vote from every ballot – including hand-marked ballots and
        verifiable choice summary ballots

       It is designed to be easy-to-use for both voters and poll workers

       Lightweight (14lbs), easy to store, carry and set-up

       Designed by engineers to withstand the most challenging environments




The ImageCast Precinct tabulator is a lightweight, robust and easy-to-use optical scan tabulator. With major
deployments including 82,000 units in Philippines, 11,000 units in New York, and 2,500 units in Mongolia, the
ImageCast Precinct is the most reliable optical scanner ever developed.

The system scans marked paper ballots, interprets voter marks on the paper ballot and safely stores and
tabulates each vote from each paper ballot. The ImageCast Precinct is also designed to read and tabulate
verifiable choice summary ballots produced on the ImageCast X, which include a 2D barcode read by the
scanner, as well as a human-readable text summary of the voter’s selections.

The ImageCast Precinct reads single and double-sided ballots in four orientations, and accepts striping and
colored headers to distinguish ballots.

The ImageCast Precinct is designed to be “plug and play,” making it very straightforward and quick to set up
for poll workers. The ImageCast Precinct will power on upon plugging in the AC power cord. The poll worker
will apply their iButton and enter their credentials to open the polls and print the zero tape, and the ImageCast
Precinct tabulators are ready to commence standard voting and accept ballots.

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At the polling place, the voter makes their selections by filling in the voting targets next to their choices, or
makes their selections on the ImageCast X ballot marking device which then prints a paper ballot. The voter
then inserts their ballot directly into the ImageCast Precinct, which performs the following functions:

   •   Scans the ballot and interprets the digital image to tabulate the voter’s choices
   •   Appends to the bottom of the ballot image a record of how that ballot was counted on Election Day
       (known as the AuditMark)
   •   Redundantly stores and tallies the results
   •   Prints cumulative totals of all votes cast after the polls have been closed

Standard features
   •   200 dpi scanner
   •   Security detector (optional)
   •   Internal diverter
   •   VVSG 2005 security
   •   2 memory cards
   •   AuditMark capability
   •   Ultra-sonic multi-feed detector that prevents the device from accepting more than one ballot a time.




          ImageCast Precinct on the Dominion Ballot Box




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The ImageCast Precinct – a lightweight but robust and versatile
                          tabulator




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Sample ImageCast Precinct Screenshots

The ImageCast Precinct tabulator provides feedback, messages, and instructions to voters and poll workers.

                                                 As discussed in response to requirement
                                                 1.1.A.8 in Exhibit A – Attachment 1.1, the
                                                 ImageCast Precinct display alerts voters to
                                                 any and all voter/ballot errors with clear
                                                 language describing the error, before
                                                 accepting the ballot for tabulation. The
                                                 example at left shows the tabulator’s message
                                                 after detecting an overvoted contest, giving the
                                                 option for the voter to either cast their ballot
                                                 as-is, or return it for correction.




                                                 As discussed in response to requirement
                                                 1.1.A.13 in Exhibit A - Attachment 1.1, the
                                                 ImageCast Precinct display shows the total
                                                 number of ballot cards cast.




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As discussed in response to requirement 1.1.A.27 in Exhibit A - Attachment 1.1, the ImageCast Precinct has
a fitted, lockable, and sealable hard plastic lide (the ballot box cover) that completely covers the unit, protecting
it from direct water contact.
As discussed in response to requirement 1.1.F.3 in Exhibit A – Attachment 1.1, the ImageCast Precinct
tabulator presents clear messages to the user if a paper jam is detected. Paper jams in the ImageCast Precinct
tabulator are rare, but can occur due to such reasons as wrinkled or bent edges on the ballot.

When a paper jam occurs, the screen displays the message “PAPER JAM DETECTED…” with a button
labeled “CLEARED” at the bottom-right corner. Paper jams can occur at the ballot entry slot as soon as the
ballot is fed into the tabulator or at the exit slot when the ballot is being dropped into the ballot box. In each
scenario, the screen will display the relevant message as shown below:




Paper jam message (entry slot)                         Paper jam message (exit slot)


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ImageCast Precinct Report Tapes

ImageCast Precinct Zero Tape




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ImageCast Precinct Results Tape




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ImageCast Precinct Simple and Complete Diagnostics Reports




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ImageCast Precinct Tabulator Information Report




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ImageCast Precinct Sample Preventative Maintenance Checklist




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ImageCast Ballot Box

Dominion has designed an innovative, complementary ballot box, pictured below, for our precinct tabulators. It
is built of sturdy plastic, and features four large lockable swivel wheels and handles on all sides for ease of
movement, allowing the units to be securely transported to and from the polling place. Since it has no internal
moving parts, the ballot box can also accommodate Election Day supplies when it is not storing ballots. For
security purposes, the ballot box features five locks and multiple security seal points to limit access and
prevent tampering.

When the poll worker arrives to set up, they will unlock the cover, plug the ballot box into the wall plug, and the
system will turn on and be ready to print the zero tape. All other components are already attached, keeping
polling location issues to a minimum.


Standard Features
   • The ImageCast Ballot Box is made from solid extruded plastic and built to the requirements of the EAC.
   • The ballot box capacity meets US polling place requirements, with three bins (main bin, write-in bin,
      and auxiliary/emergency bin).
   • The ImageCast Precinct tabulator locks and seals onto the ballot box, which features a cover that
      provides additional security and ease of transportation.
   • Features a sealed plastic base and is water resistant.
   • Offers multiple deployment and warehousing options.




Plastic Ballot Box – with the lockable cover (left), and showing the three interior compartments (right)




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ImageCast X – It’s everything you want it to be


Highlights


      Today, voters and election officials are increasingly looking to leverage everyday technologies to
       improve the voting process and experience. Dominion is listening to our customers, and has designed a
       touchscreen precinct-voting terminal that combines the flexibility, efficiency, and simplicity of
       modern technology, with an underlying platform of security and performance - Democracy Suite.

      Fully integrated into the Democracy Suite platform, the ImageCast X takes full advantage of
       commercially available hardware, making it a cost-effective and flexible solution.

      The ImageCast X also offers options for voters with accessibility needs – ranging from contrast
       and text size, to being able to toggle between languages during the voting session or listen to an audio
       ballot, as well as allowing for the use of personal assistive devices, such as a sip and puff.

      The touchscreen interface is user-friendly and intuitive for poll workers and voters, improving the
       voting process and experience.

      The ImageCast X prints a verifiable choice summary ballot that is scanned on the ImageCast
       Precinct or ImageCast Central.

      As with all other ImageCast products, the ImageCast X has been designed with a high level of
       security that meets the latest EAC VVSG requirements while maintaining ease of use.

      Similarly, as with all other ImageCast tabulators, the ImageCast X benefits from Dominion’s
       patented exclusive ballot-level audit trail, the AuditMark, which not only creates a digital image of
       every ballot cast, but also appends to that image a record of how the voter’s selections were interpreted
       by the voting system.




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Fully integrated into the Democracy Suite platform, the ImageCast X takes advantage of commercially
available technologies and is driven by a robust, secure and flexible application developed by Dominion. The
use of compact, commercially available hardware makes the ImageCast X a cost-effective and versatile in-
person voting solution. It requires less space to warehouse and is more affordable than larger proprietary
solutions, while at the same time offering full ADA compliance.

The ImageCast X has an intuitive touchscreen interface with various features for accessibility, and connects to
a printer that prints the voter’s ballot directly in the voting booth. Once the ballot is printed, the voter scans their
ballot on the ImageCast Precinct, the same as all other voters.

Training for election poll workers is minimal and straightforward. When a voter checks in to vote, the poll
worker will verify the voter’s credentials and program a Smart Card using the Smart Card writer/reader. The
Smart Card is used to activate a voting session on the ImageCast X and to present the voter with their correct
ballot style. No information that can identify the voter is programmed on the Smart Card. Once the voter has
printed their ballot, the Smart Card is inactivated and can be returned to be re-programmed for the next voter.




                           The ImageCast X is a universal voting device that is software-driven and
                                       leverages the flexibility of COTs technology




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                                       The voter will insert their Smart Card to activate the
                                       voting session on the ImageCast X. If available, the
                                       voter will be prompted to choose their preferred
                                       language for their voting session. The voter will
                                       automatically be presented with the first contest on
                                       the ballot. The voter will navigate the ballot contest-
                                       by-contest by touching the screen to select options,
                                       candidates, and text for write-in candidates. The
                                       voter can change or cancel their selection by
                                       deselecting their previous choice.




                                                                                                  The ImageCast X features an
                                                                                                      intuitive touchscreen


                                                    The voter can also change the text size or contrast of the display.
                                                    The View button allows the voter to change the display to high
                                                    contrast white on black, or black on white. The text size button
                                                    allows the voter to change the text size.

                                                    At any time, the voter can select the Review button to view their
                                                    selections on their ballot. The ballot review will show all of the
                                                    contests on the ballot, and give warning messages if there are any
                                                    issues with the ballot, such as an undervote or blank contest. If the
                                                    voter wishes to modify a contest, they simply touch that contest from
                                                    the review screen and they will be taken directly to that contest page
                                                    so that they can update their selection(s).

                                                    Once the voter has reviewed their ballot and has confirmed they are
                                                    ready to print, the ImageCast X can print a verifiable choice
                                                    summary ballot which contains a written summary of the voter’s
                                                    choices, as well as a 2D barcode which is read by the ImageCast
                                                    Precinct. No voter selections are stored on the ImageCast X.




The ImageCast X features an intuitive touchscreen
   interface that the voter navigates contest by
                      contest




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                   At any time the voter can change the text size or contrast of the display, as well as
                                              see a review of their ballot.




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Accessibility

Designed as a voting solution for all, the ImageCast X
also offers several options for voters with accessibility
needs to vote in a private and independent manner.
The ImageCast X offers the following user interfaces:

   •    Visual mode: Voter navigates their ballot using
        one of the available accessibility tools and the
        visual display
   •    Audio mode: Visual display can be disabled
        and the voter uses headphones to navigate an
        audio ballot using one of the available
        accessibility tools
   •    Visual & audio mode: Voter navigates their                        The ImageCast X pictured here with joystick and paddle button
                                                                                           accessible voting devices.
        ballot using one of the available accessibility
        tools, the visual display, and the audio ballot

                                                              In addition to the touchscreen functionality, the ImageCast X is
                                                              compatible with a range of accessibility tools that voters can
                                                              use to navigate through the ballot and make their selections.
                                                              The system is compatible with commercially available
                                                              accessibility devices, such as a four-way joystick, as well as a
                                                              hand-held controller called the Audio Tactile Interface (ATI),
                                                              sip and puff device, or paddle device.




       The ImageCast X is compatible with a range of
    accessibility tools and can present the ballot in audio
        only, visual only or both audio/visual mode.




The Audio Tactile Interface (ATI) is the handheld device that is used by a voter during an Accessible Voting
Session to navigate through and make selections to their ballot. The ATI:

   •    Has raised keys that are identifiable tactilely without activation (i.e. raised buttons of




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       different shapes and colors, large or Braille numbers and letters)
   •   Can be operated with one hand
   •   Includes a 3.5 mm headphone jack
   •   Includes a T-Coil coupling
   •   Has a T4 rating for interference
   •   Uses light pressure switches
   •   Can be equipped with a pneumatic switch,
       also known as a sip and puff device, or a set
       of paddles.

The ImageCast X can present the ballot in audio only,
visual only, or both audio and visual modes,
depending on personal preference. Voters can adjust
the rate and volume of their audio ballot, as well as
the text size and contrast of the display, or disable the
display entirely for added privacy. Every voter
conﬁgurable option is automatically reset to its default
value with the initiation of each new voting session.

Voters are able to review, verify and correct their
selections prior to printing their ballot, by audio and/or
visual means. Voters are warned if they have missed,
or undervoted a contest, and have the opportunity to               Voters can adjust the rate and volume of their audio
go back and correct their selections. Once the ballot                                     ballot.
is printed, the voter scans their ballot on the
ImageCast Precinct, the same as all other voters.

The ImageCast X was recently deployed in the State of Colorado as
part of their Uniform Voting System initiative, where it received the
highest usability ranking by in-person voters with disabilities. The
ImageCast X features the latest technological advances in accessible
voting technology, providing more options for voters with accessibility
needs to vote privately and independently.




                                                                                   The ImageCast X features many options for
                                                                                            voters with disabilities.




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ImageCast Central – Scalable & Efficient High Speed Scanning


        Dominion’s ImageCast Central tabulation system was designed with efficiency in mind. Most
         central count solutions that exist in the market today are large, expensive, proprietary solutions that
         are not scalable, efficient or easy to use or maintain.

        The ImageCast Central makes use of industry-leading commercial-off-the-shelf (COTS) hardware
         to decrease capital costs and minimize risk of hardware failure. So no matter the size of the county,
         adding multiple COTS scanners increases efficiency without breaking the bank.

        The ImageCast Central is engineered for operational simplicity. Step 1- The user loads a batch of
         ballots and presses ‘scan’ – Simple! Step 2 – When the batch scan is complete, the user presses
         ‘accept’ – Easy! The ImageCast Central continues scanning ballots until there are none left.




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Dominion’s ImageCast Central, like all of our ImageCast products, stores the ballot image with the secure
AuditMark. The system’s flexibility allows the jurisdiction to customize out-stacking conditions, such as
overvotes, undervotes, marginal marks, and certified write-in contests. The ImageCast Central has all
the tools election officials are looking for to make their central count process easy and more efficient.

With the ImageCast Central count solution, Dominion focused its efforts on how to create efficiency using lower
cost, off-the-shelf scanners which meet the VVSG 2005 standards, and software that streamlines the process.
Dominion has included two scanner options in this proposal, the Canon DR-G1130 and the smaller scale
Canon DR-M160II.

The software is intuitive and requires minimal training for users. It is simple - the operator loads the batch into
the scanner; presses scan. When complete, the operator presses the accept button and moves on to the next
batch. The operator does nothing but process the ballots. The system’s intelligence does the rest. Along with
the requisite COTS hardware, the ImageCast Central provides ample flexibility to meet the needs of small,
medium and large jurisdictions. ImageCast Central allows jurisdictions to consolidate results in an efficient
environment, in real time.




             Jurisdictions can add ImageCast Central units to maintain efficiency while remaining cost-effective.



This use of less expensive and compact third-party devices enables the ImageCast Central count solution to
offer higher sustained throughputs in the face of hardware failures, flexible site layouts when space is at a
premium, and access to a vast pool of readily available replacement parts and certified technicians. All of these
factors translate to improved maintainability, and lower cost of ownership.

Central scanning is typically used to process absentee or mail-in ballots. The election definition is taken from
EMS, using the same database that is utilized to program any precinct scanners for a given election. Multiple
ImageCast Central scanners can be programmed for use in an election. The ImageCast Central application is
installed and later initialized on a computer attached to the central count scanner. Ballots are processed
through the central scanner(s) in batches based on jurisdictional preferences and requirements.

The ImageCast Central stores ballot images by scanned batches. The scanned ballot images are migrated to
the Election Management System through computer networking or removable media. As with results data from




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any precinct scanners in use for an election, Results Tally and Reporting is the portion of EMS that processes
the images to provide tabulation and operational reports to the jurisdiction.

Batches can be appended, deleted, and processed in a number of ways to suit typical election workflows,
intake of ballots before, during, and after Election Day, jurisdictional requirements surrounding absentee ballot
tabulation, and canvassing needs. The ImageCast Central also features all of the technological advances
present in the precinct-level tabulators – the AuditMark and the Dual Threshold technology.

ImageCast Central Reports


Sample ImageCast Central reports can be found in Appendix 2d – Sample ImageCast Central Reports.




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ImageCast Central Sample Preventative Maintenance Checklist




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                     Mobile Ballot Printing Module



Highlights

       Simple: No unnecessary complexity – simple interface and voter registration integration
        makes it easy for election staff to quickly print the correct ballot style for each voter.

       Secure: Strong auditability features ensure security and transparency.

       Flexible: The Mobile Ballot Printing module is hardware “agnostic,” giving you the flexibility to
        use your existing print hardware or leverage other commercially available off-the-shelf
        (COTS) printers.

       Efficient: Save on additional printing and storage costs associated with having to provide
        multiple ballot styles to every “Vote Anywhere” location.

       The Mobile Ballot Printing Module allows you to easily print ballots for any election whenever
        and wherever needed – at the central office, at the precinct, or other remote locations. The
        system is fully integrated with Democracy Suite.

       The system is portable and simple to set up in any location. Since the system is hardware
        “agnostic,” the jurisdiction has the flexibility to use their existing print hardware, or leverage
        other commercially available off-the-shelf printers that print high-quality paper ballots. Not all
        systems can offer this flexibility in printer choice.

       The user-friendly interface, along with integration with a variety of voter registration systems,
        makes it easy for election staff to quickly print the correct ballot style for each voter. The
        Mobile Ballot Printing module simplifies ballot management and logistics – you no longer
        need to worry about stacks of different ballot styles in the precinct and about estimating the
        correct number of ballots to print.




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Results Accumulation


There are several methods to upload or transmit encrypted vote totals from the precinct tabulators and/or
AVCBs to the Elections Office.

Method 1 – Returning memory cards from each tabulator to the Elections Office

Using this method, after the poll worker closes the polls, the memory cards with the encrypted vote totals are
removed from their slots in the ImageCast Precinct units, and are returned to the Elections Office for manual
upload to the Results Tally and Reporting module.



                       Method 2 – Dial-up and Cellular Modem transmission

                       The ImageCast Precinct tabulators can be deployed with remote transmission options
                       to transfer encrypted results files from the precinct (if used as Election Day tabulators)
                       or hub (if used as AVCBs) to the Elections Office. This can be done by landline modem,
                       or by wireless cellular modem.

                    ImageCast Precinct: The ImageCast Precinct tabulators are equipped with internal dial-
up modems, and can also transmit results via an external cellular modem.

Transmission of results via modem is a very intuitive process, involving minimal input from a poll worker. After
the polls have been closed, the poll worker has the option to select “Results Transfer” from the Main menu.
The results transfer settings, which contain precinct-specific network data pre-configured from the EMS
System, will appear. To upload the results to the ImageCast Listener server, the poll worker presses “Start”
within the Results Transfer option.

The modem must be plugged into the unit in order to begin results transmission. The intuitive user interface on
the tabulator informs the poll worker of the status of the upload and when it is completed, as seen on the
screenshots below.




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                   ImageCast Precinct – Modem transfer interface examples




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ImageCast Listener




The ImageCast Listener module is responsible for receiving and tracking encrypted results file transmissions
from any ImageCast Election Day tabulator.
Unlike traditional results transmission using FTP/SFTP, the ImageCast Listener uses a secure and proprietary
protocol for establishing an authenticated connection with the ImageCast tabulators. The ImageCast Listener
verifies the signature of the results file upon receipt and immediately informs election officials whether the file is
valid or if any suspicious activity is detected. Results files are encrypted using AES-128 or AES-256. They are
signed with SHA-256.




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If the ImageCast Listener recognizes the transmitted files as valid, they are automatically made available for
loading into the Results Tally & Reporting module in the main Election Management System server.

As mentioned above, ImageCast tabulators at the voting location will receive confirmation from the server that
the results transmission was successful, or in rare cases, prompt the poll worker to retry the transmission. At
the Elections office, election officials can view the upload status of all ImageCast tabulators deployed in the
field from a single intuitive dashboard.

The ImageCast Listener service resides on an independent server from the main EMS server, and is protected
by a dedicated firewall appliance. The firewall’s client software includes a suite of monitoring tools for
traceability of all external network traffic, including source and destination IP addresses. The ImageCast
Listener’s audit log also records all transmission activity, allowing for full auditability for a given election.



                       Method 3 – Results Transfer Manager

                       Similarly to Method 1, memory cards with the encrypted vote totals are removed from
                       their slots in the units and brought to a local hub. At the hub, the memory cards are
                       inserted into a card reader connected to an Results Transfer Manager client laptop with
                       a secure Internet connection. The Results Transfer Manager will automatically upload
                       the encrypted results files, and transmit them to the ImageCast Listener server, in a
                       manner similar to results sent via modem. Once the files are received, they are
                      available for loading into the Results Tally & Reporting module of the EMS system.




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                        Election Night Reporting
                          As an optional additional feature, Dominion offers enhanced Election Night Reporting
                          tools to create an Internet-based graphical display of results, which provides an
                          attractive and dynamic focus on election night. Our cross-platform (mobile-friendly)
                          results display based in HTML5 is our standard and most popular configuration. The
                          report display runs in real-time on the Internet, updating as results are released from
the results tally module by officials. It can be projected on public display screens, such as County Offices, fed
to local television stations, and displayed on the county or state’s website. Dominion has different report
layouts available, and can configure the display with the jurisdiction’s logos and colors.




The Internet-based graphical display is completely automated and runs behind the scenes. Once
election officials have released a set of results, XML files are created and transferred to a local FTP directory
(or via an external memory device), and the graphical display is automatically updated. This XML file is in an
internationally defined election format called EML (Election Markup Language). As such, the election results
are transferred in a format that can be easily read by news media, if they wish to import the XML files into their
own display program (or they can simply use your Dominion graphical report for broadcast).




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                      Example of the Election Night Reporting module web display




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                       Electronic Ballot Delivery – Dominion’s ImageCast Remote (UOCAVA)


                       Dominion’s ImageCast Remote UOCAVA system offers a secure and efficient means
                       for overseas and military voters to receive, mark, print and return their ballot to their
                       local elections office. The ImageCast Remote UOCAVA system ensures the security
                       and transparency of the balloting process while preserving the privacy of UOCAVA
                       voters.

Fully integrated and supported by Democracy Suite, the ImageCast Remote UOCAVA system allows election
officials to conduct a seamless election, without the need for a separate database or election project. Ballots
returned by UOCAVA voters can be processed on ImageCast Central, eliminating the need to duplicate
ballots or process UOCAVA ballots on a separate system.




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            System Security Overview


            Dominion implements security protocols that meet or exceed EAC VVSG 2005 requirements. All of
Dominion’s security protocols are designed and implemented to stay current with the rapidly evolving EAC
security requirements set forth by various iterations of the VVSG.

Dominion’s security technology is unprecedented insofar as it takes into account every aspect and every
component of the Democracy Suite platform. This includes – but is not limited to – the full encryption of
election projects, iButton security keys, Compact flash cards, election data, software applications, elections
results files, and data transmission. In addition, Dominion developed a custom ballot authentication system
built around an (optional) secure ballot paper stock and in-tabulator authenticators.

Maintaining Data Integrity
Data generated by the Democracy Suite platform is protected by the deployment of FIPS-approved symmetric
AES and asymmetric RSA encryption. The Democracy Suite Election Management System uses these
techniques to encrypt election files prior to their use on ImageCast tabulators. Once the polls have been
closed, the ImageCast tabulators encrypt all of the results files prior to transmitting them back to EMS.

SHA-256 hashes are used for all data integrity and verification. Should an intrusive process or altering of any
file occur, hash values will be, in turn, altered as well. With that said, any presence of an intrusive process will
be detected, as the hashes of any altered data will not match the value initially determined.

EMS Security
To protect any modification of software by malicious users, the Democracy Suite Election Management System
integrates the Microsoft .NET Framework code signing process, within which, Dominion Voting digitally signs
every executable and library (DLL) during the software build procedure. After the installation of Election
Management software, only successfully verified EMS software components will be available for use. Digital
signature verification is performed by the .NET Framework runtime binaries. If a malicious user tries to replace
or modify any EMS executables or library files, the digital signature verification will fail and the user will not be
able to start the EMS application.

Role-based Access Controls
Democracy Suite integrates a role-based access control system for all software and hardware components.
Each user accessing the system is the member of one of the predefined or custom-made roles. Each role has
its own set of permissions, or actions that users of that role are allowed to perform. This access control
approach provides authentication and authorization services and can be granular according to the jurisdiction’s
needs and organization. Complete user and role membership management is integrated within the Democracy
Suite EMS Election Event Designer client module.
The Democracy Suite EMS platform implements role-based user management for provisioning access control
mechanisms on each election project. Managing access control policies is integrated within the User
Management activity of the EMS EED module. This activity is permitted only for users with administrative
privileges.




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Hardware Access Controls
Democracy Suite utilizes hardware-based security
tokens (iButton security keys) in the process of
access control for ImageCast Precinct tabulators.
These password paired hardware tokens contain
data encryption information used in the voting
process (encryption and signing keys). Without a
valid security token, and paired access password,
the administrative functions of election tabulators
are effectively locked.

                                                            The poll worker applies his/her iButton security key to the tabulator

Communications
For communication channels (as well as data storage) a combination of security techniques for data integrity,
authenticity and confidentiality is implemented. Democracy Suite integrates AES or RSA encryption algorithms
for data confidentiality, along with SHA-256 and HMAC digital signatures for data signing (data authenticity and
integrity). The system does not require external Internet connections.

Effective Password Management
Proper password management requires multiple activities and controls, namely:

   -   Input data validation
   -   Data quality
   -   Utilization of one-way (hash) cryptography
   -   Computer generated passwords for greater entropy and protection from dictionary attacks
   -   Different password strength profiles for different user levels
   -   Utilization of hardware tokens for storing user credentials (two-level authentication security: something
       you know and something you have)
   -   User state machine (initial, active, inactive)




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All of these activities and controls are integrated within the Democracy Suite platform.

Dominion utilizes authentication and authorization protocols that meet EAC VVSG 2005 standards. In addition,
Dominion’s solution relies on industry-standard security features to ensure that the correct users based on a
user role or group are granted the correct privileges. Finally, each jurisdiction is responsible for ensuring that
only authorized personnel have access to both the system and tools used for installation and configuration
purposes. All back end system, and tabulator operations are continuously and completely logged at all times
to maintain a complete record of all election-related processes.




                                File Type to Security Algorithmic Mappings


EMS Audit Log
From the initial state of the election project, until the deactivation state, the EMS system maintains an activity
log within the EMS Database. This activity log contains every action that any of the users have performed
within the system and represents a detailed audit log that can be analyzed and printed in the form of an audit
report. The audit record information cannot be modified or permanently deleted using the EMS client
applications. It can, however, be exported for archiving purposes as part of the record retention policy. Keeping
in mind that audit log information can contain a significant amount of information, it is the responsibility of the
administrative user to perform regular archiving of the log.

During the voting phase of the election event, ImageCast devices also keep an activity audit log which tracks
events happening on the device itself.




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Tabulator Security


Electronic Safeguards and Security
To access any of the administration functions of the ImageCast tabulators, an electronic iButton security key
has to make contact with the iButton security key receptacle on the cover of the unit.

Access to the unit can be granted to two different levels of people:
     • The poll worker iButton security key is used by the poll worker to access all poll worker functions.
     • The Technician iButton security key is used by a Technician with authorized access to update and
         verify firmware.
In the power on sequence, the unit will not function until the poll official accesses the administrator access
screen. The ImageCast tabulators are unlocked by an iButton security key, which is used to:
     • Authenticate the software version (ensuring it is a certified version that has not been tampered with)
     • Decrypt election files while processing ballots during the election
     • Encrypt results files during the election
     • Provide access control to the unit
It is anticipated that the iButton security keys may get lost; therefore, any substitute key created for the same
tabulator will allow the unit to work fully.

A valid poll worker iButton security key will grant access to the admin screen from which the following
operational functions can be accessed:
   • Diagnostics Test
   • Provisional Voting/Ballot Test
   • Opening Poll
   • Accessible Voting
   • Closing Poll
   • Reports
   • Election Statistics
   • Re-Open Poll
   • Re-Zero Poll
   • Power Down
   • Ballot Review

Internal Battery
In the event of a power failure, ImageCast tabulator units have an internal Lithium Ion rechargeable battery
with a two-hour life.




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In the case of a power failure, including full power drain, restarting places the unit in “Interrupt” mode, in which
the previously stored election data is reloaded when the unit resumes operation. If there is catastrophic
electrical or mechanical damage, the memory cards are inserted into a spare unit. When powered on, the unit
resumes operation using the previously stored election data.

Results Storage Media
The ImageCast tabulators have sockets for two removable, non-volatile Compact Flash cards (Primary and
Administration), both of which are accessible from the unit and stored behind sealable doors. The content of
each card is encrypted and signed.

The system saves election and voting data simultaneously to both locations, keeping the content of both
memory cards in sync. The administrative memory card holds a copy of the election results and audit log from
the primary card. The memory cards will retain data for over twenty-two months, as per EAC VVSG 2005
Volume I requirements.

                                                                 Memory Card Size
 Ballot Size         Approx. Ballot         4GB                   8GB             16GB
 (Single-sided)      Image Size (KB)
 8.5” x 11”          250                    14000                  30000             62000
 8.5” x 14”          277                    12600                  27000             55800
 8.5” x 17”          312                    11200                  24000             49600
 8.5” x 20”          334                    10500                  22400             46400
 8.5” x 22”          357                    9800                   21000             43400
 Ballot Size
 (Double-sided)
 8.5” x 11”          357                    9800                   21000             43400
 8.5” x 14”          454                    7700                   16500             34100
 8.5” x 17”          499                    7000                   15000             31100
 8.5” x 20”          555                    6300                   13500             27900
 8.5” x 22”          624                    5600                   12000             24800

                                        ImageCast tabulators memory media capacity

Media Storage Security
The entire set of data files supporting the election are contained on the Primary Compact Flash device. The
files stored on these cards allow for recovery from external conditions that cause equipment to become
inoperable. The election results, device logs and scanned ballot images are recoverable from the secondary
memory card. Further, the AuditMark functionality can be used to independently verify the total votes for any
particular candidate or ballot issue.




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Tabulator Audit Trail
The tabulator Audit trail file is stored on the Compact Flash memory card, and contains a chronological list of
all messages generated by tabulator software. All audit record entries include a time-and-date stamp. This file
is encrypted and digitally signed to protect its integrity.
During the final results tally audit activity, the automated audit log of each optical scanner is input into the
EMS Results Tally and Reporting system for a consolidated record.
This tabulator Audit trail file will include:
        System startup messages (recorded by Application Loader).
        System self-diagnostic messages (module initializations, security verifications).
        All administrator operations (messages include “security key” id names).
        All ballots cast, rejected and diverted.
        All voter notifications (undervotes, overvotes).
        All system errors (paper jams, power failures, hardware failures, data errors, etc.).
        Source and disposition of system interrupts resulting in entry into exception handling routines.
        All messages generated by exception handlers.
        Notification of system login or access errors, file access errors, and physical violations of security
           as they occur, and a summary record of these events after processing.
        Non-critical status messages that are generated by the machine's data quality monitor or by
           software and hardware condition monitors.

All audit logs are digitally signed. If there is tampering of the audit data or logs, this is detected by the operating
unit. The unit reports ‘Election file mismatch’ and will not operate since modifying the audit files can only
indicate malicious usage.

Every action, event, and operation that occurs on ImageCast tabulators is permanently logged to an audit log
file that exists on both memory cards. Every event and operation that occurs on the election management
system is kept on the election project audit within the EMS Database. This file is signed and encrypted.

Audit logs are available to operators at all times. On the optical scanners, these can be accessed from the
Administration menu, and printed. In EMS, a directory of audit files is accessed in the graphical user interface,
and can be printed. Operators with Administration privileges can access these files at any time.

Audit log records cannot be deleted nor modified. Users with proper authorization levels can generate and view
the audit report. Audit reports cannot be deleted.




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                              Exhibit 5 to Schedule A
                            Sample Ballots and Reports
                          See separate document (26 pgs.)




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                              Exhibit 6 to Schedule A
                          Michigan QVF Export File Format

                          See separate document (83 pgs.)




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                                           Exhibit 7 to Schedule A
                                        Results Transmission Overview

Refer to Exhibit 2 to Schedule A, 1.1-1.4, Technical Requirements: 1.2A.25, 1.2D.1 and 1.3.B.1. The
following provides a detailed description of the recommended infrastructure necessary for a county to design
and implement a LAN, modem based, or cellular transmission network for uploading unofficial results on
election night.

Precinct and RTM Transmission with ImageCast Listener

The ImageCast Listener is an add-on component to the base EMS system—it is designed as a turnkey
solution for jurisdictions to implement results transmission from their precinct tabulators and/or RTM client
laptops. The system supports wireless cellular/internet-based transmission, analog dial-up modem
transmission, or both, providing flexible options to meet a jurisdiction’s particular requirements and
preferences. The jurisdiction is responsible for providing external access to the back-end receiving
infrastructure.

The base ImageCast Listener system consists of two pieces of hardware: the ImageCast Listener (ICL) server
and a firewall appliance (WatchGuard Technologies Firebox M200 or XTM 25). When dial-up transmission is
used, an additional Remote Access Server (RAS) is required. The RAS server uses analog USB modems,
connected to the server via a powered USB 3.0 hub.

In addition to the base EMS system, the required components for the ImageCast Listener system, using
wireless/internet transmission are:
    • ImageCast Listener Server (Dell PowerEdge R330 recommended)
    • WatchGuard Technologies Firebox M200 or XTM 25 firewall appliance
    • 2 x CAT5e or CAT6 Ethernet cables
    • 1 x external wireless modem (eDevices CellGo) per precinct (multiple tabulators in a precinct can share the same
        modem if transmission is performed serially, rather than simultaneously).

When dial-up transmission is used, the RAS server component is required in addition to the components listed
above:
    • Remote Access Server (Dell PowerEdge R330 recommended)
    • Powered 10-port USB 3.0 hub
    • USB analog dial-up modems (up to 10)
    • 1 x CAT5e or CAT6 Ethernet cable
Note: analog modems on the transmitting end are built into the ImageCast Precinct tabulator.




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The EMS Results Transfer Manager (RTM) application requires the following components:
   • Laptop (with internet access)
   • Compact Flash (CF) card reader/writer

Complete instructions for installing and configuring the ImageCast Listener and RAS servers can be found in
the system installation documents (2.08 ImageCast Listener System Operation Procedures, RAS Installation
and Configuration Procedure and EMS RTM User’s Guide).

Note: these documents currently describe the configuration steps using screenshots from Microsoft Windows
Server 2008 R2 Standard, however the 5.0-S system uses Microsoft Windows Server 2012 R2 Standard. The
configuration steps are the same on both platforms.




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For wireless/internet-based results transmission, a static external IP address at the jurisdiction’s central office
is required. Dominion recommends that jurisdictions use a dedicated external internet connection for this
purpose, however jurisdictions may choose to route the TCP/IP traffic from their existing firewall, through their
internal network to the ImageCast Listener firewall. Note that the diagram above illustrates both modes of
external internet access, although only one is required.

Note also that the diagram depicts the EMS Standard configuration. The EMS Express configuration
substitutes the EMS Standard Server and EMS Workstation with a single EMS Express Server machine
(running both server and client applications), and the WatchGuard Firebox M200 with the WatchGuard XTM
25. All other aspects of the system are identical to the EMS Standard configuration.
On the transmitting/sending end, precinct tabulators require an external wireless modem and an active GSM
SIM card with cellular data services enabled (CDMA-based cellular networks are not supported at this time).
RTM clients run on a laptop that requires an internet connection.

For dial-up results transmission, the jurisdiction is required to provide a bank of analog telephone lines that
connect to the Remote Access Server’s (RAS) analog modems. The analog dial-up transmission system does
not support digital telephone lines. These lines should be configured in a “hunt group” allowing a single
telephone number to be dialed from the precinct, with the call rolling over to the next available modem if the
primary line is busy. This configuration minimizes the chance of the tabulator receiving a busy signal and
needing to re-dial.

On the transmitting/sending end, precinct tabulators require an analog telephone line at the voting location,
which is connected to the tabulator’s internal dial-up modem.

Dominion recommends that jurisdictions perform a wireless test at each potential voting location to ensure that
adequate wireless signal is available. Analog phone lines at both the transmitting and receiving end should
also be tested prior to each election to ensure they are functioning correctly.


EMS Results Transfer Manager (RTM)

The EMS Results Transfer Manager application resides on a standalone, internet- or LAN-connected laptop.
The following steps are performed to transmit results securely to the central location:

   1. Jurisdictions remove the primary or backup Compact Flash memory card from the ImageCast Precinct
      tabulators and transport them to a regional office.
   2. The RTM application allows jurisdictions to rapidly load the ICP results files from the Compact Flash
      cards to the laptop using a CF card reader.
   3. All loaded results files are securely transmitted to the ImageCast Listener or to a local or shared
      network folder (see the following section for more details).

Note that the application also supports non-secure FTP transmission. Because the transmission channel is not
encrypted, this functionality is not suitable for use in jurisdictions in the United States. Only secure TCP/IP
transmission to the ImageCast Listener service, or shared folder transmission over secure VPN is permitted.

When RTM is used to transmit results to the ImageCast Listener, the ImageCast Listener Dashboard tracks
the progress of received results files, in the same way as when results are transmitted directly from the
ImageCast Precinct at the polling place.

Please see the EMS Results Transfer Manager User’s Guide for detailed installation and use procedures.



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EMS Results Transfer Manager With VPN Network

A purely LAN-based solution can be implemented using the RTM application, which allows jurisdictions to load
results from ImageCast Precinct memory cards at a regional office and send those results to a local folder or a
shared network folder within a secure Virtual Private Network (VPN). This solution does not require the
ImageCast Listener on the receiving end. Received results files are manually copied from the shared folder on
the jurisdiction’s secure network to the EMS Workstation machine using a removable medium, and loaded into
the EMS Results Tally and Reporting application.




It is entirely the jurisdiction’s responsibility to set up the required infrastructure for linking remote locations in a
wide-area network (for example, creating secure VPN tunnels between offices). Dominion can work with IT
departments to plan these solutions, but due to the variability of the networking and firewall equipment used by
different jurisdictions, cannot take responsibility for directly configuring or maintaining the jurisdiction’s VPN
infrastructure.

When RTM is used to transmit results to a shared network folder, without the ImageCast Listener, the
Dashboard is not available. Progress of results files can be tracked in EMS Results Tally and Reporting as
they are loaded into the system.




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                              Exhibit 8 to Schedule A
                   Dominion Voting System ImageCast Printing Brief
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                                          SCHEDULE B LICENSE AGREEMENT
                                                   Dominion Voting Systems, Inc.

                                    EMS AND SYSTEM SOFTWARE LICENSE AGREEMENT

1.   Definitions.
1.1. “Hardware" means the ImageCast® system defined in the                 3.2. Certification Requirement. Notwithstanding any other
State Contract.                                                            terms herein, Licensor shall not provide, and shall not be
                                                                           obligated to provide under any upgrade or other software update
1.2. “Licensee” shall mean the State and Authorized Users.                 that has not been certified under the applicable provisions of the
                                                                           election laws and regulations of the State of Michigan.
1.3. “Licensor” shall mean Dominion Voting Systems, Inc.
1.4. “Party” or “Parties” Licensor and Licensee may hereinafter            4. Prohibited Acts. The Licensee shall not, without the prior
be referred to individually as a Party and collectively as the             written permission of Licensor:
Parties.
                                                                           4.1. Transfer or copy onto any other storage device or hardware
1.5. “Software” means the Democracy Suite® and/or                          or otherwise copy the Software in whole or in part except for
ImageCast® software licensed by Licensor hereunder, in object              purposes of system backup;
code form, including all documentation therefore.
                                                                           4.2. Reverse engineer, disassemble, decompile, decipher or
1.6. “Specifications” means descriptions and data regarding the            analyze the Software in whole or in part;
features, functions and performance of the Software and
                                                                           4.3. Alter or modify the Software in any way or prepare any
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                                          EXHIBIT B-1

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   1.   Definitions.

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               the Licensor’s voting systems’ ballots, including without limitation, sample
               ballots and voting booklets.

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                          STATE OF MICHIGAN
                                                Contract No. 071B7700117
                                  Voting System Hardware, Firmware, Software and Service

                                                      SCHEDULE C
                                                        PRICING
   1.   The pricing schedule for the Contract Activities is in the cost tables on the following pages.

   2.   Pricing encompasses 5 separate tables (attached):
             •   Cost Table 1. Precinct Tabulators and Accessible Voting Systems
             •   Cost Table 2. Election Management System (EMS) Software –License Fee and Extended Service /
                 Maintenance (NOTE: this cost table has 2 parts: Tables 2a and 2b)
             •   Cost Table 3. OPTIONAL ITEM – High Speed AVCB Tabulator
             •   Cost Table 4. Component Replacement / Additional Parts
             • Cost Table 5: Additional Options/Costs – EMS Network Configuration options - The Contractor has
                 standard third party network configurations and related pricing for use by counties and select local
                 jurisdictions in implementing Election Management Systems (EMS) for the following environments:
                 Accumulation Only; Full EMS; Accumulation Only with modeming; and Full EMS with modeming.
                 Orders for these configuration components will be handled and negotiated separately between the
                 Contractor and their individual customers.

   3.   Prices include all costs, including but not limited to any one-time or set-up charges, fees, and potential costs
        that Contractor may charge the State/Authorized User (e.g., shipping and handling, per-piece pricing, and
        palletizing). Any element of the Contractor’s system with an associated cost (including optional system
        features) must be listed and included in one of the Cost Tables available.

   4.   Prices listed are fixed for the contract term, and represent the maximum prices per item. Notwithstanding the
        foregoing, the Contractor is authorized to negotiate pricing with individual counties that are lower than the prices
        listed here. Any and all lower negotiated prices must be communicated to the Program Manager immediately as
        they are finalized. Additionally, price changes may be proposed at the end of the initial service and maintenance
        period, (acquisition year + 4 years) for component replacement/additional parts only (Cost Table 4).




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Cost Table 1. Precinct Tabulators and Accessible Voting Systems

                                                                                                      EXTENDED SERVICE /
                                     PURCHASE AND INITIAL SERVICE / MAINTENANCE                       MAINTENANCE PERIOD
                                                       PERIOD                                          (ANNUAL PAYMENT –
                                           (ACQUISITION YEAR + 4 YEARS)                                UP TO 5 ADDITIONAL
                                                                                                             YEARS)
                                                      Incentive Program
                                                   (existing equipment per-                                    Per-Unit
                                     Per-Unit       unit trade-in discount)                               Annual Extended
                                     Purchase      See Schedule A Section       Per-Unit Purchase     Service/Maintenance Price
                                       Price                  1.9               Price with Discount
 Precinct Tabulators –
     •    1 at State level (no       $5,390.00              ($95.00)                 $5,295.00                $375.00
          charge)
     •    1 per county
     •    1 per precinct
     •    AVCB Tabulators

 Accessible Voting System
 (1 per polling place)**             $3,555.00              ($40.00)                 $3,515.00                $240.00

**Polling places with more than 2 precincts may receive an additional accessible voting system.




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Cost Table 2. Election Management System (EMS) Software –SOFTWARE LICENSE FEE; INITIAL AND EXTENDED
SERVICE / MAINTENANCE

Two cost tables are included in this section (2a and 2b).Several clarifying notes are provided with respect to EMS Pricing.

EMS costs will be applicable to counties, as well as select local jurisdictions. Each county will select either:

    1) Full EMS (“Program Your Own”), for counties that fully program their elections internally (without reliance on the
    voting system Contractor/subcontractor); or
    2) Accumulation-Only EMS, for counties that rely on the voting system Contractor/subcontractor for programming; the
    accumulation-only functionality for these counties shall include the capability to burn media, read media, transmit results
    and produce accumulation reports.

•   The Accumulation-Only version of EMS will also be available to local jurisdictions statewide. While each county will
    acquire either Full EMS or Accumulation-Only EMS), local cities and townships (local jurisdictions) will have the option to
    acquire a copy of Accumulation Only EMS. A statewide EMS purchase for local jurisdictions is not planned.

•   The EMS License fee is included in the initial payment in year 1, and covers the entire contract term. The initial payment
    also covers the initial service and maintenance period (acquisition year, plus 4 additional years). The extended
    service/maintenance period covers an additional 5 years, after the expiration of the initial service and maintenance period.
    During the extended service/maintenance period (years 6-10), counties have the option of selecting either an annual fee
    or an hourly technical support rate. See Table 2b for additional information on extended service/maintenance costs and
    options.

•   NOTE: Additional EMS component costs are listed in Cost Table 4. Also, Cost Table 5 includes costs for
    required/recommended EMS Network components, for several possible network configurations. These additional EMS
    component and network costs are the sole responsibility of the county/local jurisdiction.




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Cost Table 2a – Base EMS Price (Software License Fee + Initial Service/Maintenance)

                                                                             EMS SOFTWARE LICENSE FEE
                                                                   (INCLUDES INITIALSERVICE / MAINTENANCE FOR
                                                                      ACQUISITION YEAR + 4 ADDITIONAL YEARS)
                           Category                                             EMS Software License Fee
                                                                                       (price per copy)
                                                                  Based on total registered voters (county):
                                                                  0 to 15,000                                  $50,310.00
                                                                  15,001 to 30,000                             $64,800.00
 County Option 1: Full EMS*
                                                                  30,001 to 60,000                             $115,000.00
                                                                  60,001 to 125,000                            $157,250.00
                                                                  125,001 to 250,000                           $220,363.00
                                                                  more than 250,000                            $295,000.00


                                                                  Based on total registered voters (county):
                                                                   0 to 15,000                                 $12,623.00
                                                                  15,001 to 30,000                             $18,563.00
 County Option 2: Accumulation Only*
                                                                  30,001 to 60,000                             $27,000.00
                                                                  60,001 to 125,000                            $41,650.00
                                                                  125,001 to 250,000                           $58,905.00
                                                                  more than 250,000                            $84,150.00



 Local Jurisdiction EMS: Accumulation-Only                                                                     $2,500.00


*Please see the list below for the specific EMS software components that are included in both the full and Accumulation
Only versions of Democracy Suite® EMS:




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Both full and Accumulation only versions of Democracy Suite® EMS include:

Dominion Software Modules:
Democracy Suite® EED
Democracy Suite® RTR
Democracy Suite® AS
Data Center Manager – DCM
Application Server – APPS
Democracy Suite® EMS Service
ImageCast® Voter Activation – ICVA
Results Transfer Manager – RTM
Election Data Translator – EDT
File System Service – FSS
Smart Card Service

Third Party Software Components:
Adobe Reader
Microsoft SQL
Microsoft Visual Studio C++ 2013 Redistributable Libraries
Microsoft Visual J# Redistributable Libraries
Java Runtime Environment
Microsoft Access Database Engine
Open XML SDK 2.0 for MS Office
Dallas Semiconductor 1-Wire Driver(s) for iButton
System Fonts (Arial)
Cepstral
Google Text-to-Speech

The Accumulation only version allows for restoring project databases, programming machine memory cards, editing audio for
accessible voting, uploading results, and generating results reports.




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Cost Table 2b – EMS Extended Service / Maintenance Fees

NOTE: For EMS extended service / maintenance, counties have the option to choose either a flat annual rate or an hourly
technical support rate. These rates shall be the same for all counties for each option (one set price for Full EMS, one set
price for Accumulation-Only EMS).

                                                  EMS EXTENDED SERVICE / MAINTENANCE PERIOD
                                                          (UP TO 5 ADDITIONAL YEARS)
                                                                                                   OPTION 2:
                                             OPTION 1:
                                                                                         HOURLY TECHNICAL SUPPORT
                                 ANNUAL COUNTY EMS SUPPORT PAYMENT
                                                                                                     RATE
                                                                                             EMS Extended Service /
                                 EMS Extended Service / Maintenance Annual
                                                                                                  Maintenance
                                             Payment Option
                                                                                          Hourly Technical Support Rate
                                         (annual price per county)
                                                                                               Option for Counties
                            Based on total registered voters
                            (county):                                    $8,000.00
 County Option 1: Full
 EMS*                        0 to 15,000                                 $10,000.00
                             15,001 to 30,000                            $20,000.00
                             30,001 to 60,000                            $25,000.00                    $300.00
                             60,001 to 125,000                           $34,000.00
                             125,001 to 250,000                         $50,000.00
                             more than 250,000
                            Based on total registered voters
                            (county):
                                                                         $1,700.00
 County Option 2:            0 to 15,000
 Accumulation-Only*                                                      $2,500.00
                             15,001 to 30,000
                                                                         $3,000.00
                             30,001 to 60,000                                                          $300.00
                                                                         $5,400.00
                             60,001 to 125,000
                                                                         $8,400.00
                             125,001 to 250,000
                                                                         $12,000.00
                             more than 250,000

 Local Jurisdiction EMS:
                                                                          $750.00                      $300.00
 Accumulation Only




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Cost Table 3. OPTIONAL ITEM – High Speed AVCB Tabulator

                            Hardware       Additional Hardware /        Processing Speed          Per-Unit        Annual Per-Unit
                             COTS?          Software Required?             (Ballots per          Purchase            Extended
                              (Y/N)               (Y/N)**                    Minute)                Price            Service /
                                                                                                 (includes       Maintenance Price
                                                                                                 Service /      (5 additional years)
                                                                                               Maintenance
                                                                                              for acquisition
                                                                                              year + 4 years)
 High Speed AVCB
 Tabulator*

                                                                           11" - 80/min,
 ICC G1130 System
                                                                             4,800/hr
                                                                           14" - 64/min,
    Canon DR-G1130             Yes          Yes – ICC Software                                  $14,050.00          $2,500.00
                                                                             3,840/hr
                                                                           17" - 53/min,
    Workstation                Yes          Yes – ICC Software                                    $2,200.00           $115.00
                                                                             3,180/hr
                                           Yes – Workstation and           20" - 45/min,
    ICC Software               NA                                                               $19,100.00          $2,900.00
                                                 Scanner                     2,700/hr
                                                                                                $35,350.00          $5,515.00
                                                                           11" - 60/min,
 ICC M160II System
                                                                             3,600/hr
                                                                           14" - 47/min,
    Canon DR-M160II            Yes          Yes – ICC Software                                   $3,480.00            $725.00
                                                                             2,820/hr
                                                                           17" - 38/min,
    Workstation                Yes          Yes – ICC Software                                   $2,200.00            $115.00
                                                                             2,280/hr
                                           Yes – Workstation and           20" - 33/min,
    ICC Software               NA                                                                $7,300.00            $900.00
                                                 Scanner                     1,980/hr
                                                                                                $12,980.00          $1,740.00


*NOTE:
• The AVCB tabulators are utilized at the local jurisdiction (city/township) level, not at the county level.




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Cost Table 4. Component Replacement / Additional Parts
All applicable and available component parts for the Contractor’s system are listed below. For each component part, the
Contractor has identified the source for obtaining the part and whether the part is available commercially off the shelf (COTS).

NOTE: If alternative purchase sources are available, the State, counties and local jurisdictions reserve the right to purchase
from those sources.

Contractor must also list all other system features available in their proposed system, if the cost for such features have not
been included elsewhere in this Cost Proposal.

                                                                                          Purchase Source
                       Product                            Estimated Life (Years)                                   Per-Unit Price
                                                                                          (Indicate if COTS)
 Ballot and Report Printer - C931                   5 years                             COTS                           $6,200.00
 Compact Flash Memory Card 8GB                      5 years                             COTS                              $75.00
 Compact Flash Reader/Writer                        5 years                             COTS                              $60.00
 EMS Express Managed Switch                         5 years                             COTS                             $200.00
 EMS Express Server - Desktop                       5 years                             COTS                           $1,750.00
 EMS Standard Server - Rackmount                    5 years                             COTS                           $7,800.00
 EMS Standard Server KVM Switch - Rackmount         5 years                             COTS                              $80.00
 EMS Standard Server Network Switch - Rackmount     5 years                             COTS                             $400.00
 EMS Standard Server Power Strip - Rackmount        5 years                             COTS                             $200.00
 EMS Standard Server Rack                           5 years                             COTS                             $900.00
 EMS Standard Smart UPS                             5 years                             COTS                             $800.00
 EMS Workstation PC                                 5 years                             COTS                           $1,200.00
 ImageCast Listener Express Firewall                5 years                             COTS                             $480.00
 ImageCast Listener Express RAS Server              5 years                             COTS                           $2,000.00
 ImageCast Listener Express Server - Desktop        5 years                             COTS                           $2,200.00
 ImageCast Listener Standard Firewall - Rackmount   5 years                             COTS                           $2,300.00
 ImageCast Listener Standard RAS Server -
                                                    5 years                             COTS                           $2,000.00
 Rackmount
 ImageCast Listener Standard Server - Rackmount     5 years                             COTS                           $2,000.00
 ImageCast Listener USB Hub                         5 years                             COTS                             $165.00
 ImageCast Listener USB Modems                      5 years                             COTS                             $225.00
 Headphones                                         5 years                             COTS                              $15.00
 I-Button Programmer with USB Adapter               8 years                             COTS                              $50.00
 ICC I-Button Security Key                          8 years                             COTS                              $25.00
                                                    5 Years when recharged every 6
 ICP Backup Battery                                                                     Dominion                         $165.00
                                                    months
 ICP Ballot Box - Plastic                           7 years                             Dominion                       $1,000.00
 ICP Ballot Box - Collapsible Plastic               5 years                             Dominion                       $1,000.00
 ICP Cleaning Sheet                                 1 year                              Dominion                          $20.00
 ICP External Wireless Modem                        10 years                            COTS                             $295.00
 ICP I-Button Security Key                          8 years                             COTS                              $25.00
 ICP Paper Roll (60')                               1 year                              Dominion                           $2.50
 ICP Power Supply and Cord                          7 years                             Dominion                          $30.00
 ICP Tech Key - Blue                                8 years                             Dominion/COTS                     $25.00
 ICP-300A Coin Battery                              7 years                             COTS                               $5.00
 ICX Accessible Voting Kit                          7 years                             COTS                             $400.00
 ICX Transport Case                                 7 years                             Dominion                         $175.00
 ICX Printer Transport Case                         7 years                             Dominion                         $100.00
 ICX Laser Printer                                  5 years                             COTS                             $220.00
                                                    5 Years when recharged every 6
 ICX UPS 1500                                                                           COTS                             $600.00
                                                    months
 ICX Smart Card                                     5 years                             COTS                              $10.00
 ICX Smart Card Programmer                          5 years                             COTS                             $200.00
 ICX Voting Booth                                   8 years                             ElectionSource                   $375.00
 Mobile Ballot Printing System Hardware - LV        5 years                             Dominion/COTS                  $9,500.00




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Cost Table 5 – EMS Network Configuration Options
Dominion Voting Systems


Democracy Suite Sample Configuration for Michigan

The following Democracy Suite® Configurations are samples based on estimated needs of the counties
and local jurisdictions. These configurations can be further adjusted according to the specific
components required for each county. They have been simplified to illustrate the major components
required in each location.

Configuration 1
Democracy Suite® Components located at the County/central office and/or local satellite office (city or township) for larger jurisdictions:
                  EMS Standard (with client station)
                  EMS Express (no client station)
                  Listener (wireless modems only)
                  ICC (M160-II) for AVCB

Please see below for the Configuration diagram.




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 Configuration 2
 Democracy Suite® Components located at the County/central office and/or local satellite office (city or township) for larger jurisdictions:


                   EMS Standard (with client station)
                   EMS Express (no client station)
                   Listener (wireless and analog modems)
                   ICC (M160-II) for AVCB

See below for the Configuration Diagram.




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 Configuration 3


 Democracy Suite® Components located at the County/central office and local satellite office (city or township) for small to medium


                   EMS Express (no client station)
                   Listener (wireless modems only)
                ICC (M160-II) for AVCB
Dominion Voting Systems

Configuration 3

Democracy Suite® Components located at the County/central office and local satellite office (city or township) for small to medium sized counties:



    •   EMS Express (no client station)
    •   Listener (wireless modems only)
    •   ICC (M160-II) for AVCB


Please see the next page for the Configuration diagram.




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Dominion Voting Systems

Configuration 4

Democracy Suite® Components located at the County/central office and local satellite office (city or township) for small to medium sized counties:


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                 EMS Express (no client station)
                 Listener (wireless and analog modems)
                 ICC (M160-II) for AVCB

Please see below for the Configuration diagram.




Cost Table 5 – EMS Network Configuration Options

Democracy Suite Sample Configuration Pricing for Michigan




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Configuration 1 - Hardware Pricing


                               Product                       Purchase Source   Quantity       Per-Unit Price       Total Price




County or Central Location:
EMS Standard Server - Rackmount                                  COTS             1                    $7,800.00           $7,800.00
EMS Standard Server KVM Switch - Rackmount                       COTS             1                       $80.00                 $80.00
EMS Standard Server Network Switch - Rackmount                   COTS             1                      $400.00             $400.00
EMS Standard Server Power Strip - Rackmount                      COTS             1                      $200.00             $200.00
EMS Standard Server Rack                                         COTS             1                      $900.00             $900.00
EMS Standard Smart UPS                                           COTS             1                      $800.00             $800.00
EMS Workstation PC                                               COTS             1                    $1,200.00           $1,200.00
ImageCast Listener Standard Firewall - Rackmount                 COTS             1                    $2,300.00           $2,300.00
ImageCast Listener Standard Server - Rackmount                   COTS             1                    $2,000.00           $2,000.00
EMS Report Printer                                               COTS             1                      $250.00             $250.00
Total per County:                                                                                                         $15,930.00



City or Town Location:
EMS Express Managed Switch                                       COTS             1                      $200.00             $200.00
EMS Express Server and Adjudication Workstation - Desktop        COTS             1                    $2,200.00           $2,200.00
ICC Workstation - Desktop                                        COTS             1                    $2,200.00           $2,200.00
ImageCast Express Firewall                                       COTS             1                      $480.00             $480.00
EMS Report Printer                                               COTS             1                      $250.00             $250.00
Total per City or Town:                                                                                                    $5,330.00




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Configuration 2 - Hardware Pricing


                                                                                           Purchase
                                     Product                                                          Quantity   Per-Unit Price      Total Price
                                                                                            Source



County or Central Location:
EMS Standard Server - Rackmount                                                             COTS         1               $7,800.00         $7,800.00
EMS Standard Server KVM Switch - Rackmount                                                  COTS         1                  $80.00            $80.00
EMS Standard Server Network Switch - Rackmount                                              COTS         1                $400.00            $400.00
EMS Standard Server Power Strip - Rackmount                                                 COTS         1                $200.00            $200.00
EMS Standard Server Rack                                                                    COTS         1                $900.00            $900.00
EMS Standard Smart UPS                                                                      COTS         1                $800.00            $800.00
EMS Workstation PC                                                                          COTS         1               $1,200.00         $1,200.00
ImageCast Listener Standard Firewall - Rackmount                                            COTS         1               $2,300.00         $2,300.00
ImageCast Listener Standard Server - Rackmount                                              COTS         1               $2,000.00         $2,000.00
ImageCast Listener Standard RAS Server - Rackmount                                          COTS         1               $2,000.00         $2,000.00
ImageCast Listener USB Hub                                                                  COTS         1                $165.00            $165.00

ImageCast Listener USB Modems - quantity based on 6 tabulators using analog modems          COTS        12                $225.00          $2,700.00

EMS Report Printer                                                                          COTS         1                $250.00            $250.00
Total per County:                                                                                                                         $20,795.00



City or Town Location:
EMS Express Managed Switch                                                                  COTS         1                $200.00            $200.00
EMS Express Server and Adjudication Workstation - Desktop                                   COTS         1               $2,200.00         $2,200.00
ICC Workstation - Desktop                                                                   COTS         1               $2,200.00         $2,200.00
ImageCast Express Firewall                                                                  COTS         1                $480.00            $480.00



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EMS Report Printer                                                     COTS        1               $250.00            $250.00
Total per City or Town:                                                                                              $5,330.00




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Configuration 3 - Hardware Pricing


                                                                   Purchase
                                      Product                                   Quantity    Per-Unit Price      Per-Unit Price
                                                                    Source



County or Central Location:
EMS Express Managed Switch                                             COTS        1                 $200.00             $200.00
EMS Express and Listener Server - Desktop                              COTS        1                $2,200.00           $2,200.00
ImageCast Listener Express Firewall                                    COTS        1                 $480.00             $480.00
EMS Report Printer                                                     COTS        1                 $250.00             $250.00
Total per County:                                                                                                       $3,130.00



City or Town Location:
EMS Express Managed Switch                                             COTS        1                 $200.00             $200.00
EMS Express Server and Adjudication Workstation - Desktop              COTS        1                $2,200.00           $2,200.00
ICC Workstation - Desktop                                              COTS        1                $2,200.00           $2,200.00
ImageCast Express Firewall                                             COTS        1                 $480.00             $480.00
EMS Report Printer                                                     COTS        1                 $250.00             $250.00
Total per City or Town:                                                                                                 $5,330.00




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Configuration 4 - Hardware Pricing


                                                                                           Purchase
                                      Product                                                         Quantity   Per-Unit Price      Per-Unit Price
                                                                                            Source



County or Central Location:
EMS Express Managed Switch                                                                  COTS         1                $200.00             $200.00
EMS Express Server - Desktop                                                                COTS         1               $2,200.00           $2,200.00
ImageCast Listener Express Firewall                                                         COTS         1                $480.00             $480.00
ImageCast Listener Express Server (Wirelss and Analog)                                      COTS         1               $2,000.00           $2,000.00
ImageCast Listener USB Hub                                                                  COTS         1                $165.00             $165.00

ImageCast Listener USB Modems - quantity based on 6 tabulators using analog modems          COTS        12                $225.00            $2,700.00

EMS Report Printer                                                                          COTS         1                $250.00             $250.00
Total per County:                                                                                                                            $7,995.00



City or Town Location:
EMS Express Managed Switch                                                                  COTS         1                $200.00             $200.00
EMS Express Server and Adjudication Workstation - Desktop                                   COTS         1               $2,200.00           $2,200.00
ICC Workstation - Desktop                                                                   COTS         1               $2,200.00           $2,200.00
ImageCast Express Firewall                                                                  COTS         1                $480.00             $480.00
EMS Report Printer                                                                          COTS         1                $250.00             $250.00
Total per City or Town:                                                                                                                      $5,330.00




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Modular Software Pricing

Adjudication Software Pricing

                                                                                   5 year Initial
                                                                        Purchase
Based on total registered voters (county):                                           Contract       Extended Service / Maintenance Annual
                                                                         Source
                                                                                      Period                      Payment
  0 to 15,000                                                       Dominion               $7,043                                   $900
  15,001 to 30,000                                                  Dominion             $14,085                                   $1,800
  30,001 to 60,000                                                  Dominion             $21,128                                   $2,700
  60,001 to 125,000                                                 Dominion             $31,500                                   $4,050
  125,001 to 250,000                                                Dominion             $49,298                                   $6,300
  more than 250,000                                                 Dominion             $70,425                                   $9,000


Listener Software Pricing

                                                                                   5 year Initial
                                                                        Purchase
Based on total registered voters (county):                                           Contract       Extended Service / Maintenance Annual
                                                                         Source
                                                                                      Period                      Payment
  0 to 15,000                                                       Dominion               $9,000                                  $1,000
  15,001 to 30,000                                                  Dominion             $10,800                                   $1,200
  30,001 to 60,000                                                  Dominion             $12,600                                   $1,400
  60,001 to 125,000                                                 Dominion             $21,600                                   $4,320
  125,001 to 250,000                                                Dominion             $36,000                                   $7,200
  more than 250,000                                                 Dominion             $54,000                                  $10,800




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Mobile Ballot Printing Software Pricing

                                                                                   5 year Initial
                                                                        Purchase
Based on total registered voters (county):                                           Contract       Extended Service / Maintenance Annual
                                                                         Source
                                                                                      Period                      Payment
  0 to 15,000                                                       Dominion               $3,240                                   $360
  15,001 to 30,000                                                  Dominion               $4,050                                   $450
  30,001 to 60,000                                                  Dominion               $4,860                                   $540
  60,001 to 125,000                                                 Dominion               $6,750                                   $810
  125,001 to 250,000                                                Dominion             $10,530                                   $1,170
  more than 250,000                                                 Dominion             $16,200                                   $1,800




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